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                   EXHIBIT A
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         1                            UNITED STATES DISTRICT COURT
         2                            EASTERN DISTRICT OF LOUISIANA
         3

         4

         5      DANIEL SWEAR                               CIVIL ACTION
         6      vs.                                        NO. 15-6591
         7      ARTHUR LAWSON, ET ~..L                     SECTION "G"
         8                                                 NANNETTE JOLIVETTE BROWN
                                                           MAG.     "1"
         9                                                 Hon. Judge Janis van Meerveld
        10
        11
        12                        DEPOSITION OF DANIEL SWEAR taken
        13             at the Holiday Inn Express & Suites New Orleans
        14             Airport South, Orleans Room, 110 James Drive,
        15             St. Rose, LA         70087 on Thursday, August 3, 2017.
        16
        17
        18
        19      REPORTED BY:
        20      DIANNE C. WININGER, CCR
                Certified Court Reporter
        21
        22                                                           DOR/GINAL
        23
        24
        25


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     1                             A P PEA RAN C E S
     2
     3       FOR THE PLAINTIFF:
     4                        MOORE & HEBERT, APLC
                              BY: COREY J. HEBERT, ESQ.
     5                        6513 Perkins Road
                              Baton Rouge, LA 70808
    6

    7                         DORNIER LAW FIRM
                              BY: SETH M. DORNIER, ESQ.
    8                         16851 Jefferson Highway
                              Suite B-6
    9                         Baton Rouge, LA 70817
   10
   11       FOR THE DEFENDANT:
   12                         BEEVERS & BEEVERS, LLP
                              BY: STEVEN M. MAUTERER, ESQ.
   13                         210 Huey P. Long Avenue
                              Gretna, LA 70053
   14
   15
   16       ALSO PRESENT:         ANTHONY H. CHRISTIANA, JR.
   17                             TRIS P. LEAR, SR.
   18
   19
   20
   21
   22
   23
   24
   25


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       1                                      -I -N -D -
                                                       E-X
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    3       EXAMINATION BY:
    4                            MR. MAUTERER                                         5
    5                            MR. HEBERT                                           121
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                                            B I T -I -
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    8      Exhibit #1                                                               13
    9      Exhibit #2                                                               14
   10      Exhibit #3                                                               35
   11      Exhibit #4                                                               36
   12      Exhibit #5                                                               36
   13      Exhibit #6                                                               38
   14      Exhibit #7                                                               39
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   16      Exhibit #9                                                               41
   17      Exhibit #10                                                              42
   18      Exhibit #11                                                              43
   19      Exhibit #12                                                              52
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   21      Exhibit #14                                                             III
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                                                                                    A




    1                             S TIP U L A T ION
    2
    3                      It is stipulated and agreed to by and between
    4      counsel that the deposition of DANIEL SWEAR             is hereby
    5      being taken pursuant to notice under the Federal Code of
    6      Civil Procedure for all purposes permitted under law.
    7                      All formalities, including those of sealing,
    8      certification, and filing are hereby waived, the original
    9      to be read and signed.
   10                      All objections, except those as to the form of
   11      the question and/or the responsiveness of the answer, are
   12      reserved until the time of the trial of this case.                 All
   13      objections are to be considered under C.C.P. Article
   14      1443, Paragraph D.
   15
   16
   17
   18                                   * * * * *
   19
   20                      DIANNE C. WININGER, CCR, Sta'te of Louisiana,
   21      officiated in administering the oath to the herein
   22      witness.
   23
   24
   25


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                                                                                               c:




     1                           DANIEL SWEAR, 3913 BRIANT DRIVE, MARRERO, LA
     2      70072 on Thursday, August 3, 2017 after having been
     3      first duly sworn to tell the truth, the whole truth, and
     4      nothing but the truth, was examined and testified as
     5      follows:
     6      BY MR. MAUTERER:
     7               Q.      Mr. Swear, can you please state your name and
     8      address for the record?
    9               A.       Daniel Wade Swear.             3913 Briant, B-R-I-A-N-T,
   10       Drive.        Marrero, Louisiana             70072.
   11                Q.      Mr. Swear, you have been deposed before; isn't
   12       that true?
   13               A.       Yes, sir ..
   14               Q.       So you are aware that there's certain
   15      guidelines that we have in depositions that I'm about to
   16      go through.             The first one is and that's good, please
   17      answer the question that I ask.                       The second one is you
   18      have to give verbal responses.                      Like you're doing right
   19      now, you're shaking your head up and down, I understand
   20      from looking at you that you understand my question, but
   21      the court reporter can't get your up and down head shakes
   22      on the record.             So if you understand my question, please
   23      say yes or no.
   24               A.       Yes.
   25               Q.       For some reason you do not understand my


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            1      question, just say so.                  If you give me an answer, I'm
            2      going to assume that you understand the question.                         Got
            3      it?
            4               A.          Yes, sir.
            5               Q.          If you have to stop, go to the bathroom or
            6      something like that, please just let us know.
            7              A.       Okay.
            8               Q.          If you have to for any reason consult with your
            9      attorney throughout the deposition, the only thing that
          10       I'm going to say to you is that answer the question
          11       that's pending and then consult with your attorney in any
          12       manner that you need to.                   Do you understand?
          13               A.       Yes, sir.
.,,"
   }      14               Q.       Tell me a little bit about yourself.               Where did
          15      you go to high school?
          16               A.       Jesuit.
          17               Q.       And did you attend any college education
          18       immediately after matriculating from Jesuit?
          19               A.       I did.     University of Louisiana out of
          20      Lafayette.
          21               Q.       And how long did you attend that university?
          22               A.       One semester.
          23               Q.       And did you go to another school after that
          24      semester or what did you do?
          25               A.       I returned home and began the Gretna Police


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     1      Academy.
     2               Q.      And did you successfully complete the Gretna
    3       Police Academy?
    4               A.       Yes, sir.
    5                Q.      While you were attending the Gretna Police
    6      Academy, did you attend any other universities or
    7       institutions of education?
    8               A.       No.
    9               Q.       And when you graduated and you became a
   10       commissioned officer, isn't that correct?
   11               A.       Yes, sir.
   12               Q.       And where were you originally assigned with the
   13      Gretna Police Department?
   14               A.       To the communications division.
   1~               Q.       And what were your duties in the communications
   16      division?
   17               A.       I was a dispatcher.
   18               Q.       How long were you a dispatcher?
   19               A.       From I believe December of 2010 until sometime
   20      in 2012.          I don't remember the month.
   21               Q.       And in 2012, when you had a position shift,
   22      where did you go next?              From dispatcher to what?
   23               A.       To the patrol division first into the FTO
   24      program.
   25               Q.       So you in~nediately went into the FTO program in


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                                                                                                        Q




          1      2012?
"/
          2               A.          When I got transferred from communications,
          3      every officer that goes to patrol has to complete a cycle
         4       in FTO.         So I was riding with another policeman or two
         5       other policemen before you're allowed to go out on your
         6       own.
         7                Q.          So you had a field training officer assigned to
         8       you to show you the ropes how to be a patrol officer; is
         9       that a fair statement?
        10               A.       Two field training officers.                   Yes, sir.
        11               Q.       At some point in time you became a field
        12       training officer yourself; isn't that correct?
        13               A.       Yes, sir.
        14               Q.       And when was that?
        15               A.       I don't remember.
        16               Q.       At any time while you were employed with the
        17      Gretna Police Department, did you also attend any
        18      universities?
        19               A.       Yes, sir.
        20               Q.       Which ones?
        21               A.       University?       I'm sorry.              Louisiana State
        22      university at Eunice and Louisiana State University at
        23      Alexandria.             Eunice was first for obtaining an
        24      associate's degree and Alexandria was second for the
        25      purposes of obtaining a bachelor's degree.


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                                                                                         q




     1                Q.      And have you completed your bachelor's degree
     2       as we sit here today?
     3                A.      Yes, sir.
     4                Q.      And what is that in?
     5               A.       criminal justice.
     6               Q.       Can you tell me if you remember the years that
     7       you were attending the University of LSU Eunice for your
     8       associate's degree?
     9               A.       I don't remember off the top of my head.
    10               Q.       Can you tell us when you graduated with that
    11       degree?
   12                A.       I believe 2014.
   13                Q.       And then you moved on after obtaining an
   14       associate's degree from LSU Eunice to LSU Alexandria; is
   15       that correct?
   16                A.       Yes.
   17                Q.       Was that an immediate transition?        Did you go
   18       right there?
   19                A.       Yes, sir.
   20                Q.       You attended LSU Alexandria throughout until
   21       you obtained your bachelor's degree; isn't that correct?
   22                A.       Yes, sir.
   23                Q.       Did you physically attend classes at LSU Eunice
   24       or was it an online study?
   25                A.       Online study.


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                                                                                                  1n


     1                Q.          Same thing for LSU Alexandria, did you actually
     2       go to Alexandria and take classes or was it an online
     3       study?
     4               A.           Online study.
     5                Q.          Tell me a little bit about that.               I've never
     6       attend a university with online study, so please explain.
     7       Do you have to take classes or log in every single day to
     8       complete your degree or is it when you have time
     9       available you log on and take your classes?
   10                A.       Different teachers had different requirements
   11        for their classes.             Some ask you to log in a certain
   12        amount of times.            Others did not.                It was more about
   13        completing your course work.
   14                Q.       So would it be fair to say that you didn't have
   15        to log on at a designated time everyday that a class was
   16       scheduled for?
   17                A.       Correct.
   18                Q.       You could attend the class at any time you had
   19       available?
   20                A.       Correct.
   21                Q.       And in order to do that, would it be something
   22       as simple as to having an Internet connection and logging
   23       on to the computer?
   24                A.       There were books involved also.
   25                Q.       But if you had to, were there lectures that you


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                                                                                            ., .,


     1        had to watch online?
     2                A.          The teachers didn't have lectures.         Some of the
     3       material that we learned from were Internet sources.                          It
     4       could have been scholarly articles or the textbook
     5       itself, chapters to read in a textbook.                    There weren't
     6       many videos involved.               I didn't see a lecture from a
     7       teacher.             I can't remember at all in my time there.              It
     8       was Internet sources.
     9                Q.          I'm just trying to understand.        The teachers
    10       would give you a reading list of some sort and you'd have
    11       to go online and read the scholarly articles?
    12                A.          The class is broken down into modules and the
    13       modules either corresponded to one week or two weeks
    14       worth of material depending on the class.                   And there were
    15       a certain amount of things that you had to complete in
    16       each module.            Just as a normal class would be, they still
    17       use the same online system for traditional in-class
    18       schooling.            We just didn't have the opportunity to see
    19       our professors face to face.
    20               Q.       And when you took tests, did you have to
    21       actually go to the university or could you do that online
    22       as well?
   23                A.       It was online.         And it was monitored online
   24        through ProctorU.
   25                Q.       And when you had to take the test, was that


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                                                                                       .,,..,



     1       similar to your studies?               And what I mean by that is you
     2       could go online at any time and take the test?
     3               A.       No, sir.
     4                Q.      There was designated testing time?
     5               A.       Yes, sir.
     6                Q.      And do you recall if the designated testing
     7       times were during normal hours like eight to five or
     8       could you take the test at night?
     9               A.       There was a certain cut off time.        The ProctorU
    10      program and the testing times available were based on the
    11      availability of people to ProctorU during your test.                      So
    12       if you wanted to take a test at 1:00 p.m., there's a
   13       chance that someone had already taken that slot, so you
   14       had to choose whatever slot was available to take the
   15       test.
   16                Q.       At some point in time you retained counsel, did
   17       you not, to file a lawsuit against Arthur Lawson in his
   18       individual capacity and official capacity as the Chief of
   19       Gretna Police Department, Scott Vinson in his individual
   20       and official capacity as Captain of Gretna Police
   21       Department and City of Gretna; isn't that true?
   22                A.       Yes, sir.
   23                Q.       And without telling me because I'm not asking
   24       you what you and your attorneys discussed, you did meet
   25       with attorneys in drafting the complaint; isn't that


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     1       true?
     2               A.       Yes.
     3               Q.       And I'm going to show you what I'm marking as
     4      Exhibit #1.           Take a few moments to look through it and
     5       familiarize yourself with it and let me know when you're
     6      ready.
     7               A.       I can hold on to this?
     8               Q.       Yes.
     9               A.       I'm ready as long as I can refer back if you're
    10      going to ask me questions about it.
    11               Q.       Is this document Exhibit 1 that's in front of
    12      you a copy ct the complaint that you filed in this case?
    13               A.       It appears to be, yes, sir.
    14               Q.       It shows that it was filed December 8, 2015.
    15      You would agree with that date?
    16               A.       Yes.   Yes, sir.
    17               Q.       And everything contained within this document
    18      is true and correct to the best of your knowledge; is
    19      that true?
    20               A.       Yes, sir.
    21               Q.      And the facts and allegations contained in this
    22      complaint are things that you conveyed to your attorney
    23      so they could.draft the pleadings; isn't that a fair
    24      statement?
    25              A.       Yes, sir.


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     1                Q.          Your lawyers didn't know this information
     2       before?
     3                A.          Correct.
     4                Q.          I want to start going through some of the
     5       allegations in the complaint.                      And while we're doing
     6       that, during the course of this case, the Gretna Police
     7       Department and Chief Lawson and Captain Vinson issued
     8       what we call discovery.                 Are you familiar with the term
     9       discovery?             If not, let me know.
    10               A.       I'm familiar with it.
    11               Q.       One of the elements of discovery is a request
    12       for interrogatories or questions.                            Did you participate in
    13      providing the responses to the questions posed to you
    14      with your attorneys?
    15               A.       I did.
    16               Q.       I'm going to show you what I'm marking as
    17      Exhibit #2.             And you can keep Exhibit #1 handy.                    Flip
    18      through Exhibit #2 and make sure you recognize this
    19      document first.
    20               A.       Yes, sir.
   21                Q.       Did you assist your counsel in preparing this
   22       document?             Did you provide the answers to your lawyers so
   23       they could type it up?
   24                A.       Yes, sir.
   25                Q.       And after it was typed up and prepared in this


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     1       format as you see it here in Exhibit #2, did you review
     2       and approve the responses that your lawyers were
     3       submitting on your behalf?
     4               A.       I believe so.        Yes, sir.
     5                Q.      And this document says it was sent to me on
     6       June 6, 2017.           Is that a correct statement?           It's on the
     7       last page.
     8               A.       That is what it says, yes, sir.
     9               Q.       Keep Exhibit #1 and Exhibit #2 handy.               I'm
   10       going to refer you first to Paragraph 9 of your
   11       complaint.            That's Exhibit #1.           Paragraph 9 of your
   12       complaint you talk about on or about December 17th, 2014
   13       and/or December 19th, 2014, Mr. Swear attended a
   14       mandatory meeting at the Gretna Police Department.
   15       During the meeting, Mr. Swear was informed that the
   16       Gretna Police Department was instituting a quota policy.
   17       I read that correctly, did I not?
   18                A.       Yes, sir.
   19                Q.       Prior to December 17th or December 19th, 2014,
   20       you were never aware of an alleged quota policy with
   21       Gretna Police Department, were you?
   22                      MR. HEBERT:     Object to the form.
   23       BY MR. MAUTERER:
   24                Q.      You can answer.
   25                A.      The first time that I was aware of a quota


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     1      policy was when iiJe were given the term 10-2-2 while
     2      working patrol.             And that corresponded to the goal of ten
     3      items per might, two arrests per night and two citations
     4      per night.
     5               Q.          And when are you saying that you were told this
     6      10-2-2 term was provided to you?
     7               A.          During my time after transfer from
     8      communications and on to the D-Team patrol.
     9               Q.      Are you saying now as we sit here today that
    10      that term was provided to you prior to December 17th or
    11      December 19th, 2014 as it appears in your complaint?
    12              A.       That was the first time, the first time that I
    13      associated this with being a problem, the term quota was
   14       because of the nature that it was delivered to me on
   15       December 17th and/or December 19th, 2014.
   16               Q.       Okay.     I   want to understand your statement.
   17       Paragraph 9 appears to me to be specific.                        It says:
   18       During the meeting, Mr. Swear was informed that the
   19      Gretna Police Department was instituting a quota policy,
   20      period.         Were you informed that Gretna Police Department
   21      was instituting a quota policy prior to December 17th or
   22      December 19th, 2014?
   23               A.       During my time on the D-Team, yes.                 We were
   24      expected to, we were expected to perform ten items, two
   25      arrests and two citations per night.                         However, it is very


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     1        specific in Paragraph 9 this was the speech that included
     2        reference to money with the quota policy.                     Prior to that,
     3       there was no mention to me specifically about money and
     4       our performance.             Specifically with a dollar figure,
     5       money and our performance.
     6                Q.          Let's talk about the time period that you just
     7       discussed from the time you left being a dispatcher in
     8       2012 until December 17th, 2014.                      Please provide to me the
     9       date that you were advised that Gretna Police Department
    10       was instituting a quota policy that you were expected to
    11       comply with.
    12                A.          The first time that, within the first month
    13       that I was assigned to the D-Team, it was expected of us
    14       to perform 10-2-2.            That was our job as patrolmen on the
    15       D-Team.         We had to perform ten items, two arrests and two
    16       tickets.
    17                        You don't remember what month that was?




    21                        Where were you when that was conveyed to you?
    22                        At the Gretna Police Department.
   23                         Where?
    24                        It was conveyed on numerous occasions during
   25


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     1               Q.       Let's start with the first.              Where were you?
     2               A.       I don't remember.
     3               Q.       Who was with you?                                                      (
                                                                                                     u
     4               A.       Everyone who was on the team at that time.
     5               Q.       Who is that?       You said D-Team.        So who was on
     6       the D-Team when Lieutenant Vinson first told you that
     7       there was a quota policy?
     8               A.       I believe Brandon LeBlanc, Roland Kindell,
     9      Dustin Vinet, Arthur Fernandez, Ryan Makdessi.                       I know
    10      I'm missing one or two.               I can't -- the teams have
    11      shifted over the years.               I don't remember who else was on
    12      team.
   13                Q.       As you sit here today, that's what you
   14       remember, right?
   15                A.       Yes, sir.
   16                Q.       And were those people that you named that were
   17       on D-Team present when Lieutenant Vinson told you that
   18       there was a policy, a quota policy being instituted?
   19               A.        Yes.   At one point or another, they were
   20       present.          It was uttered on numerous occasions.
   21                Q.       SO you can't tell me as we sit here today a day
   22       that Lieutenant Vinson advised you of the quota policy
   23       prior to December 17th or 19th, 2014, can you?
   24                     MR. HEBERT:      You mean a specific date?
   25                     MR. MAUTERER:       Yes.


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                                                                                        ., "


     1       BY MR. MAUTERER:
     2               Q.       You can't tell me that, can you?
     3               A.       You are correct.
     4               Q.       And as we sit here today, you can't tell me who
     5      was present with you and overhead Lieutenant Vinson
     6       institute this quota policy on the first time, first
     7      occasion, can you?
     8                    MR. HEBERT:     Object to the form.
     9                    THE WITNESS:      Correct.
    10      BY MR. MAUTERER:
   11                Q.       On the numerous times as you said that
   12       Lieutenant Vinson spoke about this policy, what was the
   13       next day that Lieutenant Vinson advised that there was a
   14       quota policy?
   15                A.       I don't understand the question.
   16                Q.       You said there was numerous instances in which
   17       Lieutenant Vinson according to you advised that there was
   18       a quota policy.          What days?         Give me month, day, year.
   19               A.        I don't remember.
   20                Q.      Do you remember any month, day or year that
   21       these numerous occasions took place?
   22               A.        I can say that when January of 2014, Lieutenant
   23       Vinson entered roll call and advised us that due to the
   24       number of citations and arrests that we had made that the
   25       city found it able to give us a three percent pay raise


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     1       which the officers had not gotten in a long time.
     2                Q.          Correct me if I'm wrong, but the instances that
     3       you've just been speaking of in which Lieutenant or
     4       Captain vinson, Lieutenant Vinson advised you of the
     5       quota policy, prior to December 17th, 2014, do not exist
     6       in your complaint?
     7                     MR. HEBERT:         Object to the form.
     8       BY MR. MAUTERER:
     9                Q.          You can answer it.
    10               A.           Correct.
    11                Q.      The statement that you just conveyed to me
    12       about a January 2014 meeting regarding a pay raise does
    13       not exist within your complaint, correct?
    14               A.       Correct.
    15               Q.       An allegation regarding a 10-2-2 quota system
    16       does not exist within your complaint; isn't that correct?
    17               A.       That is correct.
    18               Q.       In fact, Paragraph 10 speaks of an alleged
    19       quota system that would require three traffic citations
    20       or summons per day and an average of one arrest every two
   21        days work, isn't that what that says?
   22                A.       Yes, sir.
   23                Q.       And that this quota policy further subjected
   24        the police officers, as well as their supervisors to·
   25       mandatory disciplinary action for any noncompliance with


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     1       the quota policy, that's what Paragraph 10 says, correct?
     2               A.       That is correct.
     3               Q.       Who told you that?
     4               A.       Paragraph 10 refers to the time period outlined
     5       in Paragraph 9.           The meeting was a roll call meeting that
     6      was held in what we refer to as the palace.                    For some
     7      reason, I don't know why, it was, we either had
     8      construction going on because we never met in the palace,
     9      but we had chairs setup.                Our roll call was always
   10       conducted with the supervisors on duty.                    However, this
   11       particular night at the time I believe Captain Vinson
   12       entered the roll call for the purposes of addressing the
   13       shift.
   14                During that time, he informed me that the Chief told
   15       him that the patrol division used $1 million from the
   16       money generated by the RedFlex camera cars and that there
   17       was a concern that that particular type of enforcement
   18       would go away because people were constantly challenging
   19       the constitutionality of it and they didn't know what
   20       they were going to do if they no longer had the funding
   21       from that.            So his goal then or his task was to make the
   22       patrol division financially independent of RedFlex.                         That
   23       conversation led into my sergeant, Danielle Rodriguez,
   24       telling us that we were going to issue three citations a
   25       day and make an average of one arrest every two days


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     1       worked.
     2                That meeting and the reason why that is outlined
     3       here specifically in the complaint, that was the first
     4       time that I heard something blatantly devastating between
     5       that correlated our arrests and tickets and a specific
     6       financial gain.            And coming from, coming from a person
     7       who Captain Vinson is the quintessential patrolman, he is
     8       the person that we all looked up to.                      He probably taught
     9       me more about police work than anybody else that I worked
    10       there.        And to hear -- he had been off the road on
    11       special assignment, but to hear him come in and tell me
    12       that and tell us that, I'm not going to speak for anybody
    13       else, that was my professional adult version of finding
    14       out Santa Claus wasn't real.
    15                I questioned everything that I had done since I got
    16       out of the police academy in that was lout there making
    17       a difference the entire time or was this the method
    18       behind the madness from day one.                     And coming from him, it
    19       was surprising.
   20                Q.       Did any other sergeants other than Sergeant
    21       Rodriguez address you and the team during roll call
   22        during that meeting?
   23                A.       He did.
   24                Q.       Who did?
   25                A.       Sergeant David Heintz.              SergeantHeintz's


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     1      reference to the -- the supervisors, they addressed us as
     2      well.         Captain Vinson addressed us first and our
     3      supervisors addressed us.                  Sergeant Heintz asked us to
     4      strive for, to increase our work potential by 10 percent.
     5      And he left it at that.                He just said guys, you know, I
     6      want you to try and give me another 10 percent of what
     7      you're giving me right now.                   That's what he told us.
     8               Q.          During that time, during December 2014 when you
     9      were a patrol officer, the shifts were 12-hour shifts,
    10      weren't they?
    11              A.       Yes, sir.
    12               Q.      And correct me if I'm wrong, but wasn't the
   13       purpose or wasn't the message given to the roll call that
   14       day that in a 12-hour shift that patrol officers were
   15       recording an hour and a half of documented work; wasn't
   16       that the message that was conveyed by Sergeant Rodriguez
   17       and Sergeant Heintz?
   18                     MR. HEBERT:      Object to the form.
   19                     THE WITNESS:       I don't recall.
   20      BY MR. MAUTERER:
   21               Q.       And that the department expected in a 12-hour
   22       shift for a 12-hour paycheck more than an hour and a half
   23      of documented work; isn't that true?
   24                     MR. HEBERT:      Objection to the form.
   25                     THE WITNESS:       I don't recall that portion of the


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     1       conversation.
     2       BY MR. MAUTERER:
     3                Q.          And during this conversation that you've just
     4       been speaking of, Chief Arthur Lawson was not present,
     5       was he?
     6                A.      He was not.
     7                Q.      Assist Deputy Chief or Deputy Chief Anthony
     8       Christiana who is sitting to my right was not present,
     9       was he?
    10               A.       He was not.
    11                Q.      When you became a commissioned Gretna police
    12       officer, you were provided materials such as an operating
    13       manual, right?
    14               A.       There was an operating manual available in the
   15        radio room.
   16                Q.       And during the academy and your instruction
   17       prior to taking the oath of office you were, you became
   18       aware that that operating manual or operations manual
   19       were the rules and regulations of the Gretna Police
   20       Department, didn't you?
   21                A.       I was.
   22                Q.       In this December 17, December 19th, 2014
   23       meeting after the discussion that you say occurred, was
   24       any documentation handed to you and your fellow officers
   25       amending that operating manual to describe and implement


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     1       a quota system?
     2                A.          It was not.
     3                Q.          Now, you described to us that not only in
     4       response to my question, but also in response to
     5       Interrogatory #2 in the discovery which is Exhibit #2 in
     6       front of you that Scott Vinson had explained to you that
     7       the Chief approached him and spoke about the red light,
     8       RedFlex camera tickets, right?                     That what you just told
     9       me today in the deposition matches your response to
    10       request for Interrogatory #2, doesn't it?
    11               A.       Yes, sir.
    12                Q.      You weren't present in any such meeting between
    13       the Chief and Scott vinson, were you?
    14               A.       I was not.
    15               Q.       And you don't know, do you, when Scott vinson
    16       refers to Chief whether that was Arthur Lawson, right?
   17                A.       Correct.      It could have referred to Chief
   18       Arthur Lawson or Deputy Chief Christiana because chief
   19       was a common term that we called the deputy chief as
   20       well.
   21                Q.       Neither one of the chiefs, Chief Arthur Lawson
   22       or Deputy Chief Christiana ever addressed you or the
   23       other patrol officers while you were with them regarding
   24       RedFlex camera ticket profits, did they?
   25                A.       No, sir.


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     1               Q.          And your response to interrogatory says that
     2       Scott Vinson explained that the Chief approached him
     3       around the time of December 2013 regarding making the
     4      patrol division financially independent of RedFlex, isn't
     5      that what it says?
     6               A.          That's correct.
     7               Q.          As you sit here today, do you have any idea why
     8      it took an entire year for Scott Vinson to allegedly come
     9      to you-all and say you needed to issue more tickets?
    10                    MR. HEBERT:       Object to the form.
    11                    THE WITNESS:        Ask the question again please.
    12      BY MR. MAUTERER:
    13               Q.          You answer in your interrogatory that the
    14      conversation between Scott Vinson and the Chief occurred
    15      in December 2013.             Do you have any idea as we sit here
    16      today why it took Scott Vinson one year to come to the
   17       patrol division and allegedly institute a quota policy?
   18                     MR. HEBERT:       Object to the form.
   19                     THE WITNESS:        I don't have any idea.
   20       BY MR. MAUTERER:
   21                Q.          In your response to Interrogatory #2, the
   22       second paragraph, it says:                  Dating back to before
   23       Mr. Swear was a member of the Gretna Police Department,
   24       there was a quota that Scott Vinson proclaimed he
   25       invented the 10-2-2 system, do you see that?


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          1               A.          Correct.    I see it.
          2               Q.          If you were not a Gretna police officer, how
         3       would you know if this alleged quota system did or did
         4       not exist?
         5                A.          Lieutenant Vinson, when he was my supervisor,
         6       spoke about the 10-2-2 system and that he devised it, he
         7       termed that system.
         8                Q.          Did Lieutenant Vinson or Captain Vinson did not
         9       tell you that Chief Arthur Lawson developed this system,
        10       did he?
        11                A.      No, sir.       He didn't.
        12                Q.      He didn't tell you that Deputy Chief Christiana
        13       developed this system, did he?
        14               A.       No, sir.       He didn't.
        15                Q.      He didn '/ t tell you that Chief Arthur Lawson
        16       mandated that this system be implemented, did he?
        17               A.       NO, sir.       He didn't.
        18               Q.       He didn't tell you that Deputy Chief Christiana
        19       mandated that this system be implemented, did he?
        20               A.       No, sir.       He didn't.
        21               Q.       Now, you explained a few minutes ago that
        22       although it is not listed in your complaint, you were
        23       advised of a quota system prior to December 17th, 2014 or
        24      December 19th, 2014, right?
        25               A.       Yes, sir.


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     1                Q.          Were you ever disciplined between 2010 and
     2       December 2014 for not following that alleged quota
     3       system?
     4                A.          I don't believe so.            No, sir.
    ·5                Q.          You were still employed as a Gretna police
     6       officer in December of 2014, weren't you?
     7                A.          Yes, sir.
     8                Q.          So obviously, you weren't fired prior to then
     9       for not adhering to an alleged quota system, correct?
    10               A.           Yes, sir.
    11                Q.      Do you have any pieces of paper that
    12       memorializes, identifies or describes an alleged quota
    13       system that was in place prior to December 17th or
   14        December 19th, 2014 with the Gretna Police Department?
   15                A.       I don't remember the dates on the trip sheets
   16        that we had, what the highlighted trip sheets, the
   17        annotated trip sheets, I don't remember the dates on
   18        those.        So if they were prior to December 2014, the
   19        answer to that would be yes.                      If they were post December
   20        '14, then the answer to that would be no.
   21                Q.       Let me see if I understand your question.                        Or
   22       your answer.              In response to request for production of
   23       documents in this case, you provided copies of trip
   24        sheets; isn't that correct?
   25                A.       I meant stat sheets.                But yes, sir.


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     1                Q.          Stat sheets or both?
     2                A.          Right.
     3                Q.          And your statement or your response today is
     4       that those stat sheets or trip sheets are the evidence of
     5       a quota system?
     6                A.          That is the only written annotated physical
     7       piece of evidence that I can show that it correlates
     8       specifically to the speech that was given to us that I
     9       referred to earlier that took place in the palace with
    10       the three citations per day and one arrest every two
    11       days.         Because of the annotations on the page, if you
    12       multiply the number of days worked at the bottom of each
    13       officer listed and you multiply that number by three,
    14       that number was handwritten next to each of the citation
    15       blocks under the officer's names.
    16                Same principle for the arrest numbers.                   If you
    17       multiply by I guess one arrest every two days and did the
    18       math on that, based on the day's work at the bottom, that
    19       was indicated on the stat sheet.                      That is the physical
    20       support to what unfortunately we were told.
    21                Q.      And who did the math?               You?
    22               A.       No.      I did not do the math.            The stat sheets
    23       were highlighted and handed out by Sergeant Danielle
    24       Rodriguez during roll call.                   It was typical for them to
    25       corne in mid month with your level of stats and have


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     1      highlighted your citations and your arrests to let you
     2      know where you stood and where you needed to improve
     3      before the end of the month.
     4               Q.       We're going to through it.              So if you don't
     5      remember right now, that's fine.                     But as you sit here, do
     6      any of those stat sheets or trip sheets that you produced
     7      in discovery have the word quota written on it?
     8               A.       No.   They do not.
     9               Q.      And what you're describing to me is sounds like
   10       your interpretation of what those stat sheets and trip
   11       sheets mean; is that a fair statement?
   12                A.       They did not use the term quota.             So based on
   13       the totality of circumstances and everything put
   14       together, yes, I determined that to be a quota.
   15                Q.      And it. could have possibly been your
   16       supervisors showing that in a 12-hour day they expected
   17       more than an hour and a half worth of work, couldn't it?
   18                     MR. HEBERT:    Object to the form.
   19                     MR. DORNIER:     Object to the form.
   20                     THE WITNESS:     I don't believe that can correlate
   21       to what was given to us because of the potential
   22       ramifications of not doing it which coming from Captain
   23      Vinson at the time was for us to be written up, suspended
   24      and/or ultimately terminated.                   The financial
   25      ramifications were that if we did not close this million


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     1       dollar gap that potentially they would have to stop
     2       paying for the employee's health insurance and that the
     3       system that was set in place that we didn't pay into our
     4       own retirement would possibly have to go away and we
     5       would have to contribute with the department as many
     6       other places have to do.             At the time, we had it very
     7       good and we didn't have to pay into our retirement.
     8       BY MR. MAUTERER:
     9               Q.       Have you ever had any meetings with Chief
    10      Lawson regarding the budget regarding the Gretna Police
    11      Department?
    12               A.       I have not.
    13               Q.       Have you had any meetings with Deputy Chief
    14      Christiana regarding the budget of the Gretna Police
    15      Department?
    16               A.       I have not.
    17               Q.       Have you ever appeared before and discussed
   18       with the Gretna Council the budget of the Gretna Police
    19      Department?
    20               A.       I have not.
   21                Q.       Have you ever seen the budget of the Gretna
   22       Police Department?
   23                A.       I have not.
   24                Q.       Has anyone ever explained to you the sources of
   25       revenue for the Gretna Police Department?


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     1               A.       The only indication that I've ever received of
     2       talk of revenue is the $1 million from RedFlex and its
     3       influence to the patrol division.
     4               Q.       So as we sit here today, you don't know other
     5      than that revenue source where Gretna Police Department
     6      gets its money, do you?
     7               A.       I do not.
     8               Q.       Have you ever seen the contract between RedFlex
     9      and the City of Gretna?
    10               A.       I have not.
   11                Q.       So you don't know as you sit here today if the
   12       Gretna Police Department actually gets a cut of the
   13       RedFlex money, do you?
   14                A.       I don't.
   15                Q.      Now, Interrogatory #2, your response, the last
   16       sentence, Page 4, Interrogatory #2:                        Mr. Swear was
   17       ordered by Sergeant Danielle Rodriguez on one occasion to
   18       issue three citations per day and make an average of one
   19       arrest every two days.              Do you see that?
   20               A.       Yes, sir.
   21                Q.      What day were you ordered by Sergeant Rodriguez
   22       to carry that out?
   23               A.       That's going to be the same meeting inside of
   24       the palace that Scott vinson, Danielle Rodriguez and
   25       Sergeant Heintz were present at.


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     1               Q.       And again, if that was in the same meeting, any
     2       such order would have been verbal and not in writing; is
     3       that correct?
     4               A.       That's correct.
     5               Q.       Now, I'm a little confused, so help me out.                In
     6      looking at your complaint and then your response to
     7      Interrogatory #2, I'm trying to find out as you
     8      understand it what the quota system was.                 Was it 10-2-2?
     9      Was it three traffic citations per week day and one
   10       arrest?         Or was it a 10 percent increase in work?             What
   11       was the official quota policy that was implemented by the
   12       Gretna Police Department?
   13                A.       The three citations a day and the average of
   14       one arrest every two days as I understood it based on the
   15       annotated stat sheets that were passed out and specifying
   16       what we had to ~e at.
   17                Q.      So there's no document where the 10-2-2 says?
   18                A.      No document with the 10-2-2.
   19                Q.      There's no document with a 3-1-1 or whatever on
   20       it, is there?
   21               A.       No.   There is not.        Aside from doing the math
   22       on the annotated stat sheet, there is nothing that says
   23       3-1-1.
   24               Q.       There's no document with 10 percent increase?
   25               A.       No, sir.


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     1               Q.          You allege in Paragraph 10 that this policy
     2      that we've been talking about subjected police officers
     3      as well as their supervisors to mandatory discipline for
     4      any noncompliance with the quota policy.                      Again { is that
     5      statement based on the verbal conversation that you
     6      allege took place December 17th{, 2014{ December 19th{
     7      2014?
     8               A.          That is during the meeting when Captain Vinson
     9      spoke and our supervisor spoke.                      He advised the
    10      supervisors in the presence of the officers that worked
    11      for them that if the supervisors did not enforce this
    12      that he would take action against them.
    13               Q.      Did he describe what action he would take
   14       against the supervisors?
   15               A.       Not against the supervisors.               Just the action
   16       against the officers which would be being written up
   17       and/or suspended and ultimately terminated.
   18               Q.       Did he describe to you that this action that he
   19       says would take placet that would take place against the
   20       officers that Chief Lawson was going to implement that or
   21       take that action?
   22               A.       No.     He did not.
   23               Q.       Did he state that Deputy Chief Christiana was
   24      going to take that action?
   25               A.       No .    He did not.


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     1                Q.          Now, during some requests for discovery that
     2        you made to the Gretna Police Department, you asked for a
     3        copy of the table of contents of the operations manual.
     4       And we provided it to you.                      And I'm going to mark it as
     5        Exhibit #3.            Exhibit #3 just for the record is also Bates
     6       number Gretna 0073 through 0077.                          Could you please
     7        identify if you can please during that table of contents
     8       where the quota policy is identified in the operations
     9       manual.
    10                A.          I'm familiar with it.              It was not a written
    11       policy.
    12                Q.          So it is not identified in the table of
    13       contents of the operations manual, correct?
    14                A.          That's correct.
    15                Q.          Now, while you were an officer with the Gretna
    16       Police Department, there was a change to the operations
    17       manual, wasn't there?
    Ie                A.          Yes.     I believe on numerous occasions.
    19                Q.          I'm going to refer you to one specifically.
    20       There was a change in the operations manual regarding
    21       recording of fellow officersi isn't that true?
    22               A.       Specifically surreptitiously recording of
   23        fellow officers, yes, sir.
   24                Q.       ~~d        that policy change was issued in writingi
   25        isn't that true?


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     1                A.          That is true.
     2                Q.          And you had to signoff on it that you received
     3       a copy of it; isn't that true?
     4                A.          That is true.
     5                Q.          I'll show you what I'm marking as Exhibit 4.
     6       Is dated December 17th, 2014.                    This is the change in
     7       department regulation policy regarding the surreptitious
     8       recording of officers, isn't it?
     9               A.       Yes, sir.
    10               Q.       And it is effective by its content
    11       December 15th, 2014; doesn't it say that?
    12               A.       Correct.      Correct.
    13               Q.       It even says where this page is supposed to be
    14       inserted in the op~rations manual, doesn't it, Paragraph
   15        2:    This departmental regulation is effective as of
   16       December 15, 2014.             And you see it shall be considered a
   17       permanent part of the operations manual.                     This page
   18       should be inserted in the hard copy manual between Pages
   19       20 and 21?
   20                A.       That's correct.
   21                Q.       And you acknowledge receipt of that change in
   22       official policy; did you not?
   23                A.       I did.
   24                Q.       And I'll show you what I've marked as Exhibit 5
   25      .which is also Bates number Gretna 0282.                     Is that your


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     1       signature on that page?
     2               A.       That is.
     3               Q.       And that's you acknowledging receipt of the
     4      Departmental Regulation 6-2 Article 82.1 regarding
     5       recording devices?
     6               A.       That's correct.
     7               Q.       Now, also in discovery you produced a couple
     8      audiotapes; isn't that correct?
     9               A.       I   did.
   10                Q.       And one of the audiotapes is a recording of you
   11       and Sergeant Rodriguez; isn't that correct?
   12                A.       That's correct.
   13                Q.       And the date at least stamped on the recording
   14       is December 20th, 2014; is that correct?
   15                A.       That's correct.
   16                Q.       That's a correct date?
   17                A.       That's a correct date.
   18                Q.      And Sergeant Rodriguez did not know she was
   19       being recorded on that date, did she?
   20               A.       No.     She did not.
   21               Q.       And that would have been three days after this
   22       policy you signed the receipt acknowledging the policy of
   23       not recording, surrepitiously recording other officers;
   24       isn't that true?
   25               A.       That's true.


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      1               Q.       And I'm correct in saying if you remember that
      2      the conversation that you and Sergeant Rodriguez took
      3      place was over an hour longi wasn't it?
      4               A.       It was.
      5               Q.       While you were a Gretna police officer, you've
      6      had some instances where you've been the subject of some
      7      disciplinary actioni isn't that correct?
      8               A.       That's correct.
      9               Q.       And, in fact, several months or a few months
    10       before this December 2014 meeting that you've been
    11       talking about, you were disciplined because of an
    12       occurrence on June 24, 2014i isn't that correct?
   13                A.           (NO   response.)
   14                 Q.      Yes?           No?
    IS               A.        If that's what it says on the exhibit, then
   16        yes, sir, I'll agree to that.
   17                Q.        I'm going to show you.                     This is Exhibit 6.       It
   18        is also Bates numbered Gretna 0085 entitled Rights
   19        Relative to Administrative Proceedings.                             Do you see that?
   20                A.       I    do.
   21                Q.       And it lists seven statutory rights on the
   . 22      first page that s Bates number 0085 i doesn't it?
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   23                A.       Yes, sir.
   24                Q.       And your signature is contained on that
   25        document, 0085, correct?


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     1                A.          Yes, sir.
     2                Q.      And on the second page 0086, it talks about the
     3       violation was instructions from authoritative source and
     4       unsatisfactory performance by a member.                         Do you see that?
     5               A.       Yes, sir.
     6                Q.      And your signature exists on that page as well?
     7               A.       Yes, sir.
     8               Q.       You received a three-day suspension without pay
     9       for that violation; isn't that correct?
    10               A.       I believe so.           Yes, sir.
   11                Q.       I'm going to show you what I've marked as
   12       Exhibit 7.             It is an August 6th, 2014 letter to you from
   13       Deputy Chief Anthony Christiana.                          Do you see that?
   14                A.       Yes, sir.
   15                Q.       It says on. there that July 25th, 2014, they
   16       received a complaint and that based on the violation of
   17       departmental regulations you were receiving a three-day
   18       suspension, correct?
   19                A.       Correct.
   20                Q.       And you acknowledge receipt of a disciplinary
   21       action, a letter of disciplinary action; isn't that
   22       correct?
   23                A.       Yes, sir.
   24                Q.       I'll show you. what I marked as Exhibit 8.                      It
   25       is also Bates number Gretna 0079.                          That's an August 6th,


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     1       2014 letter saying:                I, Daniel Swear, am in receipt of a
     2       letter of disciplinary action dated August 6, 2014.                         Is
     3       that your signature?
     4                A.          Yes, sir.     It is.
     5                Q.          You were also counseled by Sergeant Rodriguez
     6       in January of 2015; were you not?
     7                A.          I was.
     8                Q.      And the basis of that counseling was that you
     9       did not write any tickets or enforce any traffic laws of
    10       the City of Gretna during December of 2014; isn't that
    11       correct?
    12               A.       I don't remember specifically what the verbiage
    13       was in it.
   14                Q.       You recall advising Sergeant Rodriguez that you
   15        felt that you shouldn't have to write tickets in December
   16       because it takes money away from people for
   17       Christmastime, right?
   18                A.       That was a personal choice of mine where I only
   19       wrote tickets when they were blatantly obvious during the
   20       month of December because I didn't want people to not buy
   21       their kid a Christmas present because they got a ticket
   22       because they had a brake light out.
   23                Q.       And can you tell me when Arthur Lawson advised
   24       you that in the month of December you did not have to
   25       enforce the traffic laws of the City of Gretna or the


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     1        State of Louisiana?
     2                A.          Arthur Lawson never informed me of that.
     3       However, we were given discretion when to write tickets.
     4                Q.          And similarly, please tell me when Deputy Chief
     5       Christiana told you that you did not have to enforce the
     6       traffic laws of the City of Gretna or State of Louisiana
     7       during December?
     8                A.          Again, Deputy Chief Christiana never told me
     9       that.         However, we did have discretion when to and not
    10       write tickets.
    11                Q.          I'm going to show you what I'm marking as
    12       Exhibit 9.             Do you recognize this document?
    13                A.          I do.

    14                Q.          This isa memorialization of the oral reprimand
    15       you received from Sergeant Rodriguez for unsatisfactory
    16       performance; is it not?
    17                A.          Correct.
    18                Q.      And it is signed by you at the bottom?
    19                A.          Correct.
    20                Q.      Does it state anywhere in this document and if
    21       so please point it to me where it says you received an
    22       oral reprimand for not following the quota policy?
    23               A.           It does not say that.
    24                Q.      When you become a police officer, you do take
    25       an oath to follow and enforce the laws of municipality in


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     1      which you're employedi do you not?
     2               A.       Yes, sir.
     3               Q.       And you do take an oath to follow and enforce
     4      the laws of the State of Louisianai do you not?
     5               A.       Yes, sir.
     6               Q.       Now, you were also the subject of some
     7      disciplinary proceedings in January of 2015i were you
     8      not?
     9               A.       Yes, sir.
   10                Q.       And that stemmed from an act where you brought
   11       a supervisor some knee pads at a roll call meetingi isn't
   12       that true?
   13                A.       Yes, sir.    It is.
   14                Q.       I'll show you Exhibit 10.                This is Gretna 0279
   15       through Gretna 0281.            And the synopsis on the first Page
   16       0279 says:            By attending a roll calIon January 27, 2015
   17       with a gift of knee pads, Vaseline and other items for a
   18       sergeant that was not chosen for a promotion which
   19       standard translation infers sexual favors would need to
   20       be performed in order to be promoted, impressing a
   21       derogatory view of the department and its supervisory
   22       structure on a recently hired officer, who he personally
   23       trained, just released from training, as well as his
   24       teammates which could foreseeably effect their view of
   25       the department, as well as their work ethic by the above


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     1       listed act.
     2               That's a fair reading of the synopsis of the
     3       complaint; isn't that correct?
     4               A.       That was word for word.                  Yes, sir.
     5               Q.       You did, in fact, bring knee pads and Vaseline
     6       to the roll call meeting?
     7               A.       I did.
     8               Q.       And there were new recruits and trainees
     9      present at that roll call?
   10                A.       There was one recruit who had just been
   11       released from training.               However, he was not a new
   12       policeman.            He had worked at a previous agency and was a
   13       transfer officer.
   14                Q.       And there were other non-rank patrol officers?
   15       Do you understand what I'm saying?                         No sergeants?        No
   16       lieutenants?           There were other patrol
   17                A.       There were sergeants in the room, yes.                      There
   18       were other patrol officers as well.
   19                Q.      And then there were sergeants as well in the
   20       room?
   21                A.       Correct.
   22                Q.       In connection with that act, you were the
   23       subject of some administrative proceedings; were you not?
   24-               A.       I was.
   25                Q.       I'll show you what I'm marking as Exhibit 11


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     1       which is entitled Rights Relative to Administrative
     2       Proceedings.             You see it has the seven statutory rights?
     3               A.           Correct.
     4                Q.      And your signature exists on that document as
     5       well, correct?
     6               A.       Yes, sir.
     7               Q.       And the second page which is Bates number 0278,
     8       your signature exists on that page as well, correct?
     9               A.       Yes, sir.
   10                Q.       And the nature of the infraction is attending
   11        roll calIon January 27, 2015 with the gift of the knee
   12       pads, correct?
   13                A.       Correct.
   14                Q.       I'll call your attention back to Exhibit #1,
   15       Paragraph 18, Page 4:                 Mr. Swear additionally informed a
   16       special agent with the Federal Bureau of Investigation
   17       stationed in New Orleans of the implementation and
   18       administration of the quota system.                           Do you see that?
   19                A.       Yes, sir.
   20                Q.       And would that have been FBI Agent Richard
   21       Voyles?
   22                A.       That's correct.
   23                Q.       Do you remember when you spoke with FBI Agent
   24       Richard Voyles?
   25                A.       I don't remember specifically.


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     1                Q.      Do you know where you were when you spoke with
     2       FBI Agent Richard Voyles?
     3               A.       Agent Voyles and I spoke on numerous occasions
     4      via telephone.             However, the first time we met I believe
     5       was at a PJ's Coffee Shop.
     6               Q.       Do you remember where the PJ's Coffee Shop was?
     7               A.       I believe it was the one on the corner of
     8      Manhattan Boulevard and Lapalco Boulevard.
     9               Q.       Were you still employed by the Gretna Police
   10       Department when you met with Agent Voyles?
   11                A.       I still, I believe I still held the commission,
   12       yes, sir.
   13                Q.       Were you still actively employed doing work for
   14       Gretna Police Department when you met with Agent Voyles?
   15                A.       When I met with him, no.                  I   was not.
   16                Q.       This was after you resigned but still retained
   17       your reserve commission, correct?
   18                A.       Yes.
   19                Q.       And you originally responded in response to
   20       discovery that two other unknown FBI agents were with
   21       Mr. Voyles.             As we sit here today, do you recall who they
   22       were?
   23                A.       No.     I do not.      At that first meeting with
   24       Agent Voyles, he didn't have anybody else with him.                                 On a
   25       different occasion there was another agent there.                               I


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     1       don't know for what purpose.                   I don't remember.    He
     2       credited me, but didn't give me a card.                   I don't remember
     3       what his name was.           And then on another occasion from
     4       that there was a third FBI agent with him.                   So a total of
     5       three FBI agents that I've come into contact with only as
     6      a result of speaking with Agent Voyles.
     7               Q.       And one of the meetings was at a PJ's Coffee
     8      Shop?
     9               A.       Correct.
   10                Q.       Can you tell us where any of these other
   11       meetings took place?
   12                A.       One meeting was at the Chick-fil-A on Manhattan
   13       Boulevard.            And we've had at least two other meetings at
   14       a PJ's Coffee Shop just inside of Belle Chasse right past
   15       Barriere Road.
   16                Q.       I want to make sure I understand.           All of these
   17       meetings, did they take place prior to you becoming
   18       employed with the Plaquemines Parish Sheriff's Office?
   19                A.       Not all of them, no.
   20                Q.       The first one at the PJ's Coffee Shop did,
   21       correct?
   22                A.       Yes.
   23                Q.      The next meeting, did that occur before or
   24       after you became employed with Plaquemines Parish
   25       Sheriff's Office?


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     1               A.       I don't remember.
     2               Q.       Obviously, the third one you don't remember
     3      before or after, correct?
     4               A.       Correct.
     5               Q.       When was the last time you met with or spoke
     6      with an FBI agent regarding an alleged quota system at
     7      Gretna Police Department?
     8               A.       I believe about two months ago when I called
     9      Agent Voyles to let him know that his name would be used
   10       during this case.            I wanted to give him a courtesy call
   11       to let him know that.             But as far as speaking about the
   12       system and the allegation at hand, we didn't discuss any
   13       of that.          It was merely a courtesy call so that he didn't
   14       get blindsided by his name coming up.
   15                Q.      Do you remember anything about what Agent
   16       Voyles said to you during that conversation?
   17               A.       No.   I don't.       It was brief.        It was a courtesy
   18       call.         That was it.
   19                Q.      Are you aware of any people that FBI Agent
   20       Voyles or any other FBI agent has interviewed other than
   21       yourself?
   22               A.       I'm not.
   23               Q.       You said you spoke to Lee Zurik, correct?
   24               A.       I did.
   25               Q.       Do you remember when you spoke to Lee Zurik?


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                                                                                               AQ




     1               A.       I don't remember what month, no.
     2               Q.       Was it before or after you became employed with
     3      the Plaquemines Parish Sheriff's Office?
     4               A.       I don't remember.
     5               Q.       Was it more -- was it one time?
     6               A.       One time.
     7               Q.       Was it in person?
     8               A.       It was.
     9               Q.       Where was that meeting?
   10                A.       I believe that street is South Jeff Davis.
   11                Q.      Was it at the news studio or was it another
   12       coffee shop?
   13               A.        I don't know if that's where they film the news
   14       at, but it was definitely a building owned by that
   15       company.
   16                Q.      Owned by the news studio?
   17               A.       The news, correct.
   18               Q.       And has Mr. Zurik contacted you after that
   19       meeting regarding a follow-up story of any sort regarding
   20       this claim?
   21               A.       NO .   He did not.
   22               Q.       And you spoke to an unknown member of the
   23       attorney general's office.                 Was that by a telephone call?
   24               A.       No.    Initially, it was an online typed-out
   25      petition to have someone call you.                          And then I did speak


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     1       to them on telephone.              A follow-up.            I do not remember.
     2       It was a male subject, but I do not remember what his
     3      name was.
     4               Q.       Did you retain a copy of the typed-up Internet
     5      request?
     6               A.       I did not.
     7               Q.       Has the attorney general's office ever sent you
     8      an e-mail, fax, letter that contained --
     9               A.       No.     They haven't.         The conversation, follow-up
   10       conversation with the member of that office indicated
   11       that that office would not take part in the matter.
   12                Q.       Do you remember when that telephone
   13       conversation took place where the representative of the
   14       attorney general's office conveyed that to you?
   15                A.       I do not.
   16                Q.       You also say in response to Interrogatory #4
   17       and others.             Do you know who the and others are that you
   18       spoke to about this alleged quota system?
   19               A.       After the meeting that we had in December,
   20       anyone and everyone that would listen.                        Like I said, I
   21       lost all knowledge of why I was doing, what I was doing,
   22       if I wanted to continue to do what I was doing.                           I had,
   23       you have a lot of people that look up to you as a
   24       policeman.            And by this issue corning up, I felt it
   25       necessary to just say as much as I could.                        I didn't agree


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     1       with it.
     2                I went as far as I had a license, an assembly line
     3       license plate made on my personal car with the statute
     4       that prohibited quotas in Louisiana.                       I mean I was so
     5       openly troubled by that that I told anyone and everyone
     6       that I could.
     7               Q.       Let's try to drill down a little bit on the
     8       anyone and everyone.             Would it be a fair statement to say
     9       that you spoke with other members of your team about it?
   10                A.       Yes.
   11                Q.       And what team was that at that time?
   12                A.       C-Team.
   13                Q.       Did you speak to Arthur Lawson about it?
   14                A.       I did not.
   15                Q.       Did you speak to Deputy Chief Christiana about
   16       it?
   17                A.       I did not.
   18                Q.       Did you speak to the Metropolitan Crime
   19       Commission about it?
   20                A.       I did not.
   21                Q.       Did you speak to your dad about it?
   22                A.       I did.
   23                Q.       Did you speak to any other family members?
   24                A.       But my grandma, when I visited her, I told her
   25       I was in a tough spot, but she doesn't really understand


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     1      police work.          And it was kind of a just a means of
     2      conversation.
                     Q.
            your mom?
     5               A.       At the time, I wasn't really speaking to my
     6      mom.
     7               Q.       Cousins?
     8               A.       I only had one first cousin.              And I don't talk
     9      to her.
   10                Q.       Do you have any brothers or sisters?
   11                A.       I'm an only child.
   12                Q.       Did you talk to Robin Christiana about it?
   13               A.        I did not.
   14                Q.      Did you talk to Patsy Klees about it?
   15               A.        I did talk to Patsy about it.
   16                Q.      You were living with Patsy Klees for awhile?
   17               A.        For a very long time.
   18                Q.      And what did you tell Patsy Klees about?
   19               A.        I told her what the situation was.              I don't
   20       remember the conversation specifically, but.
   21               Q.       As you remember it.
   22               A.       Well, I can tell you the facts of it don't
   23       change.         I just don't remember what I specified in the
   24       conversation.          But I mean she reached out to me after I
   25       put in my letter of resignation because she wanted to


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         1      make sure that I was okay.                    I mean I lived with her.
j


         2      That's been Aunt Patsy to me since day one.                    I mean she's
         3      very close with my father, so she reached out I guess to
         4      check on my well-being.                  And I told her that I couldn't
         5      do it.
         6               Q.      Has Patsy Klees ever acknowledged to you that
         7      she was aware that there was a quota policy at the Gretna
         8      Police Department?
         9              A.       No.     She did not.
       10               Q.       Since you brought it up, I'll talk about it
       11       right now.            I'll mark as Exhibit 12, it is also Bates
       12      numbered Gretna 0096.                 Is this your resignation letter
       13      dated February 2nd, 2015?
       14               A.       That is correct.
       15               Q.       It says you're resigning, but you'll end your
       16      employment officially as of the pay period of Thursday,
       17      February 12, 2015, correct?
       18               A.       That's correct.            That was standard procedure.
       19      If you were going to sever yourself whether it be police
       20      department or private entity to at least afford them the
       21      opportunity to set them up to replace you or move
       22      personnel around.
       23               Q.       In the last sentence you ask to retain your
       24      commission as a reserve officer; isn't that correct?
       25               A.       I    did.


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     1               Q.       Paragraph 24 of your complaint, that's Exhibit
     2       #1, Page 25, you talk about attending a meeting with
     3       Captain Vinson on February 9, 2015.
     4               A.       Yes, sir.
     5               Q.       And you say:        During the meeting, Mr. Swear was
     6      informed that he was being written up for making
     7      defamatory statements concerning the ethics of the Gretna
     8      Police Department.             Do you see that?
     9               A.       That's correct.
   10                Q.       And the next paragraph, Paragraph 25 says:                     At
   11       the February 9, 2015, meeting Mr. Swear was urged to
   12       resign immediately.             Do you see that?
   13                A.       That is correct.
   14                Q.       I'm confused.        You resigned February 2nd, 2015
   15       according to Exhibit 12.
   16                A.       Correct.
   17                Q.       So how were you going to resign again on
   18       February 9th, 2015?
   19                A.       When I entered my resignation letter on
   20       February, on the 2nd of February, I was still a member of
   21       the Gretna Police Department.                    And for the purposes of I
   22       lived with within a 4.4 square mile city and I did not
   23       have a concealed weapons permit.                       I was openly known in
   24       my apartment complex as a police officer.                      Not everybody
   25       like the police.             I needed my reserve commission to make


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     1      sure I could have a gun for the time being until I could
     2      get a commission somewhere else or file the paperwork to
     3      get a concealed weapons permit.
     4               Actually, on February 2nd, 2015, I did the courtesy
     5      of asking for my or offering two weeks after I tendered
     6      my letter of resignation and I was not allowed to work my
     7      two weeks.            And I was told to corne in I believe a half
     8      day, the following day and then turn my, turn my, the
     9      full-time property back in.
   10               On the February 9th meeting, I was called in and
   11       during this meeting it was Captain Vinson behind his
   12       desk, it occurred in his office, Captain Vinson behind
   13      his desk.              I sat in the chair to the left and I believe
   14       lieutenant was his rank Jim Price sat in the chair to the
   15       right of me.            It was a closed door meeting.             We sat down.
   16       It was tense from my perspective.                       I don't -- all he did
   17      was he slid a single piece of paper across the table with
   18      a sticky note on it and said I'm giving you the
   19      opportunity to resign before we initiate this
   20      investigation regarding you making defamatory statements
   21      to the Gretna Police Department.
   22               We briefly spoke about that.                    And I asked Lieutenant
   23      Jim Price if he wouldn't mind out of no disrespect, if he
   24      would excuse himself.               He had no problem with that.                I
   25      wanted to speak to Captain Vinson alone.                       When he excused


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     1      himself and closed the door, I told Scott, Captain
     2      Vinson, that I wasn't going to, I wasn't going to say
     3      openly in front of another supervisor about the million
     4      dollar speech and everything that he had said.
     5               And I asked him, I said the defamatory statements
     6      that you're alleging that I made were all as a result of
     7      the speech that you gave me in, that you gave us in
     8      December.             And Captain vinson's eyes were -- he almost
     9      was shocked that of the words that were corning out of my
   10       mouth and he took the paper right back and said you don't
   11       have to worry about that.                 Obviously, I overspoke.          And
   12       he told me in his words and I quote, I'm going to go
   13       across the street and fallon my sword.                      I'm going to go
   14       make this right.            You don't have to worry about it.
   15               So, like I said, out of respect for Captain Vinson,
   16       I mean December was the first time that anything had
   17       really come out of his mouth to shatter it.                    And now that
   18       we were I don't want to say past it, but now that we were
   19       in a situation where we were talking, I didn't know how
   20      much another supervisor knew of what was going on and
   21       that's why I asked him to leave, so I didn't want to say
   22       it in front of the other supervisor.
   23               Q.       If part of the transmission of the quota policy
   24      was conveyed because of the RedFlex million dollar
   25      deficit, why wouldn't another supervisor know that?


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     1               A.       I don't know if that other supervisor was privy
     2       to that information.          scott was the captain.             The other
     3       supervisor was a lieutenant.                He didn't call in the
     4      entire patrol division to give the same speech to
     5      everyone at the same time.                I don't know what was uttered
     6      in the other speeches given to the other teams.                        I only
     7      know what was uttered to my team and the supervisors that
     8      were in that meeting.
     9               If that is where the wound bled, there was no need
   10       for it to go in the ear of this other person.                      Scott said
   11       I'm going to go across the street and fallon my sword
   12       and our meeting stopped.              He pulled the paper back and
   13       said you don't have to worry about because I obviously
   14       overspoke.
   15                Q.       So you don't know then if this speech that you
   16       conveyed to us that you received was actually duplicated
   17       with any of the other teams, do you?
   18                A.       I do know that a speech that day or based on
   19       the rotation within a certain amount of days because
   20       there were some teams that were off, I do know that
   21       Captain Vinson addressed each team.                      However, he wasn't
   22       reading from a script.            I don't know if the same speech
   23       was conveyed to the other team.                   I don't know if it
   24       included a speech about a million dollars.                      I don't know
   25       any of that.          I just know that he did address the other


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     1       teams.
     2               Q.       You don't know what sergeants knew about this
     3      million dollar issue, do you?
     4               A.       I don't know if they knew about the million
     5      dollar issue.
     6               Q.       You don't know what lieutenants knew about this
     7      million dollar issue, do you?
     8               A.       I don't.
     9               Q.       There are other captains other than Captain
   10       Vinson at that time, weren't there?
   11                A.       Yes.   Captain Vinson, Captain Jackson, Captain
   12       Lloyd and Captain -- he's over at the courthouse.                      I
   13       never see him.           I don't remember his name.         First name is
   14       Jerry.        I don't know the last name.
   15                Q.       You don't know if any of those captains knew
   16       about this million dollar issue in instituting a quota
   17       policy to take care of it, do you?
   18                     MR. HEBERT:     Object to the form.
   19                     THE WITNESS:      I don't know that.        I was not on
   20       that level of the administration.
   21       BY MR. MAUTERER:
   22                Q.      And as we sit here today, is it your
   23       understanding that a captain is a member of the
   24       administration of the Gretna Police Department?
   25               A.       Yes, sir.


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     1               Q.       That's your belief?
     2               A.       Yes, sir.
     3               Q.       Is it your brief that a lieutenant is a member
     4      of the administration of the Gretna Police Department?
     5               A.       No, sir.
     6               Q.       Is it your belief that a sergeant is a member
     7      of the administration?
     8               A.       No, sir.
     9               Q.       So as we sit here today, someone captain or
   10       above is a member of the administration of the Gretna
   11       Police Department as you understand it?
   12               A.       As I understood it that once they got to the
   13       level of having white uniform shirts, there were meetings
   14       conducted on that level that lieutenants and shift
   15       supervisors were not privy to.
   16               Q.       And you did not discuss your concerns regarding
   17       this alleged quota problem with any of the captains that
   18       you just identified other than Scott Vinson?
   19               A.       No.   I did not.        Captain Lacour.   I remember
   20       his last name now.
   21               Q.       That's the security guy?
   22               A.       He's a captain.
   23               Q.       But he's over Gretna security at the
   24       courthouse, right?
   25               A.       Correct.     I barely ever saw him.       Captain Lloyd


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     1      was over the I believe the detective bureau.                And Captain
     2      Jackson just handled I believe administrative.                 He used
     3      to be the captain of the patrol division.
     4               Q.       You said a few minutes ago after you tendered
     5      your resignation on February 2nd, 2015, I believe you
     6      said you went the next day and turned in some property?
     7               A.       Correct.
     8               Q.       What did you turn in the next day?
     9               A.       My car.    I don't know if there's anything
   10       associated with full-time versus part-time, but once you
   11       go to reserve, you don't have a car any more.                You have
   12       to turn your car in.
   13                Q.       So after February 3rd, the next day, you were
   14       no longer a full-time officer with the Gretna Police
   15       Department because you resigned the day before, correct?
   16                     MR. HEBERT:      Object to the form.
   17                     MR. DORNIER:       Object to the form.
   18       BY MR. MAUTERER:
   19                Q.      That's correct, isn't it?
   20               A.        I still held a reserve commission.       However, I
   21       did not work on a shift any more after August 3rd.
   22                Q.      February.
   23               A.       February 3rd.        Excuse me.
   24               Q.       A reserve officer is not a full-time officer;
   25       isn't that correct?


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     1               A.       As far as employment is concerned.                  However,
     2      the reserve officer still has the same abilities in the
     3      eyes of the State of Louisiana to effect arrest.                             For the
     4      purposes of the department, no, they don't work at the
     5      department full-time.
     6               Q.       But a reserve officer or when you transitioned
     7      into the reserve position, you retained your commission?
     8               A.       That is true.
     9               Q.       If Scott Vinson told you on February 9, 2015
   10       that he overspoke and he was going to walk across the
   11       street and fallon his sword, what makes you think that
   12       that is an official policy of the Gretna Police
   13       Department, this quota system?
   14                     MR. HEBERT:     Object to the form.
   15                     THE WITNESS:      Ask the question again please.
   16       BY MR. MAUTERER:
   17               Q.       You said that on February 9, 2015, Scott Vinson
   18       advised you that he overspoke and that he was going to
   19       walk across the street and fallon his sword.                           If Captain
   20       Vinson overspoke, what makes you believe that anything he
   21       told you regarding an alleged quota system was an
   22       official policy of the Gretna Police Department?
   23                     MR. HEBERT:     Object to the form.
   24                     THE WITNESS:      Captain Vinson was the top of the
   25       food chain of the patrol division.                         So anything that carne


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     1      from him would have been disseminated down through the
     2      rank.        This particular instance it came from his mouth
     3      itself.         It was not put on paper.
     4               The fact that he made the admission at the end of
     5      overspeaking because he was shocked that I regurgitated a
     6      million dollars and RedFlex that the -- the fact that he
    7       acknowledged that he overspoke and that he felt the need
    8       to go across the street and fallon his sword, and I
    9       don't know what that means other than I assume he was
   10       going to tell someone that I probably said something that
   11       I shouldn't have said.            But because of his acknowledgment
   12       of that and his feeling that he needed to make it a point
   13       to inform someone else that something that he said had a
   14       detrimental effect that that was a formal, whether
   15       written or not written, that was a policy coming from his
   16       mouth.
   17       BY MR. MAUTERER:
   18               Q.       As you understood it?
   19               A.       As I understood it.
   20               Q.       And you didn't go back and confirm with Captain
   21      Vinson why he was going across the street to do anything,
   22       did you?
   23               A.       No.   I didn't go back and speak to him again
   24       after that at all.         But there was no question as to why
   25      he was going because the comment of I'm going to go


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     1       across the street and fallon the sword and taking the
     2       paper back and you don't have to worry about the
     3       investigation to the defamatory statements, all of that
     4       happened simulataneously.                 So I didn't follow-up with him
     5       to see if he fell on his sword.                      That's not my -- that's
     6       above what I would do.               I'm not going to call him back
     7       and ask if he went and did that.
     8               Q.       Did you watch him get up and walk across the
     9      street?
    10               A.       No.   I did not.
   11                Q.       Do you know if he actually went across the
   12       street?
   13                A.       I don't.
   14                Q.       You never received and took possession of any
   15       disciplinary action or complaint regarding defamatory
   16       statements, did you?
   17                A.       I did not.      He pulled it back on his desk.
   18                 (A SHORT RECESS IS TAKEN)
   19       BY MR. MAUTERER:
   20                Q.       Mr. Swear, are you aware of any officers that
   21       have been disciplined for failing to follow this quota
   22       system as you've described it this morning?
   23               A.       There were officers disciplined.               I believe
   24       Paul pichoff was one of them.                    Paige Brouillette.        That's
   25       all I can think of off the top of my head right now.


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     1                Q.      How do you know Paul pichoff was disciplined
     2       for not complying a within an alleged quota system?
     3               A.           Paul worked at the department the same time
     4       that I did.            Same thing with Paige.              Everyone talked.
     5                Q.      Were you present during any administrative
     6      proceedings with Mr. pichoff?
     7               A.       I was not.
     8               Q.       Did you come into possession or review any
     9      disciplinary write up forms for Mr. pichoff?
   10                A.       I did not.
   11                Q.       Did Mr. pichoff ever tell you I've been
   12       disciplined because I didn't follow the quota?
   13                A.       Not those words exactly, no, sir.
   14                Q.       What were the words that he said?
   15                A.       Mr. pichoff was verbally counseled by his
   16       supervisors for not meeting with the quota.                        He said that
   17       he was brought in and spoken to behind closed doors and
   18       spoken to behind closed doors and counseled as a result
   19       of not meeting the quota.
   20                Q.       And would this counseling be memorialized in an
   21       audiotape that you turned over to us in discovery?
   22                A.       Yes.
   23                Q.       Is that the counseling session that you're
   24       talking about right now?
   25                A.       Yes.     That's the one that he memorialized with


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         1      the audio recording.             However, based on what he's told
         2      me, that wasn't the first time that he had been counseled
         3      on the quota or,failing to meet the quota.
         4               Q.       And do you know what the result of that
         5      counseling session as you describe it was?
         6               A.       I do not.
         7               Q.       Mr. pichoff was not terminated from the Gretna
         8      Police Department as a result of that counseling session,
         9      was he?
       10                A.       I don't know.
       11                Q.       Do you know if Mr. pichoff is still employed by
       12       the Gretna Police Department?
       13                A.       I don't believe he's there full-time.          If he
       14       does have a commission, it would be in a reserve
       15       capacity.
       16                Q.      Do you know that for a fact or are you
       17       speculating?
       18               A.       To him working there?
       19               Q.       To him being a full-time officer or in the
       20       reserve capacity, which one of those do you know as a
       21       fact?
       22               A.       He's not a full-time officer.
       23               Q.       How do you know that?
       24               A.       Because he left the department I believe while
       25       I was still there.            And he went and worked for his father


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     1      I believe on Engineers Road.
     2               Q.       So if he was resworn in as a Gretna police
     3      officer when the new counsel administration took the oath
     4      of office last month, would he not be working for the
     5      Gretna Police Department?
     6                    MR. DORNIER:      Object to the form of the question.
     7                    THE WITNESS:      He may be.           I believe he, I believe
     8      if he is still a member, like I said before, it's in a
     9      reserve capacity.          I believe he has another full-time
   10       job.
   11       BY MR. MAUTERER:
   12                Q.      Let's try and make it a simpler so we can get
   13       to it.        When was the last time you spoke to him regarding
   14       his employment with the Gretna Police Department?
   15               A.       Two, three months ago.             And it wasn't in
   16       reference to his employment with the department.                       He
   17       called and I believe he told me he was still reserve at
   18       the time.
   19               Q.       Was that the most recent time that you've
   20       spoken to him at all?
   21               A.       Yes.
   22               Q.       You described your understanding that Paige
   23      Brouillette was disciplined because of not following the
   24      alleged quota system.             What evidence of that do you have?
   25               A.       Paige w~s given a write up with specific


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         1       numbers on it very similar to the one that I was given
         2       from I believe the same supervisor.                       That's the only
         3       evidence.            If she was on the same team as I was, so she
         4      would have been privy to the same conversations that I
         5      was present at and subjected to the same disciplinary
         6      action that I was.
         7               Q.       Have you seen a copy of that write up or stat
         8      sheet that you were just talking about regarding
         9      Miss Brouillette?
       10                A.       I have.    The night that she got it, I remember
       11       her showing it the me.              She was, I think we were right at
       12       the corner of Whitney and Burmaster when she showed it to
       13       me.
)      14                Q.       Do you have an actual copy of it?
       15                A.       I don't believe I do.
       16                Q.      And any members of any other teams that you are
       17       aware of being disciplined for not following the alleged
       18       quota system?
       19                A.      Not that I'm aware of.
       20                Q.      And. in the form that you saw, the write up that
       21       you saw from Miss Brouillette, it did not state that she
       22       was being written up or disciplined for failing to follow
       23       the quota system, does it?
       24               A.       No.     It did not.
       25                Q.      You don't know that Mr. pichoff or


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     1      Miss Brouillette were being counseled or written up just
     2      because they were lazy at that job, do you?
     3                    MR. HEBERT:      Object to the form.
     4                    MR. DORNIER:      Object to the form of the question.
     5      BY MR. MAUTERER:
     6               Q.       Do you?
     7               A.       No.   I don't know that.
     8               Q.       Since you have left the Gretna Police
     9      Department, what former or current Gretna police officers
   10       have you been in contact with?
   11                A.       Craig Dougherty, Paul pichoff, Cody Arabie,
   12       Brandon LeBlanc, Ryan Makdessi, Marcus Dubuclet.
   13                     MR. DORNIER:      Can you spell that last name?
   14                     THE WITNESS:      I think it's D-U-B-U-C-L-E-T.
   15       BY MR. MAUTERER:
   16                Q.      Anybody else?
   17                A.       David Heintz, Scott Brown, Paige Brouillette.
   18       That's all I can remember.
   19                Q.      Did you discuss with Mr. Dougherty the alleged
   20       quota system or this lawsuit?
   21               A.       Yes, I did.
   22                Q.      And what do you remember discussing with
   23       Mr. Dougherty?
   24               A.       Mr. Dougherty contacted me on numerous
   25       occasions frustrated in his own capacity because he's


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     1       still employed there for the pressure that he's subjected
     2       to over there.
     3                Q.          Regarding the quota policy?
     4               A.           Correct.
     5                Q.      Has Mr. Dougherty conveyed to you that he's
     6       been disciplined in any manner for not following a quota
     7       policy?
     8               A.       Not disciplined, no, sir.                   The last thing he
     9       made reference to regarding his citation numbers was that
    10       it reflected poorly on his last evaluation.                         But as far
   11        as discipline, write-ups, suspension, anything else, no.
    12               Q.       We've already discussed Mr. pichoff.                    What
   13       about Cody Arabie, have you discussed the quota system or
   14       this lawsuit with Cody Arabie?
   15                A.       No.     My contact with Cody for the first time
   16       was because he broke down on the side of the road in
   17       Plaquemines Parish and called because he knew I worked
   18       there and asked if I had a ratchet strap and some tools
   19       to help them secure a piece of machinery they were trying
   20       to move.
   21                Q.       What about --
   22                A.       And on that note, there was an officer with
   23       him.       He went to the academy with me.                     Jace Pellegrin was
   24       with him at the time that I went over there and gave him
   25       tools.


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     1                Q.      So you didn't discuss a quota system or this
     2       lawsuit with Mr. Pellegrin or Mr. Arabie?
     3               A.       No.
     4               Q.       They just happened to be in the same car to
     5      help you out or you to help them out?
     6               A.       Correct.
     7               Q.       What about Brandon LeBlanc, did you discuss the
     8      quota system or lawsuit with Brandon LeBlanc?
     9               A.       In brief because Brandon transferred from the
   10       Gretna Police Department recently to Plaquemine Sheriff's
   11       Office.         He calls me on numerous occasions to ask for how
   12       to do things on the computer.                   The only thing that I
   13       really expressed to him regarding this is that I wished I
   14       could sit down with Scott in a non-hostile environment
   15       and talk to him and I think if he had the opportunity to
   16       hear what I had to say and that throughout the years this
   17       has been the only instance that, you know, vlhat came out
   18       of his mouth shattered my world.
   19                Because I'm going to assume that he has a great I
   20       don't want to say hate, but he may have a great hate for
   21       me which upsets me because we had a great relationship
   22       for a very long type.
   23                Q.      You haven't had any conversations with Mr.
   24       Vinson since you sued him; isn't that correct?
   25               A.       No.    I haven't.      And the only thing that I


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     1      received from him was a text message that said Danny, I
     2      forgive you.
     3               Q.       After you sued him?
     4               A.       Correct.
     5               Q.       Ryan Makdessi, did you have a conversation with
     6      Mr. Makdessi regarding the alleged quota system and/or
     7      this lawsuit?
     8               A.       No.    Again, that's another officer that
     9      transferred to where I'm currently employed.                        And he
   10       stopped by to say hello.               And that was really it.              I
   11       asked him how he was doing in his transition.                        And he
   12       said he liked it.            That was all.
   13                Q.      Marcus Dubuclet, have you discussed an alleged
   14       quota system and/or this lawsuit with Mr. Dubuclet?
   15               A.        I discussed the quota system with Mr. Dubuclet.
   16       His situation I think with the police department is very
   17       different.            He no longer works there.              He works for a
   18       different agency now.             But Marcus and I have, we have
   19       kept in touch really since he left.                        Marcus was on the
   20      patrol shift that I started out as a dispatcher on.                              So
   21       he was one of my first people that I saw everyday for a
   22       long time.
   23               Q.       Well, specifically regarding the alleged quota
   24       system, what did you and Mr. Dubuclet discuss?
   25               A.       He knows that -- everyone knows that I filed a


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     1      lawsuit.          He asked me what, he asked me what happened.                       I

     2      explained to him about the million dollar speech and that
     3      the three tickets a day.                Other than that, you know, that
     4      was really it.
     5               Q.       Was Mr. Dubuclet present during the million
     6      dollar speech?
     7               A.      Mr. Dubuclet was not at the department at that
    8       time.
    9                Q.      Had he already left or had he not started there
   10       yet at that time?            Do you understand my question?
   11               A.       Already left.
   12               Q.       Did Mr. Dubuclet provide any comment to you
   13       regarding that the quota system that mayor may not have
   14       existed prior to the December 2014 speech by Mr. Vinson?
   15               A.       He did not.
   16               Q.       Mr. Heintz was your sergeant that was present
   17      during the DecembeI' 2014 speech, wasn't he?
   18               A.       That is correct.
   19               Q.       He's no longer with the department either,
   20      correct?
   21               A.       He's not.
   22               Q.       What discussions if any have you had with Mr.
   23      Heintz regarding this alleged quota system?
   24               A.       I    had a discussion with Mr. Heintz while he was
   25      still at the department.                And I went to him and confided


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     1      in him and asked how serious is this, are they really
     2      going t-o write us up.           And he informed me that during a
     3      supervisor meeting just as was said in the meeting with
     4      Scott Vinson and my team that they were threatened
     5      disciplinary action for not disciplining us regarding the
     6      quota system.
     7               He expressed to me he felt like he was put in a bad
     8      spot because the supervisors were expected to discipline
    9       people for this and he didn't agree with it.
   10               Q.       Did he tell you or identify for you which
   11       supervisors attended that supervisor meeting where that
   12       alleged discussion took place?
   13               A.       He did not.
   14               Q.       Did he tell you who was in charge of the
   15       supervisor meeting?
   16               A.       Scott Vinson.
   17               Q.       He told you that?
   18               A.       Yes.   And the basis of Sergeant Heintz's, the
   19      basis of Sergeant Heintz's disagreement with the system
   20      was that he informed me when he was a patrolman, a
   21      regular patrolman and didn't have any rank that he was
   22      written up for being a certain number of tickets shy of
   23      whatever a goal was or the quota was when he was on the
   24      shift.
   25               Q.       That's something that you have no personal


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     1       knowledge of, just what Mr. Heintz has conveyed to you,
     2       am I correct?
     3                A.      That's correct.
     4                Q.      And during this supervisor meeting in which Mr.
     5       Heintz was describing to you, did he advise you that
     6       Chief Lawson or Deputy Chief Christiana were present
     7       during that supervisory meeting?
     8               A.       He did not advise me, so I'm unaware whether
     9       they were or were not present.
   10                Q.       Did Mr. Heintz tell you anything else other
   11       than what you just shared with us this morning?
   12                A.       I don't believe so, no.
   13                Q.       Scott Brown, have you discussed this alleged
   14       quota system or your lawsuit with him?
   15                A.       I have not.       Just to clarify on that list of
   16       people, your original question was who I spoke to since I
   17       left, correct?
   18                Q.       Correct.
   19                A.       I just wanted to make sure.                Because there were
   20       people present in that meeting, the people that were on
   21       the C-Team that was outlined in the original.                        I want to
   22       make sure that that wasn't the question.
   23                Q.      That was not the question.                 But in bringing it
   24       up, I want to make sure that your response in discovery
   25       was correct too.             The people that were present during the


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     1      meeting according to your response to Interrogatory #1
     2      and this is Exhibit #2, Vincent Paz, Brock Frisch,
     3      Matthew Chiasson, Crystal Hirschmann, Paige Brouillette,
     4      Colby Arabie, not Cody but Colby Arabie, and Steven
     5      Verret.
     6               A.       Correct.
     7               Q.       Nobody else was present other than yourself and
     8      Scott Vinson and the two sergeants?
     9               A.       Correct.      Those are the patrolmen.
   10                Q.       I'll show you what I marked as Exhibit 13.
   11       This is what's been produced by your attorneys in
   12       response to discovery.                And I want to go through some of
   13       them and ask you some questions about them.                        You see the
   14       first eight pages is really the pleading response to the
   15       request.          The next page is the January 13, 2015
   16       memorialization of the oral reprimand that we've already
   17       talked about, right?
   18                A.       Correct.
   19                Q.      The next series of pages, department team
   20       statics December 2014.                Then it follows with Team A
   21       statistics and what have you.                     You see those?
   22               A.        I   do.
   23                Q.      First of all, we'll start page by page so the
   24       court reporter know what's go on and I just want to ask
   25       you a few questions.              The first is going to be the


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     1       department team statics December 2014.                             You see that one?
     2                A.          Yes, sir.
     3                Q.          Where did you obtain this document?
     4                A.      This is given out to the supervisors and they
     5       would address this at the end of each month.                             And it was
     6       passed around the room, left on the roll call table.
     7       Each team addressed at the end of each month.
     8               Q.       So this was handed out to the officers at the
     9       roll call meeting?
    10               A.       They didn't make multiple copies of it.                          They
   11        said we got the stats from last month.                             And they would
   12       pass it around and usually leave it on the table and the
   13       next team would address it in their own way.                              But yes, it
   14       was given out in roll call.
   15                Q.       So this document, a copy of this document you
   16       personally obtained from the roll call?
   17                A.       Is this -- were the annotations removed or is
   18       this not the annotated document?
   19                Q.       This is an exact copy of what was produced by
   20       your attorneys.
   21                A.       Then yes, I believe so.                      I would have gotten it
   22       from roll call.
   23                Q.       On this document that we're referring to, do
   24       you see anything that has the word quota on it?
   25                A.       I do not.


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     1               Q.       And you asked about whether or not annotations
    2       were taken off or not.                But there's no annotations on
    3       this document, correct?
    4                A.       Not on this one, no, sir.
    5                Q.       Go to the next page.              This is the December 2014
    6       Team A statics.              Do you see it?
    7               A.        I   do.
    8                Q.      Were you ever on Team A?
    9               A.        I was not.
   10                Q.      How did you obtain this document?
   11               A.        I believe this was given to me by Craig
   12       Dougherty.
   13               Q.       On this document, does it say anything on it
   14       regarding a quota?
   15               A.       It does not.
   16               Q.       Does it have anything on this document
   17       regarding any disciplinary action taken against any
   18       officer?
   19               A.       It does not.
   20               Q.       The next document has January 2015 handwritten
   21       on it and then the word mid handwritten, but it is
   22       Monthly Team Statistics Team A.                      Do you see that
   23       document?
   24               A.       I    do.
   25               Q.       Do you know who wrote January 2015 or the word


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         1      mid on this document?
         2               A.       I do not.
         3               Q.       How did you corne into possession of this
         4      documen t ?
         5               A.       I don't remember.          It was either Craig
         6      Dougherty or Bo Bryson.
         7               Q.       This document doesn't have the word quota
         8      anywhere on it, correct?
         9               A.       Correct.
       10                Q.      And it doesn't describe or identify any
       11       officers that were disciplined because of the team
       12       statics of January 2015, does it?
       13                A.      No.   It does not.
       14                Q.      The next document is August 2014 Monthly Team
       15       Statics Team A.          Where did you get this document?
       16               A.        I don't remember.          However, it was either from
       17       Bo Bryson or Cra~g Dougherty.
       18                Q.      And again! this document doesn't have the word
       19       quota written on it, does it?
       20               A.       No.   It does not.
       21                Q.      And it doesn't identify or describe any
       22       disciplinary action taken against any of the officers
       23       named on this document, does it?
       24               A.       No.   It does not.
       25               Q.       This is another document that says Monthly Team


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             1      Statistics and I'll represent to you before I put the
    )
             2      hole punch through it it said Bryson in the right corner.
             3      Do you know where you obtained this document?
             4               A.       I don't remember.          It was either from Bo Bryson
             5      or Craig Dougherty.
             6               Q.       This document looks a little bit different from
             7      the ones we just discussed.                  Was this document handed out
             8      at roll call meetings if you know?
             9              A.        I do not know.
           10                Q.      There's handwritten notations:                  Reports, felony
           11       misdemeanor, radar, 10 adam something.
           12               A.        It says 10 a day.
           13               Q.       Do you know who wrote those words on the side
           14       of this document?
           15               A.       To a certainty, no.            I do hot.
           16               Q.       Do you have a guess?
           17               A.       JR Rogers.
           18               Q.       And what's the basis of your assumption that JR
           19       Rogers' handwriting exists on this document?
           20               A.       When this document was provided to me, I
           21      believe that's what was indicated.                          I don't remember if
           22       it was Bo Bryson or Craig Dougherty who gave me this
           23      document, but I believe they indicated that this was
           24      something addressed with one of those officers
           25      specifically and that it was annotated by JR.


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     1                Q.          It doesn't say the word quota on here, does it?
     2               A.       No.     It does not.
     3                Q.      And I'm looking at the line that has you see
     4       where it says 20 and then the line down 10 a day?
     5               A.       Yes.
     6               Q.       The ultimate right-hand column for the line
     7       that has 20 says 14, doesn't it?
     8               A.       Yes, it does.
     9               Q.       It doesn't say 10 a day.                  I mean 14 is not 20,
   10       is it?
   11                A.       No.     14 is not 20.
   12                Q.       And I'm looking at one, two, three, four days.
   13       I'm trying to figure out so you have the fourth is 1.
   14       The 12th is 3 .            14th is 1.       And then the 17th is 9.               That
   15       totals 14.             How does that equal 10 a day if you know?
   16                A.       I don't know.
   17                Q,       It doesn't show that Mr. Bryson was disciplined
   18       as a result of these statistics, does it?
   19                A.       No.     It doesn't.
   20                Q.       The next page in this packet we all know what
   21       you say this is, but please tell us what this is.
   22               A.        It is a photograph of a dry erase board within
   23       Captain Vinson's office that you were given a green star,
   24       a green check, a red check or red X based on your, based
   25       on the officer's standing with their arrests and


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     1      citations.
     2               Q.       Who provided this document to you or this
     3      picture to you?
     4               A.       I believe this one was provided by Sergeant
     5      David Heintz.
     6               Q.       Your name isn't listed as one of the officers
     7      in the left column, correct?
     8               A.       That is correct.
     9               Q.       Do you know what year this picture was taken?
   10                A.       I believe 2015.
   11                Q.       Is that something that you know or something
   12       you believe?          I just want to understand for the record.
   13               A.        It's going to have to be later than that.              It
   14       is not 2015.          I was at the department in January of 2015.
   15       Therefore, it could not have been taken in 2015.
   16                Q.       Is it your belief as we sit here today this was
   17       taken after you resigned on February 2nd, 2015?
   18               A.        I'm really unsure.         Potentially, it could have
   19       been taken after I resigned in 2015.
   20               Q.       A board existed in Captain Vinson's office,
   21       correct, while you were there?
   22               A.       Correct.
   23               Q.       And you said there were green checks, green
   24       stars, red checks, red stars, correct?
   25               A.       No red stars.      Red XIS.


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     1               Q.       Did you ever ask Captain Vinson what those
     2      specific symbols and colors represented?
     3               A.       No.   I did not.       He openly proclaimed that that
     4      was his board and it was for him to understand and not
     5      for anyone else to understand.
     6               Q.       But did you ask him to explain it to you?
     7               A.       No.   I did not.
     8               Q.       Do you have personal knowledge of any officer
     9      that did ask Captain Vinson to explain this chart to him?
   10                A.       I don't have any personal knowledge of that.
   11                Q.       The next page in the document it appears to be
   12       a text message from Danielle Rodriguez to you; is that
   13       correct?
   14               A.        That's correct.
   15                Q.      And that consists of three pages, correct?
   16               A.       That's correct.
   17                Q.      And just confirm for me if you will that in
   18       those three pages the word quota does not exist.
   19               A.       That's correct.
   20               Q.       And please confirm for me if you will the word
   21       suspension does not exist.
   22               A.       That's correct.
   23               Q.       Or the word termination does not exist.
   24               A.       That's correct.
   25               Q.       Is this, when I say is this, these three pages,


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     1       is this all of the text messages that you possess between
     2      you and Danielle Rodriguez?
     3               A.       If this is what was produced in discovery, then
     4      yes.
     5               Q.       The next page looks like a screenshot or
     6      picture of a C-Team stat sheet.                     Do you agree with me
     7      with that?
     8               A.       Yes, sir.
     9               Q.       Who took that picture?
   10                A.       I   did.
   11                Q.       And do you know when it was taken?
   12                A.       I believe December 15th of '14.
   13                Q.      And did you add that typewritten, those
   14       typewritten words stat sheet to go with 12, IS, 14 info
   15       one image?
   16               A.       Yes.
   17                Q.      And do you know who circled the numbers on this
   18       stat sheet?
   19               A.        I didn't observe anyone circle the numbers on
   20       the stat sheet, nor my handwriting expert.                    However, the
   21       person who presented the stat sheet to us and whose
   22       handwriting it appears to be from her being my supervisor
   23       for that period of time was Danielle Rodriguez.
   24               Q.       As we sit here today, you believe that Danielle
   25       Rodriguez circled the numbers that are on this stat


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     1      sheet?
     2               A.       The numbers and handwrote the numbers to the
     3      side of the circles.
     4               Q.      On this document that we're talking about, does
     5      it have the word quota on it?
     6               A.      NO.   It does not.
     7               Q.      Does it have any indication that any of these
     8      officers, including yourself is going to be disciplined
     9      for the numbers contained on this stat sheet?
   10               A.       No indication of that on this paper.
   11               Q.       The next three pages we've already discussed.
   12      And for the record, those are articles regarding the
   13       recording devices.           So the next one I want to talk to you
   14      about, Mr. Swear, is a Rights Relative to Administrative
   15       Proceedings for Thomas Bryson.                   Did you see that?
   16               A.       Yes, sir.
   17               Q.       How did you obtain that document?
   18               A.       Thomas "Bo" Bryson gave me this document.
   19               Q.       And what is your belief, what do you think this
   20      document represents?
   21               A.       It's his rights relative to administrative
   22      proceedings.
   23               Q.       DO you have any idea why it was produced to us
   24      in discovery?
   25               A.       It makes reference to a quote-unquote


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                                                                                         nil




     1      department standard and that he had been counseled by his
     2      supervisors for not meeting such standard.
     3               Q.       Were you present during the administrative
     4      proceedings in which Officer Bryson signed the rights
     5      form?
     6               A.       I   was not.
     7               Q.      Have you reviewed or are you in possession of
     8      any of the complaints regarding Officer Bryson that led
     9      up to this administrative proceeding?
   10               A.        I am not.
   11                Q.      Have you reviewed any of Officer Bryson's time
   12       sheets?
   13               A.        I have not.        I don't believe so.
   14               Q.       The following one page appears to be the
   15      Administrative & Personnel Management Report Gretna
   16       Police Department for Officer Bryson that goes along with
   17       the administrative rights formi is that correct?
   18               A.       That's correct.
   19               Q.       The next sheet looks to be a computer printout
   20      of some sort.            Can you tell us and to be accurate it goes
   21       for seven
   22               A.       Seven pages.
   23               Q.       Seven, eight pages.
   24               A.       It is marked at the top seven of seven.
   25               Q.       What is this?


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     1               A.       This is a printout for December 1st to
     2      January 1st of 2015 with the incidents involved in
     3      Timberlane Subdivision which I was patrolling during that
     4      time.
     5               Q.       Was your badge number or ID #731?
     6               A.       731?
     7               Q.       Yes.
     8               A.       Not that I'm aware.           My badge number was 127.
     9               Q.       Was your car #731?
   10                A.       No, sir.
   11                Q.       Ilm trying to understand there's something that
   12       says output for G0731 on the top of this page.                    Do you
   13       know what that is?
   14                A.       I don't.
   15                Q.      Does this document Page 1 through 7 have any
   16       reference to you that you can identify for us?
   17               A.       The incidents outlined on this document based
   18       on the times that I would have been working, some of
   19       these incidents would have been my calls for service
   20       during December of 2015.
   21                Q.      So all this is is the calls for service in the
   22       Timberlane area?
   23               A.       Correct.
   24               Q.       It doesn't say on here which officers responded
   25       to the calls for service! does it?


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          1               A.       It does.   Unfortunately, the way the system is
;!

          2       setup, everyone who works the Tirnberlane area is 21.
          3      There's no way to differentiate who is 21 at the time.
          4               Q.       SO as we sit here today, you cannot identify
          5      for us which one of these, which dates you were
          6      responsible for these calls, can you?
          7               A.       Not as we sit here right now, no.
          8               Q.       Next two sheets seem to be repetitive of the
          9      recording device, right?
        10                A.       Yes.
        11                Q.       The next page is Gretna Police Department
        12       Performance Appraisal Semi-Annual Evaluation for
        13       yourself, is that correct, or of yourself?
        14                A.       Correct.   You say of yourself.         I didn't do it
        15       myself.         It was for me though.
        16                Q.       Correct.   Sergeant Heintz and Sergeant
        17       Rodriguez
        18               A.       Correct.
        19                Q.      And it is Section 1 for the record is five
        20       pages.        Sorry.     Seven pages .. And then there's a Gretna
        21       Police Department Performance Appraisal cover sheet
        22       Section 2 Patrol Division.                That's eight pages, right?
        23               A.       Correct.
        24               Q.       And then it looks like that exact section 2
        25       Patrol Division is again repeated with another seven


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     1      pages, right?           So we have duplicate copies, right?
     2               A.       Correct.
     3               Q.       If you know, what is the basis of you producing
     4      your evaluation in response to discovery, if you know?
     5               A.       So on evaluation, we produced it for a
     6      corresponding to the time period in which these events
     7      took place.           The work initiative portion.            The officer
     8      has feel to an average workload during this period after
     9      receiving disciplinary action.                   Fully capable of
   10       exceeding standards easily.
   11                Q.       But for the record, you're talking about Page 3
   12       under Section 5 work initiative that says meet standards.
   13       But then there's a comment that you just read, right?
   14                A.       That's correct.       And I don't believe we need to
   15       analyze the paragraphs on there.                     I'll draw your
   16       attention of Page 7 of the first section --
   17                Q.      Of your comments?
   18               A.       Right, to my comments is that I was verbally
   19       counseled in reference to December citation count and
   20       then it indicates that I explained on the following
   21      pages.         And I was assigned Timberlane.              The focus was
   22      preventing neighborhood break-ins.
   23               Timberlane is the highest class subdivision that we
   24       have in the city of Gretna.                And if every time kids
   25       decide to pull on door handles, it seems that is where


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     1      they choose to do so.             So being that it was December and
     2      that's elevated time when kids are out of school,
     3      opportunists that crimes happen, that was the general
     4      focus for my work in December.
     5               Q.       Would you agree with me, Mr. Swear, that in
     6      reviewing section 1 and Section 2 of the evaluation that
     7      you produced there's not an instance where the block
     8      fails to meet standards is checked?
    9               A.        I disagree.
   10                Q.      Which one?     Where did I miss it?
   11               A.       #3, acceptance of feedback.               That appears to be
   12       the only indication.            The only fails to meet standard box
   13       checked in the two sections.
   14               Q.       The next page in here is a memo to Brian Rico
   15       from Officer Bryson regarding a disciplinary write up.
   16      Where did you obtain this document?
   17               A.       Bo Bryson gave it to me.
   18               Q.       And what if any significance do you attribute
   19      to this document?
   20               A.       Bo believed he was disciplined for failing to
   21      meet a quota in that he got written up for that and
   22      attempted gain a copy of it and could not.
   23               Q.       Of what?     I'm sorry.
   24               A.       His disciplinary write up.
   25               Q.       And the. disciplinary write up he references


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     1      dated according to him October 2014, two months before
     2      the meeting that Captain Vinson came and talked to you
     3      about, right?
     4               A.       That's correct.        Also ten months after the
    5       initial reference of getting a three-percent pay increase
     6      and having to possibly pay for health insurance increases
    7       if we didn't maintain that average.
    8                Q.       When was the last time you spoke with Mr.
    9       Bryson?         You didn't name him as an officer that you've
   10       spoken to.            When was the last time?
   11               A.       Years.     Probably 2015.           Early 2015.        I   believe
   12       he lives in Colorado now.
   13               Q.       The next page is January 13, 2015, another copy
   14       of that oral reprimand.               Next page
   15               A.       I    think this is all copies.
   16               Q.       This is a memo where you resigned your reserve
   17       status with the Gretna Police Department effective
   18      April 20th, 2015, correct?
   19               A.       That's correct.
   20               Q.       And, in fact, you started working for
   21       Plaquemines Parish Sheriff's Office April 27th, 2015;
   22       isn't that correct?
   23               A.       That's correct.         However,          I   did receive my
   24      commission on April 20th.
   25               Q.       You received your Plaquemines Parish commission


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                                                                                          -an
     1      on April 20th?
     2              A.        Correct.
     3               Q.      And, therefore, you didn't need the Gretna
    4       commission any longer, correct?
    5               A.       Correct.
    6               Q.       The next page is another copy of the Department
    7       Team Statics 2014.           Where did you obtain that?
    8               A.       I believe this is a copy of what we had in the
    9      beginning.
   10               Q.       They weren't produced Bates numbered, so I'm
   11       just going with what I have.                 Is that the same thing?
   12               A.       Yes.   The first page after the repeat, the
   13      eleven pages you just told us to set aside.
   14               Q.       Then we have another.            This one I can identify.
   15      This is repeat of the picture you took December IS, 2014
   16      time sheet, right?
   17               A.       Correct.
   18               Q.       We have another copy of the departmental
   19      regulation regarding surreptitious recordings, right?
   20               A.       Correct.
   21               Q.       This next one is C-Team January 2015 sheet.
   22      Where did you obtain this?
   23               A.       This was given out at roll call.
   24               Q.       And it appears that a copy was highlighted?
   25               A.       Correct.


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                                                                                             Q1




     1               Q.       Do you know who highlighted it?
     2               A.       I did not observe anyone highlight it.
     3      However, it was produced by Sergeant Rodriguez.
     4               Q.       Highlighted already?
     5               A.       Highlighted already.
     6               Q.       And this document doesn't have anything
     7      regarding the word quota on it, does it?
     8               A.       No.     It does not.
     9               Q.       Or that any officer identified on this
   10       document, including yourself is the subject of any
   11       disciplinary proceeding, correct?
   12               A.       No, sir.      It does not.
   13                Q.      The next document appears to be a duplicate.
   14       Can you confirm that that's true?                       December 2014 Team A
   15       Statistics.             It appears to be a duplicate of what we
   16       discussed early on?
   17               A.       Yes, sir.      I think the next four pages are
   18       actually duplicates.
   19               Q.       So the next thing that's not a duplicate is an
   20       Officer Daily Activity Report for yourself that's dated
   21       December 1st, 2014, correct?
   22               A.       Correct.
   23               Q.       And there's some highlighting on that document.
   24       Do you know who highlighted those entries?
   25               A.       I did.


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                                                                                                 Q?




     1               Q.       You did?
     2               A.       Yes.
     3               Q.       What is the significance of the highlighting on
     4      December 1st, 2014?
     5               A.       These highlights are going to correspond to the
     6      write up given to me by Sergeant Rodriguez where she
     7      explained certain number of citations and traffic
     8      enforcement.             I went back and looked at the numbers that
     9      she was alleging, that I gave and they weren't accurate.
   10                Q.       Meaning you believe you issued more citations
   11       or checked motor vehicles or issued more reports than
   12       what she said you did?
   13                A.       I don't remember what the breakdown was of the
   14       where the discrepancies were.                     But the hours, I do
   15       remember the hours of patrol time.                          That was a
   16       discrepancy.             She's not taking into consideration how
   17       late or an early day that we had which would have
   18       subtracted from that.
   19                Q.       Did you highlight these before or after the
   20       oral reprimand she gave you?
   21               A.        It was after.        Because that was the only
   22       purpose of me going back to see if what she had put in
   23       the write up was, in fact, what was here.                         That was the
   24       only purpose of the production during the discovery of
   25       this was directly in reference to --


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     1                Q.      To dispute the oral reprimand?
     2               A.       Correct.
     3               Q.       Now, you've brought a lawsuit and naming
     4       several causes of action against Arthur Lawson and Gretna
     5       Police Department and Scott Vinson.                        The first one you
     6      brought is a Fourth Amendment due process claim regarding
     7      police officer's bill of rights.                      You say in Paragraph 28
     8      of your complaint Page 6:                 The defendant's failure to
     9      adhere to the minimum statutory requirement prior to
   10       notifying Mr. Swear of his pending termination is
   11       violative of Revised Statute 40:2531(C).                         Do you see
   12       that?
   13                A.       I'm trying to get there.
   14                Q.       Sure.    It is Exhibit #1.               Page 6.   Paragraph
   15       28.
   16                A.       Okay.
   17                Q.       Which defendant's?           It's defendant apostrophe
   18       S.     Not defendant plural.             So which defendant's failed to
   19       adhere to the statutory requirements?
   20                A.       Are you indicating that that makes it plural?
   21       That's a singular possessive.
   22                Q.       Correct.
   23               A.        Right.
   24                Q.       So which defendant?
   25               A.        I want to make sure I understood your question.


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                                                                                             all
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     1               Q.          Sure.    And I'm just trying to get the identity.
     2               A.       Yes.       It is going to be Captain Scott Vinson.
     3               Q.       And how did Captain Scott Vinson fail to adhere
     4      to the minimum statutory requirements?
     5               A.       I think that's beyond my level of expertise.
     6               Q.       I understand.          You alleged it.      I'm trying to
     7      see if you have an actual factual basis that you're aware
     8      of.      You don't have one?               You relied to counsel for that
     9      conclusion?
   10                A.       I can't recite to you what's included in 2531.
   11                Q.       We've gone through several examples of where
   12       you've been the subject of disciplinary proceedings in
   13       this deposition, haven't we?
   14                A.      We have.
   15                Q.      And on two occasions when there was an the
   16       actual complaint issued or filed, you went through
   17       administrative proceedings and signed a rights, statutory
   18       rights form.            We've gone through them, remember?
   19               A.       I    do.
   20               Q.       Is there any other step that you're aware of
   21       that Captain Scott Vinson was expected to take to afford
   22      you due process rightsif you know?
   23               A.       I don't understand.
   24               Q.       Fair answer.          You're not saying as we sit here
   25       today that Chief Lawson failed to adhere to the minimum


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                                                                                           or::




     1       statutory requirements, are you?
     2               A.       The specific defendant's failure, that singular
     3      possessive defendant
     4               Q.       Is Scott?
     5               A.       Correct.
     6               Q.       Paragraph 31, you say the defendant's, is that
     7      Scott Vinson again since it is in the same cause of
     8      action?         The defendant's wholesale failure to follow any
     9      mandatory provision of such statutory scheme, is that
   10       Scott Vinson as well?
   11                A.       Correct.
   12                Q.       How did Scott Vinson wholesale, what was the
   13       wholesale failure of his, do you know?
   14               A.'       If I interpret it correctly, it is going to be
   15       regarding my bringing the illegal quota system to light
   16       and then not             instead of addressing it at that
   17       particular time with me, I was then pressured into
   18       resigning as a result of calling him out on what he was
   19       preaching.
   20               Q.       So as you sit here, do you, you don't know, do
   21       you, what mandatory provision of the statute Mr. Vinson
   22       violated, do you?
   23                     MR. HEBERT:      I object.          It calls for a legal
   24       conclusion.           It is outlined in it.
   25


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     1      BY MR. MAUTERER:
     2               Q.       You don't know, do you?
     3              A.        That is beyond my expertise.
     4               Q.      The next paragraph, defendants'.             Now this time
     5      it is plural possessive.             Which defendants' or was that a
     6      typo?         Arbitrary and capricious conduct regarding its
     7      intention to terminate Mr. Swear.                    My first question is
     8      is that a typo or are you referring to mUltiple
     9      defendants?
   10               A.       I would say in this case is not a typo based on
   11       the conversation that Captain Vinson and I had where he
   12       indicated that he was going to go and fallon his sword.
   13      That at that point in time there was an implication that
   14      he had to go report to higher authority because of some
   15       shortfall that he made or some overspeaking that he made.
   16               Q.       How do you think or what is your basis for
   17      Scott Vinson's arbitrary and capricious contact?                       What
   18      arbitrary and capricious conduct do you allege that Scott
   19      Vinson engaged in regarding as this paragraph says the
   20      newly instituted quota policy?
   21               A.       Can I get a definition?
   22               Q.       If you don't know, you don't know.
   23                     MR. HEBERT:     He's asking for a definition.
   24      Exactly which portion of it?
   25                     MR. MAUTERER:     Of arbitrary and capricious?


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     1                    THE WITNESS:       Yes.      Can I get a synonym?
     2                    MR. DORNIER:       Arbitrary is contrary to law.
     3      Capricious is failure to follow fact.
     4                    MR. HEBERT:      And again, it is legal terminology
     5      that's used in the complaint.
     6                    MR. MAUTERER:        I understand and I understand the
     7      objection.            I just want to know if he understands or he
     8      knows.
     9                    THE WITNESS:       Scott's words in the meeting that
   10       occurred when he             he advised me that he was going to
   11       recommend that I be terminated.                     And if it didn't happen
   12       this time, that every time a piece of paper came across
   13       his desk with my name on it that he was going to
   14       recommend it.           And . he said I may not get it this time,
   15       but after it happen~ng on multiple occasions, that he'll
   16       get what he wants.
   17       BY MR. MAUTERER:
   18               Q.       So this meeting is the one that happened on
   19       February 9, 2015, the one where he said I'll jump up and
   20       fallon my sword?
   21               A.       No.
   22               Q.       WhiGh meeting is this now that you're talking
   23       about?
   24               A.       That meeting occurred the day of my
   25       resignation.           That meeting was conducted, I was present,


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     1       Captain Vinson was present, Captain Lloyd was present and
     2       I don't know what rank they were at the time, but Phillip
     3       Saladino and Christopher Tapie.                  I was initially yelled
     4       at for breaking chain of command in an attempt to have a
     5      meeting with Deputy Chief Christiana.                   Scott said,
     6      Captain vinson said you broke the chain of command.
     7      You're not going to talk to the Chief.                   I'll decide when
     8      you go talk to the Chief.
     9               He then went on to discuss that he was going to take
   10       my FTO, my FTO status away from me because I was
   11       spreading poison of an illegal quota system and that he
   12       couldn't risk having that spread to new people corning in.
   13       And that he was going to write me up for insubordination
   14       and breaking the chain of commend in order to try and
   15       have a meeting with Deputy Chief Christiana.
   16                And again, going back to what I said to begin that.
   17       That if he didn't get it this time, that on subsequent
   18       occasions he would eventually get it.
   19                Q.      So in this paragraph, you're describing this
   20       meeting and acts and comments by Scott Vinson, correct?
   21               A.       Captain Scott Vinson, yes.
   22                Q.      During that meeting, again, Arthur Lawson was
   23       not present?
   24               A.       He was not.
   25               Q.       And neither was Deputy Chief Christiana, was


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     1       he?
     2               A.       He was not.    Because that was part of what I
     3      got reprimanded for was trying to speak to Deputy Chief
     4      Christiana.
     5               Q.       What evidence do you have that Arthur Lawson
     6      even knew that Scott Vinson addressed your team on
     7      December 14 and December 17, 2014 regarding the RedFlex
     8      million dollars?
     9               A.       The only implication that I have where the
    10      Chief, and again, that wouldn't be a specific term, it
    11      could refer to either Deputy Chief Christiana or Chief
    12      Lawson, the only time that that was implicated was by
    13      Captain Vinson in the meeting.                  That's when the word
    14      chief carne out of his mouth.                I may have seen Chief
    15      Lawson six times and got to shake his hand at a Christmas
    16      party.        And Deputy Chief Christiana, I saw him a lot more
    17      often because he would walk the halls and corne to the
   18       radio room and visit.
   19                But the first time that that was ever associated
   20       with this complaint was when it carne out of Scott
   21       Vinson's mouth.
   22                Q.      What evidence do you have that Chief Lawson or
   23       Deputy Chief Christiana committed deliberate indifference
   24       regarding your constitutional rights?
   25                     MR. HEBERT:    I'll object to the form of the


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     1      question.
     2      BY MR. MAUTERER:
     3               Q.       If you know.
     4               A.       Tha t 's above my
     5               Q.       Do you have any evidence to prove that Arthur
     6      Lawson or Deputy Chief Christiana knew about anything as
     7      you allege it in your complaint?
     8              A.       No.   I do not.
     9              Q.       Your next cause of action is the First
    10      Amendment Discrimination and Retaliation.                     What free
    11      speech did Arthur Lawson squelch or prevent you from
    12      exercising?
    13              A.       Again, I said that.           I've never spoken outside
    14     of a cordial handshake at a Christmas party to the Chief.
    15     As far as the freedom of speech portion of it is when
    16      that meeting happened and I began voicing my concern to
    17     whoever would listen, at that point in time it wasn't
    18     this had to do with not only policemen, but it had to do
   19      with the people who we were policing.                      It wasn't just the
   20      policemen who were potentially effected by it.                      It was
   21      the citizens of Gretna who were potentially effected by
   22      it.      That's why I took the steps to voice it to whoever I
   23      could hoping that somebody else would raise an eyebrow to
   24      it and speak up as well.
   25               Q.       When did Scott Vinson stop you from speaking


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     1       about the alleged quota system?
     2                  A.    He made it very clear in the meeting the day
     3       that I resigned that he had a very serious problem with
     4       the quote-unquote poison that I was spreading.                And that
     5       that was based on that that he was going to take me off
     6      of being a field training officer because of how I felt
     7      about what we were doing.
     8                  Q.    Prior to that date, you had been talking to
     9      other officers regarding your feelings, regarding the
    10      quota, alleged quota policy, hadn't you?
    11                  A.    I had.
    12                  Q.    You had talked to your mom, your dad, grandma,
    13      hadn t you?
                    I



    14                  A.    I don't believe I talked to my mom.        I don't
    15      think we were talking at the time.
    16                  Q.    Your dad?
    17                  A.    I did.
   18                   Q.   And you talked to grandma about it?
   19                   A.    (The witness nods his head.)
   20                   Q.   Scott vinson didn't stop you from talking to
   21       those officers or your family members, did he?
   22                   A.   No.   He couldn't stop me from talking to anyone
   23       because he couldn't be                 he didn't know who and when I
   24       was talking to anyone.              I mean I went as far as, like I
   25       said earlier, I went as far as to get a license plate


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          1      made to put on the front of my personal car with the
 )
          2      statute against quotas.              As absurd as that sounds, that's
          3      how publicly opposed to what was going on I was.                    I
          4      didn't know if policemen were what policemen were at that
          5      point.
          6               Q.      How long did you drive around your car with the
          7      license plate on it?
          8              A.        I don't remember.         sometime after, sometime
          9      before I finished -- while I still had my Gretna
         10      commission.           Lieutenant DeMarco called me about a
         11      training class to ask me if I had or had not attended it.
         12     And Lieutenant DeMarco and I had a very good
         13      relationship.          We wouldn't talk everyday, but I have a
         14     great respect for him.              And I didn't call him at the time
         15      that all this happened because I didn't want to put him
         16      in a bad spot.          In fact, to this day, I haven't reach out
         17      to him because I didn't want to put him in a bad spot
         18     because he was still a member of the department.
         19              But before we got off the phone that day, he advised
         20     me that someone above the rank of captain told him to
        21      inform me that if I don't remove the license plate from
        22      my personal -- if I wanted to remain a member of the
        23      Gretna Police Department that I needed to remove that
        24      license plate from the front of my personal car.
        25               And I let him know, I said look, it doesn't say


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     1      Gretna on it.             I don't have a sticker that says Gretna on
     2       the back.            I don't drive a marked unit any more that
     3      would be parked next to that car that would identify me
     4      as a Gretna policeman and I mean kept it on there.
     5               Q.       So notwithstanding what you saying you were
     6      told, you kept the license plate on your vehicle; is that
     7      correct?
     8               A.       Right.
     9               Q.       How did Arthur Lawson arbitrarily or
    10      capriciously or with reckless disregard and deliberate
    11      indifference violate your First Amendment right?
    12                    MR. HEBERT:      Objection.
   13                     MR. DORNIER:      Objection.
   14       BY MR. MAUTERER:
   15                Q.      How do you believe Arthur Lawson impacted your
   16       First Amendment rights in any way?
   17                A.       I'm unsure of which particular facts would fall
   18       into this specific category.
   19                Q.      Well, did Arthur Lawson ever tell you anything
   20       about you not being able to express your opinions?
   21               A.       No.     I have only shaken his hand at a Christmas
   22       party.
   23               Q.       Now, you've raised a State Whistleblower Claim
   24       as well.         lim assuming, correct me if I'm wrong, that in
   25       Paragraph 40 you say that Mr. Swear immediately notified


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     1      his supervisor that just quota system violated the state
     2      law, Scott Vinson, correct?
     3               A.       No, sir.
     4               Q.       Who is it then?
     5               A.       Danielle Rodriguez.
     6               Q.       Did you advise anyone else other than Danielle
     7      Rodriguez that a quota system as you believed it was in
     8      place violated the state law?
     9               A.       Sergeant Heintz.
    10               Q.       Anyone else?
    11               A.       No.
    12               Q.       You didn't advise Scott vinson, did you?
    13              A.       No.    I was using a chain of command at that
    14      point.
    15               Q.       You didn't advise Scott vinson, did you?
    16              A.       No, sir.      I was using a chain of command at
    17      that point.
    18              Q.       You didn't advise Arthur Lawson, did you?
    19              A.        I did not.      I didn't think that that was able
    20      to be done since I had been denied a meeting with Deputy
   21       Chief Christiana.
   22               Q.       Just so I understand, when did you immediately
   23       notify your supervisor that you did not intend to
   24      participate in this alleged unlawful quota system?
   25               A.       That's going to be the time that I spoke with


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     1      Sergeant Rodriguez.
     2               Q.       Was that December 20th, 2014 when you taped
     3      her?
     4               A.       Correct.   I verbalized it prior to that.                   But
     5      that's my only proof that I verbalized it.
     6               Q.       What proof do you have that you were
     7      disciplined and constructively discharged from your
     8      employment speaking out against the quota system?
     9               A.       Captain Vinson in that meeting where Captain
    10      Lloyd and Sergeant Tapie and I believe at the time
    11      Sergeant Saladino know were all present.                        There was a
    12      very heavy emphasis on me spreading poison of this quota
    13      system.         That was the focus of it.                 And when they cut me
    14      off and I couldn't talk to Deputy Chief Christiana about
    15      it, at that point in time, it was out of my mind that I
    16      would have the opportunity to talk to Chief Lawson about
    17      it.      But that was the focus was that Scott was trying to
    18      accomplish this goal.            And by me voicing my opinion and
    19      my concern for the legality of the issue, that that's
    20      when he started speaking about being requesting that I be
    21      fired and if he didn't get it this time that he would get
    22      it in subsequent requests.
   23               Q.       So based on your perception that a quota system
   24       was in place and that that would have been illegal, the
   25       Captains, vinson, Lloyd that you discussed had a


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     1      difference of opinion, didn't they?                       They didn't think
     2      there was a quota system in place, did they?
     3                    MR. HEBERT:     Object to the form of the question.
     4                    MR. DORNIER:      Object to the form.             If you could
     5      rephrase it.
     6      BY MR. MAUTERER:
     7               Q.       Do you know if Captain Vinson or Captain Lloyd
     8      agreed with you that there was a quota system in place at
     9      the Gretna Police Department?
    10               A.       I don't know what they were thinking, no.
    11               Q.       Do you know if Captain Vinson or Captain Lloyd
    12      agreed with your interpretation of the meeting of
    13      December 14th or 17th of 2014 with Scott Vinson?
    14              A.        I don't know what their interpretation is.
    15               Q.      Are you seeing any mental health professionals
    16      at this time?
   17               A.        I see Dr. Mohnot for my attention deficit
   18       disorder as well as a pill to calm my nerves.
   19               Q.       Does it have anything to do with, are you
   20       seeing any mental health professional regarding
   21       humiliation, embarrassment from mental pain or anguish as
   22       a result of --
   23               A.       During my time at Gretna, I took advantage of
   24       something that the Chief setup for us.                      And we could go
   25       free of charge to speak to Mr. Asevedo on Gretna


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     1      Boulevard.            And I did go to quite a few sessions with
     2      Mr. Asevedo to have a sounding board and blow off steam
     3      about my concerns.           Mr. Asevedo is not someone who
     4      prescribes medicine or anything.                      He's just someone that
     5      you talk to.            I don't know exactly what you call him.
     6      But I did go on numerous occasions to speak to him.
     7               Unfortunately, he passed away now.                 And I went to
     8      Dr. Peterson who is my primary care physician who
     9      initially prescribed me a generic form of Lexapro.                          I
    10      took it, but it made me sweat profusely, so I stopped
    11      taking that.           And then I got on this other medication
    12      which is Wellbutrin.
    13               Q.      Do you know who took over Dr. Asevedo's
    14      practice or his medical records?
    15              A.        I don't.   I    mean I believe the company is still
    16      called Asevedo & Associates.                   I don't know if they still
    17      give us the opportunity to go talk to him.                     Not him.
   18       He's deceased, but if we can still talk to his employees.
   19               And another layer of this is in police work, you're
   20       expected to be a team player.                   And when you're the one
   21       that goes against a team, that whole term the Thin Blue
   22       Line, I mean we live by that.                   And despite I guess
   23      popular belief, I'm more pro police than you can think
   24       of.
   25               But when you're not a team player, that has a great


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     1      potential to hurt you down the line.                       Even at the
     2      department that I'm at now, I have been informed that
     3      there are people who don't trust me because they think
     4      that I'm out to get them.                That's not what it is.,
     5               When you are stign1atized as a non-team player, it
     6      doesn't matter where you go.                  Unless you leave and go to
     7      another state, it is going to follow you.                      It is going to
     8      follow you.
     9               Q.       Who is Jason Demarco?             Did you list him?        Who
    10      is Jason Demarco?
    11              A.       He's the Deputy Chief of the Westwego Police
    12      Department.
    13              Q.       And you identify Jason Demarco as a fact
    14      witness in this case.             What is Jason Demarco going to say
    15      in this case; do you know?
    16              A.       The fact witness portion of that would be that
    17      he was the one who called me on the phone and said that
    18      someone higher than the rank of captain instructed him to
    19      call me and tell me to remove my license plate from my
    20     vehicle.
   21               Q.       Is that the extent of his knowledge of this
   22       case; do you know?
   23               A.       I don't know.
   24               Q.       He was a Gretna police officer?
   25               A.       Correct.   He was a lieutenant I believe.


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     1               Q.       Was he present in the roll call room on
     2      December 14th?
     3               A.       He was not.   He was a lieutenant assigned to
     4      training.
     5               Q.      How about Eric Stahl?            Who is Eric Stahl?
     6               A.      Eric Stahl is a IT Lieutenant I believe.
     7               Q.      And what if any knowledge does Eric Stahl have
     8      regarding an alleged quota system?
     9              A.        I'm unsure.
    10               Q.      What if any knowledge does Eric Stahl have
    11      regarding your disciplinary record?
    12              A.       I'm unsure.
    13               Q.      Do you know why he was identified as a fact
    14      witness in this case?
    15              A.       I don't.
    16              Q.       What about Joseph Goodwin?
    17              A.       He's another IT guy.
    18              Q.       Do you know why he was identified as a fact
    19     witness in this case?
    20              A.       I don't.
    21              Q.       Do you know if he has any knowledge of an
    22      alleged quota system?
    23              A.       I don't know if he knows.
    24              Q.       Would you agree with me that employers in
    25      exchange for pay expect their employees to perform work?


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     1       Would you agree with that general assumption, that
     2       hypotheses there, would you agree with that?
     3                A.          Yes.
     4                Q.      And if I paid someone or if an employer paid
     5       someone for eight hours of work, they would expect to get
     6       eight hours of work in return; isn't that correct?
     7               A.       Correct.
     8               Q.       And if a police officer was employed for 12
     9       hours, they'd expect, the employer would expect to get 12
    10       hours worth of work, right?
    11                     MR. HEBERT:         Object to the form.
    12       BY MR. MAUTERER:
    13               Q.       Correct?
    14               A.       Correct.
    15               Q.       Would you agree with me that employers would
    16      have the right to insure that their employees are
    17      actually performing work in exchange for their paychecks?
    18                     MR. HEBERT:        Object to the form.
    19                     THE WITNESS:         I would agree with that.
    20      BY MR. MAUTERER:
    21               Q.       And would you agree with me that one part of
    22      police work is insuring that reports are accurate; would
    23      you agree with me?
    24               A.       Yes.
    25               Q.       In fact, if reports are not accurate, it could


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     1       affect the credibility of the officer; isn't that
     2       correct?
     3               A.       Correct.
     4               Q.       That could have ramifications in prosecutions,
     5       couldn't it?
     6               A.       Correct.
     7               Q.       When you swear to uphold the laws and
     8      constitution of the State of Louisiana, an officer
     9      through the academy is trained to put together complete
    10      and accurate records, correct?
    11               A.       We are taught to complete reports, yes.
    12               Q.       Have you ever completed and submitted a time
    13      sheet that did not have start and stop times for the
    14      activities that you reported you were engaged in?
    15               A.       Yes.
    16               Q.       And if you don't have a start and stop time,
    17      you would agree with me that the employer doesn't know
    18      how long you actually took to perform that specific task,
    19      correct?
    20               A.       Based on the sheet, correct.
    21               Q.       I'll show you what I marked as 14.           It's a
    22      series of time sheets December 19 of 2014, December 20,
   23       2014, 21st, 24th, 25th and 29th of 2014 for Field
   24       Training Officer Daniel Swear.                   Do you see that?
   25                A.      Yes, sir.


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     1               Q.       On the first one which is also Bates number
     2       Gretna 0257, you see there's a business check on 1614
     3       Belle Chasse Highway, do you see that?
     4               A.       Correct.
     5               Q.       And there's no time indicated for the received
     6      or the completed, right?
     7               A.       Right.
     8               Q.       We don't know how long it took for you to
     9      perform that task, do we?
    10               A.       Not based on the paper, no, sir.
    11               Q.       And we also have another business check 1888
    12      Belle Chasse Highway.            We don't know when you did that
    13      business check, when you started or completed that
    14      business check, do we?
    15               A.       Not based on the paper, no, sir.
    16               Q.       We don't know if it took five minutes or an
    17      hour, do we?
    18               A.      No, sir.
    19               Q.      We don't know if it took five minutes and then
    20      you sat in your police car for a period of time, do we?
    21              A.       No, sir.    Not based on the paper.
    22               Q.      And on this there's several entries we don't
    23      know how long it took you to do paperwork at the Gretna
    24      Police Station, do we?
    25              A.       No, sir.


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     1                Q.      Or how long you were on patrol, do we?
     2               A.       No, sir.
     3               Q.       Or where you were patrolling?
     4               A.       No, sir.
     5               Q.       Look at the next one, December 20th, 2014.                You
     6      have patrol.          You see it?        Fourth line down.
     7               A.       Correct.
     8               Q.       We don't know when you started or stopped that
     9      patrol by that line entry, correct?
    10               A.       Correct.
    11               Q.       You would agree with me, however, that we can,
    12      there's a two-hour gap between when you completed the
    13      vehicle check at 1955 hours and then you started your
    14      UNF, what is that?
    15               A.       That's a disposition for unfounded or
    16      abbreviation for the disposition unfounded.
    17               Q.       You would agree with me that there were two
    18      hours between when you finished the vehicle check at
    19      Tirnberlane in Belle Chasse at 1955 hours and you started
    20      the unfounded at 2700 block of Gehring at 2152 hours,
    21      right?
    22               A.      Approximately.
    23               Q.      And so there's approximately two hours that
   24       you're on patrol, correct?
   25               A.       Correct.


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\        1               Q.       Was it during this two hours that you recorded
         2      Sergeant Rodriguez for over an hour?
         3               A.       I don't remember what time.             I don't remember
         4      what time that happened.
         5               Q.       Well, you would agree with me it doesn't have
         6      any indication on this time sheet meet up with Sergeant
         7      Rodriguez, right?
         8               A.       Correct.
         9               Q.       So you've performed specific tasks in all of
        10      these entries other than there's two patrols and one
        11      paperwork, you agree with me that's what it says?
        12              A.       And a lunch.
        13               Q.      And a lunch?
        14              A.        Correct.
        15               Q.      You also did a patrol after you left 2040 Belle
        16      Chasse Highway at ISO, you did patrol and paperwork in
        17      that hour and 27 minutes between the time you started
        18      writing citations at Gretna and Belle Chasse, do you see
        19      that?
        20              A.       Correct.
        21              Q.       How long did it take you to the do paperwork at
        22      the police station?
        23              A.        I don't remember.
        24              Q.       How long were you on patrol?
        25              A.       I don't remember.


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     1               Q.       In that hour and 27 minutes that you were on
     2      patrol and doing paperwork, was that the time that you
     3      w~re     recording Sergeant Rodriguez?
     4               A.       I don't remember.
     5               Q.       You also have on here that you were at your
     6      house at 405 20th Street for lunch, correct?
     7               A.       No.   It is indicated -- at the bottom, yes.                    I
     8      had gone for a restroom use earlier.                      But at the bottom,
     9      yes, I did go to lunch.
    10               Q.       We don't know what time it started or ended,
    11      correct?
    12               A.       Correct.
    13               Q.       We don't know what time you got to 200 5th
    14      Street which is Gretna Police Department for your end of
    15      tour of duty either?
    16               A.       Correct.
    17               Q.       The next one shows it is December 21st, 2014.
    18      We have again multiple instances where we don't have
    19      start and stop times, correct?
    20              A.       Correct.
    21               Q.      Your supervisors don't know based on reviewing
    22      your time sheets how long you were actually on patrol,
    23      correct?
   24               A.       Correct.
   25               Q.       Or that you performed a business check at 1610


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      1       Belle Chasse Highway, correct?
      2                A.      No.     They can see that's indicated that I
      3       performed a business check.                   But there is no time
      4       specification, you're correct about that.
      5               Q.       It could have taken five minutes.            It could
     6        have taken two hours.              They don't know.
     7                A.       They do not know.
     8                Q.       Same thing for 480 Tirnberlane.           They don't know
     9       what time you started that business check or ended the
    10       business check, right?
    11                A.       Correct.
    12                Q.       Leaving these times open like that, it allows
    13       for a bit of freedom for officers to sit in their patrol
    14       cars and not perform work, doesn't it?
    15                      MR. HEBERT:      Object to the form.
    16                      THE WITNESS:       It allows time for you to sit in
    17       your patrol car.             However, being stationary in your
    18       patrol car doesn't necessarily mean you're not performing
    19       the work.             You can be stationary on the side of the road
    20       observing traffic.            You could be stationary inside of a
    21       neighborhood waiting to see if kids are going to pull on
    22       door handles.            So it doesnrt necessarily indicate that
    23       you aren't performing work.
    24       BY MR. MAUTERER:
    25                Q.       In the series of time sheets we have as Exhibit


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     1       14, they all note locations where specific activities
     2      took place, correct?            Every single one of those pages has
     3      a location on the left-hand column, right?
     4               A.       Correct.
     5               Q.       And that's where a specific activity took
     6      place, whether it was a traffic citation, a business
     7      check, you went to the bathroom, correct?
     8               A.       Correct.
     9               Q.       Would submitting a time sheet with incorrect
    10      information in it, would you consider that wrong?
    11                    MR. DORNIER:      Object to the form of the question.
    12                    THE WITNESS:      Yes.
    13      BY MR. MAUTERER:
    14               Q.       If you weren't at 1614 Belle Chasse Highway,
    15      but you noted it, that would be wrong, wouldn't it?
    16              A.        If it was intentional, yes, sir.
    17               Q.      And if you were noted you were at 326 Huey P
    18      Long and you weren't, that would be wrong, wouldn't it?
    19              A.        If it was intentional, yes, sir.
    20               Q.      And if this occurred multiple times on time
    21      sheets, that would be wrong, wouldn't it?
    22              A.       If it was intentional, yes, sir.
   23               Q.       And if one was doing homework while on duty,
   24       that would be wrong, wouldn't it?
   25                     MR. HEBERT:    Object to the form.


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     1                     THE WITNESS:      The Gretna Police Department has
     2       been historically supportive of education dating back to
     3       the '80's when they used to pay for the officers to get
     4       their associate's degrees.                 There were other officers
     5      actually in school in the same institutions that I was at
     6      at the same time.
     7               Gretna likes when people better themselves/
     8      especially when they are bettering themselves in the same
     9      field because when someone goes on to the FBI and someone
    10      goes on to federal agency coming from Gretna/ that makes
    11      them look good.          They always/ always were supportive of
    12      education.
    13      BY MR. MAUTERER:
    14               Q.       What e-mail document/ letter/ anything suggests
    15      that Gretna Police Department is okay with its officers
    16      doing school work or attending online classes while
    17      receiving a paycheck for the Gretna Police Department?
    18                    MR. DORNIER:       Object to the form of the question.
    19                    THE WITNESS:       There's no memo with that on there.
    20      BY MR. MAUTERER:
    21               Q.      And getting a paycheck to be a police officer
    22      and perform police officer duties while someone is doing
    23      homework or attending school would be wrong/ wouldn't it?
    24                    MR. HEBERT:      Object.
    25                    MR. DORNIER:      Object to the form of the question.


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     1                    THE WITNESS:      It depends on what extent you are
     2      doing homework.         You can sit on the side of the road and
     3      be observant while you were doing other things.                      There
     4      were people that read the bible in their spare time
     5      ironically enough.           And other people who chose to do more
     6      frivolous thing with their spare time.                    Talk on the
     7      phone.        Watch a YouTube video.
     8               If I chose to read a textbook that was within the
     9      field I was working in, I was not only bettering myself
    10      for myself, I was bettering myself for the department
    11      which I worked for and it was supported.
    12      BY MR. MAUTERER:
    13               Q.      And there is a policy or instruction or a
    14      specific allowance for officers to attend online
    15      universities while on duty as a Gretna police officer,
    16      are you telling us that?
    17              A.       There is no specific policy to be able to
    18      attend online classes.             However, both of my supervisors,
    19      including Captain Vinson were well aware -- before
    20      Captain Vinson was a captain, he was aware that I was on
    21      duty and would use my s'pare time to read a book or do
    22      other things in my lull times.                   And at no time did he
   23       ever tell me that that was not allowed.
    24              And additionally, while working for Sergeant Heintz
    25      and Sergeant Rodriguez, I asked to be put in Timberlane


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     1      where it was a slower area in order to have the
     2      opportunity to read.              But it didn't stop me from doing my
     3       job.      Police work has a lot to do with observation just
     4      as much as it has to do with jumping fences and running
     5      after people.
     6               Q.        If you were doing your job as a police officer,
     7      if you were driving the streets of the City Gretna
     8      looking for traffic violations, looking for drug dealers
     9      on the side of road, checking businesses, checking
    10      residences, how do you have spare time?
    11                    MR. HEBERT:       Objection.
    12                    MR. DORNIER:        Object to the form of the question.
    13      BY MR. MAUTERER:
    14               Q.       How do you have spare time if you're doing what
    15      the police department is paying you to do?
    16                    MR. DORNIER:       That's assuming facts not in
    17      evidence.
    18      BY MR. MAUTERER:
    19               Q.       You can answer it.
    20                    MR. DORNIER:       How do you answer that question?
    21                    MR. MAUTERER:        Counsel, we don't need you to
    22      coach him.             If he can't answer it, he can't answer it.
    23      But it is a fair question.
    24                    THE WITNESS:       Ask the question again.
    25                    MR. DORNIER:       How is it a fair question?


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      1      BY MR. MAUTERER:
     2               Q.       If you are being paid to be a police officer to
     3      patrol the streets of Gretna, to check the businesses,
     4       check residences, issue traffic citations to enforce the
     5       laws of the state, how do you have spare time?
     6               A.       I don't know.
     7                    MR. MAUTERER:        Subject to redirect we'll rest.
     8                (A SHORT RECESS IS TAKEN)
     9      BY MR. HEBERT:
    10               Q.       My name is Corey Hebert and I'm an attorney
    11      that represents Mr. Swear and I'll ask you some
    12      questions.            If talk too low, tell me.            You were asked
    13      different questions about patrolling.                      Were you required
    14      to drive your patrol car at all times while you were on
    15      duty?
    16               A.       No.
    17               Q.       Were you supervisors aware of the fact that
    18      you-all would stop in patrol as you were sitting in your
    19      patrol car?
    20                    MR. MAUTERER:       Object to the form.
    21                    THE WITNESS:       Yes.
    22      BY MR. HEBERT:
    23               Q.      Now, you were asked some questions too about if
    24      your supervisors had knowledge that you were going to
    25      school and I just want to make sure that it is clear for


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     1       the record, did.            Your supervisors know that you were
     2       conducting online courses at the time that you were
     3       working for Gretna?
     4                     MR. MAUTERER:        Object to the form.
     5                     THE WITNESS:       Yes.
     6       BY MR. HEBERT:
     7               Q.       And in reference to time sheets, and this is
     8       Exhibit 14, at any point were these time sheets addressed
     9       with you by any supervisor as being incorrect?
    10               A.       No.
    11               Q.       Now I'm looking through and you didn't receive
    12      any reprimand in reference to the time sheets that we
    13      have attached to E~~ibit 14, did you?
    14               A.       No.
    15               Q.       Now, you were asked about different times.
    16      What was the policy if an officer were to stop their
    17      vehicle on the side of the road while they were
    18      patrolling?             Just kind of explain how that would work.
    19                    MR. MAUTERER:         Object to the form.
    20                    THE WITNESS:        I don't understand the question.
    21      BY MR. HEBERT:
    22               Q.       Now, you could stop your vehicle on the side,
    23      park your vehicle and still patrol, could you not?
    24               A.       Correct.
   25                Q.      And just kind of explain what that would mean


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     1       to you.
     2                A.      A large, not a large majority, but police work
     3       isn't always mobile.           There are times you have to sit and
     4       watch.        There are times when it is more effective to sit
     5       and watch, whether it be traffic or sit and watch a
     6       neighborhood, sit and watch a business.                 It is not all
     7      mobile patrolling.
     8               Q.       Now, you were asked some questions about a
     9      meeting with Captain Vinson.                 Just explain to us we were
    10       looking at the resignation letter that you had.                   I'll
    11       show it to you.         It was marked as Exhibit 12.           Did you
    12      submit that resignation letter in reference to a meeting
    13      with Captain Vinson?
    14               A.       Yes, I did.
    15               Q.       Explain that to the Court, please.
    16               A.       This resignation letter was hand delivered to
    17      Sergeant Christopher Tapie after the meeting where
    18      Captain Vinson, Captain Lloyd, Sergeant Tapie and
    19      Sergeant Saladino were present as a result of Captain
    20      Vinson harping on the poison that I was spreading that
    21      was me voicing my opinion against the illegal quota
    22      system.         At that point in time, and in addition to that,
    23      my inability to have a meeting with the deputy chief.
    24               At that point in time, I felt no other choice but to
    25      submit my letter of resignation prior to the captain's


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     1       ability to approach the chief or deputy chief with a
     2       recommendation of termination.
     3               Q.       Now, did you ever request a transfer?
     4               A.       I did.
     5               Q.       Explain that to us please.
     6               A.       I requested a transfer in I believe mid 2014.
     7      Again, going back to the beginning of that year, that's
     8      when we were told that because of the tickets and arrests
     9      that we made that the city found it able to give us the
    10      three percent raise.            And that if we didn't maintain or
    11      exceed that that we would possibly have to pay for a
    12      portion of our retirement or that they would stop paying
    13      the city's health insurance.
    14               That throughout the course, after that conversation,
    15      I wanted to disengage myself from patrol in order to
    16      attempt to address this issue in a safer environment.
    17      With that being said, I attempted to transfer to the
    18      courthouse.           That is not an exciting job.            That's not a
    19      job that people want to go to.                   But that's a job that I
    20      felt that I would be away from the street and remove my
    21      involvement with the illegal quota system and possibly
    22      put me out of sight, out of mind enough to maybe get a
    23      meeting with the chief or deputy chief.
    24               The risk unfortunately like I said with the Thin
    25      Blue Line thing, I'm very pro police.                     But when you have


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     1       people who, when you have people who feel that you're not
     2       a team player, that is potentially damaging not only to
     3       your reputation, but to potentially your safety.                  I
     4       relied on these guys that I went to work with every night
     5       to go home to my family at the end of the shift just like
     6       they relied on me to do the'same thing.
     7                If I were to take steps to not be a team player,
     8       take steps to raise concern against something that a guy
     9      that we all admired said, I would have put myself in a
    10      position to potentially if I needed help, they may not
    11      respond as quickly as they would if I was 100 percent
    12      with upholding the Thin Blue Line.
    13               Q.       Now, it,was at this meeting on -- what date was
    14      the meeting with Scott Vinson?
    15               A.       February 2nd.
    16               Q.       And he discussed with you at that time that he
    17      had heard that you were spreading rumors about the quota
    18      system?
    19               A.       Yes.   He did.     He specifically indicated that
    20      he was going to take my field training officer status
    21      away so that I could not spread any more poison about the
    22      illegal quota sy'stem.
    23               Q.       Now, we were discussing some of the meetings
    24      that you-all had.           I just want you to explain to us the
   25       December of 2014 meeting.               What was your understanding of


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     1      how the quota system worked and where it came from?
     2               A.       AS   I   previously stated, Captain Vinson
     3      indicated that the Chief informed him that the patrol
     4      division needed to become financially independent of
     5      RedFlex and that financial independence came at an
     6      expense of $1 million that the division used per year.
     7               The supervisors, the immediate patrol supervisors
     8      were then tasked with making sure that we met our three
     9      citations a day and an average of one arrest every two
    10      days according to Danielle Rodriguez.                       And if we didn't
    11      do that then not only would those supervisors be
    12      punished, not only would they -- those supervisors would
   13       be punished for any of their patrolmen having a shortfall
   14       from that.
   15                Q.      Now, you were asked questions about text
   16       messages from Sergeant Rodriguez.                       Am I saying that
   17       correctly?
   18               A.       I believe so.
   19               Q.       And whether or not they mentioned quotas.                    But
   20       can you just explain to the Court what was your
   21       understanding of the discussion that you were having with
   22       Sergeant Rodriguez at this time?
   23               A.       She said you have ~ight with nine days work.
   24      And I questioned whether she was referring to tickets or
   25       arrests.         She said tickets.           She said you're fine there.


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     1       I asked how much of the gap we were talking about.                              And
     2       she said that I had a hover somewhere around where I'm
     3      supposed to be.             Based on days worked, I had to get from
     4       8 to 27 which would have been 19 tickets.                          And she said
     5      don't worry about the exact number, just do traffic with
     6      him tonight.             And that with him was this particular month
     7      I was training Officer Colby Arabie.
     8               Q.       I want to go through a few of the documents
     9      that we looked at and get you to explain in these charts
    10      what you feel is the significance about them.                           I'll show
    11      you first.             And this is it was from the request of
   12       production that had been produced.                           Just kind of explain.
   13               A.        It is a picture of a stat sheet for the whole
   14       team.         And the number of citations were highlighted and
   15       circled.         And if your category was sufficient, there was
   16       just a check.             It was circled if it was deficient it
   17       appears in some of these.                 And she circled specifically
   18       citations on Steven Verret, me, arrests for Vincent Paz
   19       and arrests and citations for Paige Brouillette.
   20               Q.       And just explain the significance if any.
   21               A.       Mathematically it falls perfectly in line with
   22       her statement of three tickets a day and one arrest every
   23       two days.             For example, Steven Verret has indicated on
   24       the sheet that he worked seven days.                          If he was supposed
   25       to write three tickets a day that would equate to 21


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     1      which was the number that was handwritten next to that
     2      which supersedes the number that he had which was 13 at
     3       the time.
     4               Let me get another.          So arrests, under Vincent Paz,
     5      if you were to arrest one person every -- an average of
     6      one person every other day, the math on that was between
     7      two and three people.            Obviously, you can't arrest half
     8      of a person, but two or three would have been the number
     9      that would have been sufficient for Vincent Paz on
    10      arrest.         Two dash three is written under his.             Beside
    11      his.       Excuse me.
    12               Q.       And you had provided also some team statics for
    13      Team A.         I just want to show you that again and get you
    14      to explain what significance if any do you feel this has.
   15                     MR. MAUTERER:     Which one are we looking at?
   16                     MR. HEBERT:     We're looking at
   17                     MR. MAUTERER:     And if I could for the record the
   18       last line of questions you were talking about the stat
   19       sheet of December 15th, 2014, correct?
   20                     MR. HEBERT:     Yes, sir.         I apologize.    I thought
   21       about writing numbers at the bottom as we were going
   22       through and I didn't.
   23       BY MR. HEBERT:
   24               Q.       We were looking at December 14, monthly team
   25       statics.         There's Team A in the top corner.             If you would


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     1       identify for the record.
     2               A.       December 2014, top left-hand corner.                      Monthly
     3      Team Statistics in the middle.                     And A-Team is indicated
     4      on the top right-hand corner.
     5               Q.       Just explain in the record your understanding
     6      of the significance.
     7               A.       Being this came from the A-Team, it is going to
     8      correspond to either the information provided to me by Bo
     9      Bryson or by Craig Dougherty.                    It's the statics from that
    10      month's team.            There's nothing annotated on it other it
    11      corresponding to their paperwork.                          That's it.
    12               Q.       And I'm going to show you 2015, January 2015
    13      Team C.
    14               A.       This particular one was passed out.                     This is
    15      C-Team indicated in top left-hand corner.                          Page 1 is in
   16       the middle of the top of the page.                         C-Team at the bottom
   17       and indicates January 2015 on the bottom right-hand
   18       corner.         This was a highlighted piece of paper where
   19       felony and misdemeanor arrests were highlighted.                               Also
   20       citations, radar citations and MIC's were also
   21       highlighted.
   22                This is an example of the supervisor passing it out
   23       to indicate exactly which fields that they were concerned
   24       with.         I don't.    It was highlighted.                It is just grayed
   25       out now.          It was passed out for you to observe your


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     1      current numbers.            I don't know whether this was a mid
     2      month or end of month stat sheet.                          But it was passed out
     3      for the purposes of the listed policemen to observe their
     4      numbers for that month and make their necessary
     5      adjustments.
     6               Q.       In reference to what?
     7               A.       In reference to the quota that was· put in
     8      place.
     9               Q.       Now, you were asked some questions about the
    10      board.        And just explain to us again what was the
   11       significance of the board?                 This is the photograph that
   12       was provided in discovery.
   13               A.       Right.     It is easier to understand it in color.
   14       They have it is broken down by teams.                         And it is broken
   15       down by months across.              You got a green star, a green
   16       check, a red check or red x.                  ~~d     that corresponded to
   17       your numbers at the end of the month for citations and
   18       for arrests.
   19               Q.       And that was something that you had seen while
   20      you were actually an officer there, the board?
   21               A.       Yes.     I observed the board.               There were other
   22      notations made on this board.                    These dots to the side.
   23      These numbers next to it.                 No one was ever told what
   24      those meant.             We were never expressly told what the green
   25      stars, green checks, red checks and red XIS meant.


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     1                However, when you discuss what you had on your stat
     2       sheets at the end of the month between your other
     3       teammates and you discuss which sticker or which check
     4       that you got for the month, it was clear that it had to
     5       do with your arrests and your citations.
     6               Q.       And why would that be significant to you?
     7               A.       It would be significant because after you
     8      receive a series of bad marks, you were walking yourself
     9       into getting written up and/or terminated for your
    10      citations and arrests.
    11               Q.       What was your understanding of what would be
    12      the ramifications of not meeting the quota system?
    13               A.       Based on the conversation that we had in the
    14      past, it started with being written up.                   And when you get
    15      written up, there's a recommendation of disciplinary
    16      action.         You could be suspended as a result of that.                  And
    17      ultimately, if we didn't want to comply, we could go and
    18      be fired.
    19               Q.       Now, we had discussions about the date on the
    20      resignation letter.           If I'm understanding this correctly,
    21      your employment was supposed to go through February 12th
    22      of 2015; is that correct?
   23                A.       Correct.   I believe so.
   24                Q.      Now, prior to you leaving, prior to
   25       February 12th of 2015, did you discuss your feelings


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     1      about a quota outside of the Gretna Police Department?
     2               A.       Yes, I did.
     3               Q.       Explain that to us please.
     4               A.       I spoke to my father about it.               I spoke to
     5      anyone who could -- anyone who would listen to what I was
     6      going through and to give me advice on how to handle it.
     7               Q.       How did you get in contact with Mr. Voyles?
     8               A.       I reached out to a harbor policeman who was
     9      assigned to the JTTF at the time and asked him if he
    10      could put me in contact with an FBI agent.                       That's how I
    11      ultimately got in touch with Mr. Voyles.
    12               Q.       You mentioned a meeting with Mr. Voyles, but
    13      you had spoken to Mr. Voyles prior to that meeting, did
    14      you not?
    15              A.        I did.
    16               Q.      About how many times did you speak to
    17      Mr. Voyles prior to that meeting?
   18               A.       Two to three times I believe.
   19               Q.       Were you initially directed to him by the
   20       gentleman with the harbor patrol that you spoke to or did
   21       it go further down before you actually got to Mr. Voyles?
   22               A.       I spoke to the harbor policeman.               He said that
   23       he knew a female agent at the FBI.                       I spoke to the female
   24       agent, gave her a brief, very brief rundown of my concern
   25       and she said this is going to be something that agent,


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     1       she said Agent Voyles will contact you and he ultimately
     2       called me.
     3                Q.      Now, you were asked some questions about did
     4       you speak to not necessarily your immediate supervisors,
     5       but anyone above your immediate supervisors about the
     6       quota system.           Was there a reason you didn't do that?
     7               A.       Well, I attempted to have a meeting with Deputy
     8      Chief Christiana and Captain Vinson denied me.
     9               Q.       When did that happen?
    10               A.       I   believe the request was made on the morning
    11      of the 2nd of February.              Then we had the meeting where I
    12      was yelled at for the spreading poison and was told that
    13      Captain Vinson said that he would be the one to decide
    14      whether I was going to meet with the Chief or not.
    15               Q.       What was your understanding how widespread the
    16      quota system was at Gretna?
    17                     MR. MAUTERER:      Object to the form.
    18      BY MR. HEBERT:
    19               Q.       Just kind of explain that to us.             You've been
    20      asked a lot of questions about Captain Vinson, the
    21      meeting that you-all had in December.                     What was your
    22      understanding of the quota system as you believe
   23       occurred?
   24                A.       What I said in the meeting is what it was.                   I

   25       have, I can only testify to what I heard come out of


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     1       Captain Vinson's mouth.              And though I was told that even
     2       prior to me becoming a member of the department that
     3       there were officers disciplined for failing to meet a
     4       predetermined amount of citations, I don't have anything
     5       to produce that to you.              I was told that we had to write
     6       three tickets a day and put an average of one person in
     7       jail every two days.
     8               Q.       Why did you record Sergeant Rodriguez?
     9               A.       I knew that there was a departmental policy
    10      against having recording devices and surreptitiously
    11      recording.            I felt it oddly coincidental that the day
    12      after we were given a speech regarding a million dollar
    13      gap that we had to close and how we were going to close
    14      it through a quota system that we were given this
    15      departmental policy to sign.
    16               I knew at that point in time that though it was
    17      against policy, it wasn't illegal and that I needed to
   18       protect myself because I didn't agree with what was going
   19       on.      And I didn't think that anyone would believe me
   20       unless I had hard proof.               It is very hard to get
   21       policemen -- it is very hard for a policeman to go
   22       against another policeman, period.                        But it is very hard
   23       to get policemen to be frank about people that they
   24       really respected.           That was my turmoil with this from the
   25       very beginning is Captain Vinson's involvement in it.


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     1               Q.       Now, as an officer, you're expected to follow
     2      orders, aren't you?
     3               A.       I   am.
     4               Q.       Do all of those orders have to be in writing?
     5               A.       No.
     6               Q.       Is there a specific policy that says you don't
     7      follow oral orders that are given to you?
     8               A.       Ask the question again.
     9               Q.       Was there a specific policy at Gretna that you
    10      were not to follow orders that were given to you unless
    11      they were written?
   12                A.       No.
   13                Q.      Was it common for you-all to get oral orders
   14       from superiors?
   15                     MR. MAUTERER:         Object to the form.
   16                     THE WITNESS:         Yes.
   17       BY MR. HEBERT:
   18               Q.       Now, you've mentioned the license plate that
   19       you had.         What did you have on the front of that license
   20       plate again?
   21               A.       It was a black license plate.               In blue like the
   22       Thin Blue Line it says 40:2401.1 which is the Louisiana
   23       Revised Statute prohibiting quotas.
   24               Q.       Why did you have that on the front of your
   25      vehicle?


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     1               A.       I was veIY openly opposed to what was going on
     2       and I wanted everyone to know.
     3                (A SHORT RECESS IS TAKEN)
     4      BY MR. HEBERT:
     5               Q.       Mr. Swear, if you would have been discharged,
     6      could that have had an effect on future employment if you
     7      would have been fired for following this quota?
     8                    MR. MAUTERER:       Object to the form.
     9                    THE WITNESS:      Yes.
    10      BY MR. HEBERT:
    11               Q.       Just kind of explain that to us please.
    12               A.       With any job, including police work, if you are
   13       physically fired, given a piece of paper that says you
   14       are fired, everyone else after that is going to hesitate
   15       in hiring you.          By resigning, regardless of the
   16       circumstances, that was my ability to know that I could
   17       get another job and continue to support myself and
   18       ultimately now my family.
   19                     MR. HEBERT:     I have no questions for right now.
   20       I'll reserve if there's any other questions you'll be
   21       asking.
   22       BY MR. MAUTERER:
   23                Q.       I have some redirect.            You would agree with me,
   24       Mr. Swear, that Gretna Police Department is a proactive
   25       police department, isn't it?


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     1                    MR. HEBERT:       Objection.           Vague.
     2                    MR. DORNIER:        Object to the form.             Vague.
     3      BY MR. MAUTERER:
     4               Q.       Can you answer the question?
     5               A.       Different people operate at different speeds.
     6               Q.       Gretna Police Department isn't a responsive
     7      police department, meaning they don't sit around waiting
     8      for calls to be of action, do they?
     9                    MR. HEBERT:       Objection to form.
    10                    THE WITNESS:        Sometimes we do.
    11      BY MR. MAUTERER:
    12               Q.      During academy, you received instructions
    13      regarding the expectations of the Gretna Police
    14      Department, didn't you?
    15              A.        I believe so.
    16               Q.      And those expectations included, but not
   17       limited to the patrolling of the four, little over four
   18        miles of the City of the Gretna; isn't that correct?
   19                     MR. HEBERT:       Object to. the form.
   20                     THE WITNESS:       To your area.              But yes, patrolling,
   21      you drive a billboard around.                     Your job is to have a
   22      presence.              Whether that presence is mobile or parked,
   23      people need to see you.
   24      BY MR. MAUTERER:
   25               Q.       Now, you stated in response to questions by


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     1      your attorney that after meeting with Captain Vinson, you
     2      expected to be terminated.                   Do you have any evidence, any
     3      document, any witness that you can identify that Captain
     4      Vinson was going to terminate you that day?
     5               A.       The people present in that meeting were Captain
     6      Russell Lloyd, Sergeant Chris Tapie and Sergeant Phillip
     7      Saladino.             They would have been witnesses to that
     8      statement being made.
     9               Q.       Is there anybody else other than those persons
    10      you just identified that would corroborate your statement
    11      that you believed you were going to be terminated that
    12      day?
    13                    MR. HEBERT:       I'm going object to the form of the
    14      question.
    15      BY MR. MAUTERER:
    16               Q.      Was there anybody else?
    17               A.      They were the only ones present in the room.
   18                     MR. DORNIER:       Mischaracterizes his answer.
   19       BY MR. MAUTERER:
   20                Q.      You don't have any knowledge, personal
   21       knowledge, do you that Captain Vinson gave the same
   22       speech that he gave to your team to any other team, do
   23       you?
   24               A.       The same speech, no.              He was not reading from a
   25      piece of paper.


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     1                Q.          Now, you said in response to your counsel's
     2       questions regarding the chart that was in Captain
     3       Vinson's office what you believed all the symbols and
     4       colors meant, correct?
     5               A.       Correct.
     6               Q.       It could have meant nothing, could it?
     7                     MR. HEBERT:       Object to the form of the question.
     8                     THE WITNESS:       No.
     9      BY MR. MAUTERER:
    10               Q.       It could have been a motivational prop,
   11       couldn't it?
   12                      MR. HEBERT:      Object to the form of the question.
   13                      THE WITNESS:       I believe it was a prop in any
   14       sense you look at it, whether motivational or                     a trip
   15       sheet and a stat sheet is a prop in a way.
   16       BY MR. MAUTERER:
   17                Q.       What evidence do you have that that chart was
   18       in Captain Vinson's office meant anything whatsoever?
   19                A.       I can't specify.
   20                Q.       You don't have any other than your
   21       interpretation of that chart; is that a fair statement?
   22                A.       It wasn~t my sole interpretation.         However,
   23       yes, you're correct I don't have anything written.
   24                Q.       I think I know the answer to this, but you keep
   25       saying this phrase over and over again and I want to make


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     1       sure the record is clear.                  You keep saying that you would
     2       talk to anyone who would listen about the quota system,
     3       but you've only identified certain people.                       Your fellow
     4       off team members, your dad, your grandma.                       Is that it as
     5       we sit here today that you remember?                       Because you keep
     6       saying anyone who will listen and I'm trying to find out
     7       if there were anyone else other than these people.
     8                     MR. HEBERT:       Specific names of people is what you
     9      mean?
    10       BY MR. MAUTERER:
    11               Q.       Yes.     Is there anybody else?
    12               A.       I don't remember.           That would listen portion of
    13      that is there were some policemen who wanted no part of
    14      discussing this topic at all with me.
    15               Q.       Were there other police officers that did not
    16      have the same interpretation of Captain Vinson's speech
    17      as you?
    18               A.       I don't know what other people interpreted it
    19      as.
    20               Q.       Do you have any knowledge as you sit here today
    21      of any action that the FBI will or will not take based on
    22      your meetings with them?
   23                     MR. DORNIER:        Objection to the form of the
   24       question.             I don't know if that's an appropriate
   25       question.


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     1       BY MR. MAUTERER:
     2                Q.      Do you know?
     3               A.       I don't know.
     4               Q.       Who was the harbor police officer you spoke to?
     5               A.       Glenn Smith.
     6               Q.       Is he still with the harbor police department
     7      as far as you know?
     8               A.       He is.    He's assigned to the JTTF though.
     9               Q.       Who is the female FBI agent that you spoke to?
    10               A.       I don't remember.
    11               Q.       Now, you said you made a request to talk to
    12      Deputy Chief Christiana on February 2nd.                         How was that
    13      request made?
   14                A.       Via telephone.
   15                Q.       To Captain Vinson?
   16                A.       No sir.   Via telephone to the Deputy Chief's
   17       secretary.
   18                Q.       I kind of misunderstood.                 You were describing
   19       be your meeting with Captain Vinson on February 2nd where
   20       you made a request of Captain Vinson to talk to the Chief
   21       and he told you no.            'I'hat' s the way I understand it.                  Is
   22       that incorrect?
   23               A.       That's incorrect.           When I showed up to work on
   24       the 2nd, once I knew the administration and the
   25       secretaries were there, I called first thing and spoke to


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     1       Miss Haas and asked if I could setup a meeting with the
     2       Deputy Chief.          She said she would get back to me.
     3               A few hours later in that morning is when the
     4      meeting occurred and Captain Vinson knew that I was
     5      trying to setup a meeting with the Deputy Chief and I was
     6      told by him that he would control whether I had a meeting
     7      with the Deputy Chief or not.
     8               Q.       Did Miss Haas return your call at all?
     9               A.       No.   She didn't.          I had the meeting and that
    10      was enough of an indication that the meeting was not
    11      going to happen.
    12               Q.       But she didn't return your call and tell you it
    13      wasn't going to happen, correct?
    14               A.       Correct.
    15               Q.       Did you ever see the Deputy Chief at Wal-Mart
    16      and ask him or an)' other place and ask to talk to him?
    17               A.       I did not.
    18               Q.       Did you ever see the Chief anywhere in the City
    19      of Gretna and ask to talk to him?
    20              A.        I did not.
    21               Q.      Meetings of the Gretna administration where
    22      they would discuss and implement policy decisions, you
   23       weren't involved in any of those meetings, were you?
   24               A.       No, sir.
   25                Q.      So you had no involvement in what an ultimate


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     1       policy was implemented, correct?
     2               A.       Correct.
     3                Q.      You had no involvement in the reason or basis
     4       for a policy to be implemented, correct?
     5               A.       Correct.
     6               Q.       So when you explained to us in your words the
     7       irony of the timing of the policy regarding the recording
     8      of other officers, you don't know what the
     9      administration's basis for that policy was, do you?
    10               A.       No.   I don't know.
    11               Q.       You don't know how long the administration had
    12      been discussing whether or not they were going to
    13      institute such a policy?
    14                     MR. HEBERT:     Objection to the form of the
    15      question.
    16                     MR. DORNIER:      Object to the form of the question.
    17                     THE WITNESS:      I didn't hear the end of it.
    18      BY MR. MAUTERER:
    19               Q.       You don't know do you how long the
    20      administration had been discussing whether or not it was
    21      going to institute that policy, do you?
    22                     MR. HEBERT:     Object to the form of the question.
    23                     THE WITNESS:      I do not.
    24      BY MR. MAUTERER:
   25                Q.       In our discussions this morning you appear very


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     1      motivated and strong in your beliefs and opinions
     2      regarding the alleged quota system.                           Since your departure
     3      from the Gretna Police Department, have you ever
     4      attempted to discuss with Arthur Lawson or Anthony
     5      Christiana the alleged quota system?
     6               A.       I   did not.
     7               Q.       When you were seeking employment with the
     8      Gretna police Department and going through the academy,
     9      isn't it a fact that you had your father call Arthur
    10      Lawson and Anthony Christiana regarding hiring you as a
    11      police officer?
    12              A.        I believe so.
   13                Q.      Did you ask your father to setup a meeting with
   14       Arthur Lawson or Anthony Christiana regarding your
   15       concerns regarding an alleged quota system?
   16               A.        I did not.
   17                     MR. MAUTERER:          No further questions.
   18
   19
   20
   21
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     3                  This certification is valid only for a transcript
     4       accompanied by my original signature and original
     5       required seal on this page.
     6                       I, DIANNE C. WININGER, CCR, in and for the State
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     8       was taken do hereby certify that to foregoing witness to
     9       whom oath was administered, after having been duly sworn
    10       by me upon authority of R. S. 37:2554, did testify as
    11       herein before set forth in the foregoing pages; that the
    12       testimony was reported by me in the stenotype reporting
    13       method, was prepared and transcribed by me or under my
    14       personal direction and supervision, and is a true and
    15       correct transcript to the best of my ability and
    16       understanding;
    17                      That the transcript has been prepared in
    18       compliance with transcript format guidelines required by
    19       statute or by rules of the board, that I am informed
    20      about the complete arrangement, financial or otherwise
    21      with the person or entity making arrangements for
    22      deposition services; that I have acted in compliance of
    23      the prohibition on contractual relationships, as defined
    24      by Louisiana Code of Civil Procedure, Article 1434 and in
    25      rules and advisory opinions of the board.


                                  DONEGAN, BARTELL & HENRY
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      1                   That I have no actual knowledge of any prohibited
      2      employment or contractual relationship, direct or
     3       indirect, between a court reporting firm and any party
     4       litigant in this matter, nor is there any such
     5       relationship between myself and a party litigant in this
     6       matter.
     7                   I am not related to counselor to the parties
     8       herein, nor am I otherwise interested in the outcome of
     9       this case.
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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF LOmSIANA


       DANIEL SWEAR                                           CIVIL ACTION NUMBER:


       VERSUS
                                                 ..

      ARTHUR LAWSON, IN HIS
      INDIVIDUAL CAPACITY AND
      OFFICIAL CAPACITY AS THE
      CHIEF OF THE GRETNA POLICE
      DEPARTMENT; SCOTT VINSON
      IN IDS INDIVIDUAL AND
      OFFICIAL CAPACITY AS A
      CAPTAIN IN THE GRETNA                     ..
      POLICE DEPARTMENT AND THE
      CITY OF GRETNA


       COMPLAINT FOR DECLARATORY, INJUNCTIVE RELIEF AND DAMAGES

             NOW INTO COURT, through Undersigned counsels, comes the Plaintiff, Daniel Swear,

      who respectfully submits:

                                                         1.

             Plaintiff, Daniel Swear (hereinafter Complainant or Swear), is the full age of majority,

      and a resident domiciliary of the Parish of Plaquemines, Louisiana.

                                                         2.

            Made Defendants herein are:

            A.     The City of Gretna, municipality of the State of Louisiana, located in the
                   Parish of Jefferson, State of Louisiana;
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          . .
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                   B.     Arthur Lawson, in his individual capacity, as well as his official capacity as
                          the Chief of the Gretna Police Department, located within the municipality
                          of Gretna, State of Louisiana, located in the Parish of jefferson; and

                   C.     Scott Vinson, in his individual capacity, as well as his official capacity as
                          the Captain of the Patrol Division of the Gretna Police Department.

                                                          3.


                   This action is brought pursuant to 42 U.S.C. § 1983 and La. R.S. 23:967.

            Jurisdiction is proper pursuant to 28 U.S.C. §1331; 28 U.S.C. §1343 and, 28 U.S.c. 1367.

                                                          4.

                  This action for injunctive relief is brought pursuant to Rule 65 of the Federal Rules

           of Civil Procedure (hereafter "F.R.C.P."); 42 U.S.C. §1983; 42 U.S.c. §1331; and,42

      \
      )    ·U.S.C. §1343 for violation of Complainant's constitutional righrs. This action for

           declaratory judgment has been broUght pursuant to the provisions of 28 U.S.c. § 2201

           and 28 U.S.C. § 2202, as well as F.R.C.P. 57 and 58. This action for damages is brought

           pursuant to the provisions of 42 U.S.C. 1983 and La. RS. 23:967.

                                                       5.

                 Venue is proper in the Eastern District of Louisiana under 28 U.S.C. § 1391, as the

           named Defendants are domiciled in the Parish of Jefferson.

                                                      6.

                 At all relevant times hereto, the Complainant was a full time commissioned police

           officer with the Gretna Police Department and employed by the City of Gretna.



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                                                      7.

             Mr. Swear began employment with the City of Gretna on or about December 10,

      2010, as a commissioned police officer.

                                                    8.

            Mr. Swear subsequently obtained the position of Field Training Officer, granting

     him an increased salary for training newly hired police officers.

                                                    9.

            On or about December 17,2014 and/or December 19,2014, Mr. Swear attended a

     mandatory meeting of the Gretna Police Department. During the meeting, Mr. Swear was

     informed that the Gretna Police Department was instituting a quota policy.

                                                 10.

           The quota policy mandated that each Gretna Police Officer issue three (3) traffic

    citations and or summons per day and an average of one arrest every two days worked.

    The quota policy further subjected the police officers, as well as their supervisors, to

    mandatory disciplinary action for any non-compliance with the quota policy.

                                                11.

           The quota policy was implemented on December 17 and/or 19, 2014 and

    administered by the supervisory officials and overseen by the Captain of the Gretna

    Police Department.

                                                12.

          Pursuant to La R.S. 40:2401.1, entitled: Quotas Prohibited, Louisiana law

)   expressly prohibits quotas to be employed by law enforcement agencies.

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                                                             13.

                     Mr. Swear was aware that state law prohibited the employment, administration

              and enforcement of a quota system for law enforcement officials.

                                                             14.

                     On December 20, 2014, Mr. Swear informed his supervisor, Sergeant Danielle

             Rodriguez, that implementation of the quota policy was expressly prohibited by state law,

             and that he did not intend to participate in the unlawful activity.

                                                          15.

                    During the conversation between Mr. Swear and Sgt. Rodriguez on December 20,

             2014, Sgt: Rodriguez twice confirmed that the mandatory minimum quota of ticket to be

             issued by patrol officers was three (3) per day.

                                                          16.

                   In addition to informing his supervisor, as identified in paragraph fourteen (14)

            hereinabove, Mr. Swear spoke out against the quota system to fellow law enforcement

            officers of the Gretna Police Department.

                                                         17.

                   Mr. Swear also spoke out against the prohibited quota system to members of the

            public, including but not limited to friends and family members.

                                                         18.

                   Mr. Swear additionally informed a special agent with the Federal Bureau of

            Investigation, stationed in the New Orleans office, of the implementation and

    )       administration of the quota system.

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                                                         19.

              Mr. Swear met with the special agent with the Federal Bureau of Investigations on

       several occasions regarding the implementation of the quota system ..

                                                       20.

             Mr. Swear additionally notified the Louisiana Office of the Inspector General

      regarding the implementation of the quota system.

                                                    21.

             On February 2,2015, Mr. Swear attended a meeting in the office of Captain Scott

      Vinson. Also, present in the meeting were Captain Russell Lloyd and two Sergeants.

                                                    22.

            At the meeting Mr. Swear was threatened with termination if he failed to

     participate in and meet the assigned quota.



            Immediately after the February 2,2015 meeting, Mr. Swear tendered a written

     letter containing a two week notice of resignation from the Gretna Police Department.

                                                   24.

           Thereafter Oil February 9, 2015, Mr. Swear attended a second meeting at the

     request of Captain Scott Vinson. During the meeting, Mr. Swear was informed that he

     was being written up for making defamatory statements concerning the ethics of the

     Gretna Police Department.

                                                   25.

 )         Attbe February 9,2015 meeting Mr. Swear was urged to resign immediately.

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                                                         26.

                  On or about February 20, 2015, Mr. Swear received his last pay check from the

           City of Gretna, compensation for his earned and accrued benefits in accordance with the

          terms and conditions of his employment and received written notice of his separation

          from the Gretna Police Department.

                                                         27.

                                             CAUSES OF ACTION
                                     Fourteenth Amendment Due Process
                 La. R.S. 40:2531 et seq., the Police Officers Bill of Rights, sets forth the

          mandatory minimum procedures and substantive prerequisite to discipline, suspension

          and/or termination of law enforcement officials

                                                      28.

                The Defendant's failure to adhere to the minimum statutory requirements prior to

         notifying Mr. Swear of his pending termination is violative of La. R.S. 40:2531 (C).

                                                     29.

                The Plaintiff possessed a legitimate claim of entitlement to the statutory provisions

         of La. R.S. 40:2531 et seq., the Louisiana Police Officers Bill of Rights.

                                                     30.

               The Plaintiff's statutory entitlement to disciplinary and pre-termination substantive

         procedures give rise to a protected due process interest under the Fourteenth Amendment.




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                                                     3l.

              The Defendant's wholesale failure to follow any mandatory provision of such

       statutory scheme violates Mr. Swears procedural due process rights under the Fourteenth

      Amendment.

                                                     32.

             The Defendants' arbitrary and capricious conduct regarding its intention to

      terminate of Mr. Swear if he did participate in, and comply with the quota system newly

      instituted by the Gretna Police Department violates his substantive due process

      guarantees under the Fourteenth Amendment.

                                                 33.

            The conduct of the Defendants was committed with deliberate indifference and

     reckless disregard for Mr. Swears federal constitutional rights, entitling him to punitive

     damages under 42 U.S.C. 1983.

                                                 34.

                       First Amendment Discrimination and Retaliation

            Mr. Swear speech regarding the statutorily prohibited quota system, implemented

     and administered by the Defendants, is of significant public import.

                                                35.

            Such speech is protected by the First Amendment.

                                                36.

           The Defendants disciplining of Mr. Swear and constructively discharging him

     from the Gretna Police Department is an act of reprisalJor engaging in protected speech.

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                                                      37.

                 The Defendants arbitrary and capricious conduct was reckless, malicious and done

      with deliberate indifference to Mr. Swears First Amendment rights and protections.

                                                      38.

             Such conduct of the Defendants further entitle Mr. Swear to an award of punitive

     damages pursuant to 42 U.S.C. 1983.

                                                   39.

                           State Law Whistleblower Claim, La. R.S. 23:967

             Mr. Swear, in his capacity as a police officer for the City of Gretna, was subject to

     a mandatory quota policy expressly prohibited by Louisiana law.

                                                  40.

            Mr. Swear immediately notified his supervisor that such quota system violated

    state law.

                                                  41.

            Mr. Swear further immediately notified his supervisor that he did not intend to

    participate in the unlawful quota system.

                                                  42.

           Mr. Swear reported the implementation of the quota system to law enforcement

    officials.

                                                 43.

           Mr. Swear was disciplined and constructively discharged from his employment for

    speaking out against the quota system and refusal to participate therein.
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                                                    44.

             As a result of the conduct of the Defendants, Mr. Swear has suffered humiliation,

     embarrassment, mental pain and anguish which required medical·treatment, in addition to

     lost wages and earnings.

                                                 45.

             Mr. Daniel Swear further requests all costs, fees and attorney fees associated with

     the disposition of this matter pursuant to 42 U.S.C. 1988 and/or La. R.S. 23":967, as well

     as judicial interest from the date of the filing of this complaint or as otherwise provided

    bylaw.

                                                 46.

           Mr. Daniel Swear respectfully request a trial by jury of the merits of this matter.

           WHEREFORE, Complainant, Daniel Swear, prays that after due proceedings and

    consideration:

    1.     The Defendants named herein be duly cited for ServIce of process of this
           complaint;
    2.     A permanent injunction issue herein enjoining and prohibiting the continued
           implementation and administration of the quota system;
    3.    A declaratory judgment issue herein declaring that the Police Officer's Bill of
          Rights creates a due process property interest protected by the Fourteenth
          Amendment; that the Plaintiff s due process rights were violated; that the
          Plaintiffs rights under the First Amendrn,ent were violated; and that the conduct of
          the Defendants violated La. RS. 23:967, the Louisiana Whistleb10wer Protection
          Act;



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             4.   A judgment issue herein for damages resulting from the Defendants violation of
                  his due process rights under the First Amendment and the Fourteenth Amendment;
             5.   A judgment issue herein for damages resulting from the Defendants violation of
                  rights under the La. R.S. 23:967;
             6.   The Defendants in their individual capacities be cast in judgment for punitive
                  damages;
             8.   The court issue all legal and equitable reliefjust as proper under the premise; and,
             9.   Mr. Swear be deemed a prevailing party in this matter and be granted all costs,
                  fees and attorney fees pursuant to 42 U.S.C. 1988 ~d/or La. RS. 23:967, as well
                  as judicial interest as provided by law.


                                              RESPECTFULLY SUBMITTED:



\                                                  lsI Seth M. Dornier
                                              SETH M. DORNIER (La. Bar. #32804)
                                              DORNIER LAW FIRM, LLC
                                              351 Saint Ferdinand Street; Suite B
                                              Baton Rouge, Louisiana 70802
                                              Telephone: (225) 389-6664
                                              Facsimile: (225) 372-2430
                                                     Email: Seth@DomierLaw.com

                                              AND


                                                         lsI Corey J. Hebert .
                                             CHARLES R. MOORE (La. Bar No. 9604)
                                             COREY J. HEBERT (La. Bar No. 31773)
                                             6513 Perkins Road
                                             Baton Rouge, Louisiana 70808
                                             Telephone: (225) 766-1100
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                                                            Hebert@Moorethompson.com



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(I                              UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

     ******************************************************************************
     DANIEL SWEAR                                          *
                                                           *    SUIT NUMBER: 15-6591
                                                           *
                                                           *    A CIVIL ACTION
                                                           *
                                                           *    SECTION: "G"
     VERSUS                                                *
                                                           *    MAGISTRATE "1"
                                                           *    NANETTE JOLNETTE BROWN
     ARTHUR LAWSON, et al.                                 *
                                                           *    THE HONORABLE JANIS VAN
                                                           *    MEERVELD PRESIDING

     ******************************************************************************


                       PLAINTIFF'S RESPONSE TO INTERROGATORIES

     TO:    Arthur Lawson, et aI.
            Through their attorney of record:
            Steven M. Mauterer
            Beevers & Beevers, LLP
            210 Huey P. Long Ave.
            Gretna, LA 70053-5816

            NOW INTO COURT, through undersigned counsels, comes Daniel Swear who,

     reserving his right to amend and/or supplement his responses as necessary, answers the

     interrogatories propounded by defendants, Arthur Lawson, et aI, as follows:

     INTERROGATORY NO.1:

             Identify with specificity the physical location of the mandatory meeting of the

     Gretna Police Department as alleged in paragraph 9 of your Complaint, the identity of the

     person(s) who advised you of the requirement of your attendance at the meeting, and

     identify each person in attendance at said meeting.

                                                    1


                                                                                         EXHIBIT
                                                                                   I
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RESPONSE:

        The meeting was at the Gretna Police Department, located at 200 5th Street, Gretna, LA,

70053, specifically in an area commonly referred to as "the palace." That location consisted of

an open area where the secretaries for both the Chief and Deputy Chief operated. Connected to

the secretary area are separate offices for the Chief, Deputy Chief, and one other official. The

office was used as a location for roll call that evening, presumably due to the normal conference

room location being utilized. Chairs were set up facing the desk of Tracy Haas where patrolmen

sat and awaited their normal nightly instruction. In the area of Tracy's desk were Scott Vinson,

Danielle Rodriguez, and David Heintz. Requirement in this meeting was not specified due to roll

call being a normal part of the patrol shift.

       The persons present in this meeting, in addition to the ones mentioned above, were as
follows:
        1.   Vincent Paz

        2.     Brock Frisch

        3.     Matthew Chiasson

        4.     Crystal Hirschmann

        5.     Paige Brouillette

        6.     Colby Arabie

        7.     Steven Verret

INTERROGATORY NO.2:

         Identify the person(s) who informed you that the Gretna Police Department was

instituting a quota policy as alleged in Paragraph 9 of your Complaint.


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    RESPONSE:

            Mr. Swear objects to the interrogatory as written. The interrogatory inappropriately states

    that the illegal quota policy was implemented by the Gretna Police Department on the date of the

    meeting. The Gretna Police Department's quota policy was in place prior to this time.

            Subject to and not waiving those objections, prior to this meeting, then Captain Scott

    Vinson put enormous pressure on the shift supervisors to illicit tickets and arrests from their

    shifts. Dating back to before Mr. Swear was a member of the Gretna Police Department, there

    was a quota that Scott Vinson proclaimed he invented, the 10-2-2 system. The 10-2-2 system

    referred to a daily activity often items, two tickets, and two arrests per shift.

            The meeting began with Sergeant David Heintz stating that he wanted us to strive to

    increase our productivity by 10%. Sergeant Danielle Rodriguez stated that we were mandated to
)
    issue three citations per day. Scott Vinson then explained that the Chief approached him at or

    around the time of December 2013 and advised him that he needed to find a way to make the

    patrol division fmancially independent of the RedFlex Camera Ticket profits. Scott Vinson then

    elaborated that the patrol division was going to write enough tickets and make enough arrests to

    generate 1 million dollars of additional revenue, the number needed to "close the gap" between

    the division's operating budget and what was borrowed from the RedFlex proceeds each year.

    Furthermore, Scott Vinson stated that the administration was concerned that RedFlex would

    eventually "go away" due to the numerous constitutionality conflicts that were being brought to

    light. Scott Vinson stated that our supervisors have been feeding us a bunch of sugar and that he

    isn't in the business of "asking" us to accomplish these tasks. Scott Vinson stated that failure to


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      generate the revenue necessary would result in the money being taken from the insurance fund

      and/or the retirement fund. The additional possibility of layoffs was noted by Scott Vinson as

      well.

              It should be noted that prior to the meeting described above, Scott Vinson attended the D-

      Team Roll Call in January 2014 and informed the team that because of the revenue that the

      officers created through their tickets and arrests, the City found the ability to give Police

      Department employees a 3% raise. On a separate occasion in that same month, Russell Lloyd

      addressed the D-Team roll call and stated that if we, the officers, did not maintain our ticket and

      arrest numbers (heavy emphasis on tickets), we would be forced to pay for our own health

      insurance. Both of the aforementioned meetings were conducted at 200 5th Street in the Large

      conference room used for nightly roll call. Mr. Swear does not have a specified list of persons

      present during these two January 2014 meetings.
 )
              Based on the information provided by Scott Vinson, the quota policy was passed down to

      him from "the Chief." Scott Vinson then passed it to the shift supervisors, who subsequently

      passed it to their respective shifts. Mr. Swear was ordered by Sergeant Danielle Rodrigues, on

      one occasion, to issue three citations per day and make an average of 1 arrest every 2 days.

      INTERROGATORY NO.3:

               Identify the supervisory officials that administered the quota policy you allege was

      implemented by the Gretna Police Department on December 17 and/or 19,2014.

      RESPONSE:

              Mr. Swear objects to the interrogatory as written. The interrogatory inappropriately states

      that the illegal quota policy was implemented by the Gretna Police Department on December 17


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    arid/or 19, 2014. The Gretna Police Department's quota policy was in place prior to the dates

    identified by defendants in there interrogatory.

            Subject to and not waiving those objections, Mr. Swear responds as follows:

            Scott Vinson stated that the "Chief' approached him with the task of having the patrol

    division generate the necessary funds to become financially independent of RedFlex.       Scott

    Vinson was the person who ordered the quota system to the subordinate shift supervisors.

    Ultimately, Scott Vinsons' successful implementation of this quota resulted in his promotion to

    the Captain of the Patrol Division. Though Mr. Swear had two shift supervisors at the time of

    this incident, only Danielle Rodriguez chose to make mandatory demands regarding the quota

    system. Sergeant Heintz did not agree with the quota policy; however, he knew that open

    opposition to the quota policy would cause major problems for him within the department.

    Sergeant Heintz chose to use a general "10% statement" when addressing his team, because that

    was the only way he saw able to satisfy the demands of Scott Vinson without crossing a legal,

    moral, or ethical line.

    INTERROGATORY NO.4:

            Identify the fellow law enforcement officers, members of the public, friends and family

    with whom you spoke out against the quota system as alleged in Paragraphs 16 and 17 of your

    Complaint.

    RESPONSE:

            Mr. Swear objects as the interrogatory is overly broad as it requests the names of an

    innumerable amount of people to whom he spoke out to, against the illegal quota system/policy

    that was enforced by the Gretna Police Department.


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                Subject to and not waiving those objections, Mr. Swear states that he spoke out against

        the Gretna Police Department's illegal quota system to an unknown amount of people. This

        would be impossible to list due to him being extremely open about his situation with whomever

        asked. He does recall that he spoke to all members of the C-Team patrol, many other members of

        the Gretna Police Department, FBI Agent Richard Voyles, two other unknown FBI agents, Lee

        Zurik, an unknown member of the Attorney General's Office, and others.

        INTERROGATORY NO.5:

                 Identify all special agents with the Federal Bureau of Investigation with whom you

        spoke regarding the alleged quota system and identify each "several occasion" in which you

        met with the special agents as alleged in Paragraph 19 of your Complaint.

        RESPONSE:

               Mr. Swear objects as the interrogatory is overly broad as it requests him to identify with
"
/
    )


        specificity each of the "several occasions" which he met with those agents.

               Subject to and not waiving those objections, Mr. Swear responds as follows: He met with

        agent Richard Voyles. Agent Voyles was accompanied by additional agents on two occasions;

        however, I do not have the names of those agents.

        INTERROGATORY NO.6:

                 Since being employed with the Plaquemines Parish Sheriff s Office, identify all of

        your supervisors.

        RESPONSE:

               Mr. S~ear objects as the interrogatory requests information that is not relevant to

        these proceedings.

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         Subject to and not waiving that objection, Mr. Swear responses as follows:

         1.    Johnathan McDaniel

         2.    Michael Boudreaux

         3.    Scott Lott

         4.    Jacob Susor



                                     Respectfully submitted,

                                     MOORE & HEBERT, APLC


                                    s/Corey J. Hebert
                                    Charles R. Moore, La. Bar Roll No. 9604
                                    Corey 1. Hebert, La. Bar Roll No. 31773
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                                    Baton Rouge, Louisiana 70808
                                    Telephone: (225) 766 1100
                                    Fax: (225) 767-4486
                                    Attorneys for the Plaintiff

                                    AND

                                    Seth M. Domier (La. Bar. #32804)
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                                    16851 Jefferson Highway; Suit B-6
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                                    Email: Seth@DomierLavv·.com
                                    Attorney for the Plaintiff




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                                     CERTIFICATE OF SERVICE

            I hereby certify that a copy of the above and foregoing Responses to Interrogatories have

     been served via electronic mail and US mail to the following counsel of record:

            Steven M. Mauterer
            Beevers & Beevers, LLP
            210 Huey P. Long Ave.
            Gretna, LA 70053-5816

            smauterer@beeverslaw.com

            Done and signed in Baton Rouge, Louisiana, on this 6th day of June, 2017.




                                      s/Corey J. Hebert
                                             Corey J. Hebeli




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              Policy to go with 12-19-14 Info (3 images)




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                                         RIGHTS RELATIVE TO ADMINISTRATIVE PROCEEDINGS
                                                           (STATUTORY)

                      NAME:                                          BADGE#:          ASSIGNMENT:
                   DANIEL SWEAR                                      127             PATOL DIVISION

                   DATE: 7-24-2014                      TIME: 1800 HOURS

                   The law provides that you are to be advised of the following:

                   1. Any admission made in the course of this hearing, interrogation, or examination may be used as the
                      basis for charges seeking your suspension in excess of thirty (30) days, or removal and 1 or discharge
                      from this agency.

                  2.    You have the right to counsel of your own choosing to be present with you at this hearing,
                        interrogation, or examination.

                  3.    You have the right to be given a reasonable amount of time to obtain counsel of your own choosing.

                  4.    You have no right to remain silent. You have an obligation to truthfully answer questions put to you.
                        You are also advised that your statements or responses constitute an official police report.

                  5.   If you refuse to answer questions put to yo~ you will be ordered by a superior officer to answer those
                       questions.                                                             '

                 6.    If you persist in your refusal to answer questions, after the order has been given to you, you are hereby
                       advised that such refusal constitutes a violation of rules and regulations of the Gretna Police
                       Department, which will serve as a basis for which your discharge will be sought

                 7.    You are further advised that by law, any admission made by you during the course of this hearing,
                       interrogation, or examination cannot be used against you in a subsequent criminal proceeding.




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                 Witness:,_ _ _ _ _ _ _ _ _ _ _ __                  Complainant#:       ~-=-
                 Form: 1AD6-3.1 (revised 10/01100)




                                                                                                                              Gretna:0085
                                                                                                        j
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I.




                              NOTIFICATION OF CHARGES AND / OR ALLEGATIONS

       ACCUSED:                                   RANK:          BADGE#:           ASSIGNMENT:
       DANIEL SWEAR                               OFC            127               PATROL DIVISION


                The law provides that if you are to be charged with a criminal offense or if your separation from
       the Department will be sought, you are to be advised in writing of the specific illegal or improper actions
       alleged against or attributed to you.

                Furthermore, Departmental Policy provides that you have a right to be advised in writing of the
       allegation against you, prior to any questioning of you concerning the allegation, regardless of the nature of
       the allegation and even if the allegation is such that it will not result in the filing of Criminal Cbarges or
       Separation Charges against you.

              Accordingly, you are hereby advised that the following illegal or improper acts and / or allegations
      have been attributed to you:




      6-2 INSTRUCTIONS FROM AUTHORITATIVE SOURCE
      6-4 UNSATISFACTORY PERFORMANCE BY MEMBER




      The undersigned hereby acknowled es receipt in writing of the charges and / or allegations.

                                             ~
      Witnesses: --:::79c>'--=:;'-->"-t=t.±:::;::?---
                                                          Signature:
                                                          Complaint #:
                                                                         ~~!~~~~~~~~~=_
                                                                         J.



      Form: IAD6-3.2 (revised 11-07-93)




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              \                                                                                                  Gretna:0086
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        )




                 Date:         August 6,2014

                 To:           OFC Daniel Swear

                 From:         AnthonyH.     ChristianaJr~
                               Depuj~y" Chief of Police


                 Re:          Disciplinary Action


                On July 25, 2014 a review of a Complaint and Administrative Personnel Management
                Report was reviewed and hereby found you in violation of the follm.ving Departmental
                Regulation:

                         DR   6-2    Article 54      Disobedience of Orders
   j.
    /



                Based upon the violations of the above Departmental Regulation you will receive a
                three (3) days suspension 'Without pay.

                Disrespect to a Sergeant on a shift and any rank is unacceptable ~rofessional, '
                although not displayed to the Administration, it is felt all the wayt0 the top. Your
                beha\r1.orand bad attitude reflects poorly upon you and this department as a whole.

                Any further violations of departmental regulations ""ill result in disciplinary action, up
                to and including termination.

                Should you have any questions or concerns, please feel free to contact my office.


                AHC/th



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                                                                                                                Gr-etmr.:0081J
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                                           August 6   1   2014




    I,    Dt:tP.l$), ;[S,we,ar I am in receipt of a letter of disciplinary
    action dated August 6, 20l4.




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    AHcjth




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                   City of Gretna Police
                        Department
         Arthur S. Lawson, Jr., Chief of Police

       To     : Captain Scott Vinson
       From   : sgt Danielle Rodriguez
       Date   : 01-13-15
     . Re     : FTO Daniel Swear - Oral Reprimand for DR 6-4 (Unsatisfactory Performance By
              Members)

      In the month of December with a total of 11 days worked, all of which were in Beat 21
      (Timberlane) which is heavily associated with traffic enforcement and patrol, FTO Swear
      delivered an unsatisfactory performance.

      With approximately 132 hours of patrol time, 3 ARMMS reports were written, 2 ARMMS
      supplements, 1 crash report, 2 JAR misdemeanor arrests, 1 attachment/warrant, 23 MIC's, and
      15 citations were written, 7 of which were on the last day after the deficiency was more
      aggressively addressed. Standard business and residence checks were completed as well as
      patrols of his beat, but do not sustain ajustifiable excuse for lack of daily traffic enforcement.

     I spoke with FTO Swear on December 30th in regards to the deficiency and he felt he
     successfully argued his viewpoint on not issuing citations during the holidays which is the
     reason 8 out of 11 days did not include any type of traffic enforcement. It was explained to
)    FTO Swear that although his viewpoint is appreciated, his duties still include daily and regular
     traffic enforcement despite the holiday season. After this conversation with FTO Swear, he
     assured me that in January he would return to normal enforcement activities and attempted to
     close the gap acquiring 7 citations during that tour of duty.

     I waited to submit this counseling session to provide a report of his current activities and can
     confirm that he is indeed back to normal duties. I feel that this verbal counseling will suffice to
     prevent this from occurring again.



                                                                               Respectfully Submitted,




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                                          EXHIBIT
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               200 Fifth Street, Gretna, Louisiana                                                70053
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           .
                                ADMINJSTRATIVE & PERSONNEL                                                             lAD #
 ,.                                MANAGEMENT REPO:RT
                                                                                                                       GPD ITEM # (RELATED TO COMPLA!Nl")
                                GRETNA POLICE DEPARTMENT
., ,                                                                                                 GPO FORM
       ! MEMBER(S) INVOLVED
                                                                                                                               o UNIDENTIFIED
           FTO DANIEL SWEAR                                                                                                    0   UNIT #
           ALLEGED VIOLATION (Cite Article, Regulations, Order Violated. or General Description of Complaint.)
           DR 6-2 ART. 33 CRITICISM
           DR 6-4 UNSATISFACTORY PERFORMANCE BY MEMBERSR
           lNCIDENTDATE                                     INCIDENT TIME                                INCIDENT LOCATION
           01-27~i5                                        1845    Hours                                 200 5TH ST, GRETNA
           COMPLAINT DATE                                 COMPLAINTTJME                                  METHOD                o PHONE                     0 LETTER
           0:1-27-15                                      1845     Hours                                                       DIN-PERSON                  t8! INTERNAL
                                    ORIGIN OF COMPLAINT                                                              COMPLAINT CLASSIFICA.TION
                                              {Check One)                                                                   (indlcare Primary Complaintl
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                                o   CITIZEN COMPl.AINT
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                                o   INFORMATION RECEIVED
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                                                                                                                o    HARIISSMENTlINTIMIDATION
                                llll INITIATED BY SUpERViSOR
                                                                                                                o    COURTESYJPERSONAl CONOUCT
                                o   COMPl.AINTBYCCHMEMBER
                                                                                                                ·181 POliCY/REGULATION VIOLATION
                                o   RESULT OF INSPECTION/AUDIT
                                                                                                                o    OFF-DLITY MISCONDUCT ALlEGED

                                o TRAFFlC CITATION INIIOLWD                                                     o    ILLEGAL ACTMTY AlLEGED

       COMPLAINANT              o ANONYMOUS              1'81 MEMBER         RACEISEX         DaB                    ADDRESS                                    PHONE

       NAME SGT D. RODRIGUEZ                                                 W/F              10-18-74               200 5TH ST. GRETNA                        504-366-4374
       PERSON INTERVIEVlIED
       NAME
-- ,.PERSON INTERVIEWED
       ,WvtE
      MEMBER INTERVIEWED                                                     DATE            TIME                                                              RIGHTS GIVEN

      NAME                                                                                                                                                     YESDNOD

                  SYNOPSIS (Provide A Brief Description OfTvoe of Com&!.aint IncJi)l;Je DetailS Of Ccmplain~ Ant:! Any JnquirylJnvestJgalion On A Supplemental Rvpott)
      By attending· roll caU on 1127115 with a "gift" of knee pads, vaseline, and other Items for a Sergeant that was not chosen for a
      promotion, which standard translation infers sexual favors would need to be performed in order to be promoted. ImpreSSing a
      derogatory view of the department and its supervisory structure on a recently hired officer, who be personally trained, just
      released from training, as weilas his team mates; which could fureseeably effect their view of the department as welf their
      work ethic by the above listed act

                                          SUPERVISOR'S ACTIONS AND FINDINGS (Check At Least One Siock In Eacil Cc/umn)
       L'8'l INVESTIGATION COMPLETED BY SUPERVISOR                                            o NON-5USTA!NED (pROVIDE INVESTIGATIVE REPORT)
       D INVESTIGATION ON·GOING (SUPPLEMENT TO FOLLOW)                                        D UNFOUNDED (PROVJOE INVESTIGATIVE REPORl")
       o COUNSELING RECORD (COMPLETE REAR)                                                    o EXONERAiED (PROVIDE 1t>.'VESTJGATIVE REPORl")
       o FORMAL REPRIMAND (COMPLETE REAR)                                                     t8! SUSTAINED (PROVIDE INVESTISATIVE REPORT & FILL IN REAR)
       o IMMEDIATE SUSPENSION REQUIRED                                                        D RESOLVED (EXPLAIN IN DETAIL ON REAR)
       o REQUIRES lAD INVESTIGATJON                                                          o VIOLATION OTHER THAN COMPLAINED OF (CITE)
                                                      iNTERNAL AFFAIRS DfSPOSITlON 1 FINAL DISPOSITION
       hi lAD INVESTlGATION INITIAlcD                                   o DISCIPLINARY ACTION                                                   o SUSTAINED
       o VlOLATlON OTIiER THAN COMPLAINED OF                           ·0 FfNE _ _                                                              o UNFOUNDED
       o CQUNSl:1.!NGJREPRIMAND                                         o SUSPENSrON - - DAYS                                                   o NON·SUSTAINED
       o REVIEW SOARD                                                                                                                           o EXONERATED
      o SUBMIT TO SUPERVISOR NAME: :                                                                                                            o RESOLVED
                                           DATE:                                                                                                o NO ACTION TAKEN
                       INVESTIGATING SUPERVISOR                                 DATE                          lAD Rt::"1JIElIV1NG OFFICER                           DATE

      .... GT D. RODRIGUEZ                                                  02-02-15
       I                    .
                            '                  ...

                                                                                MEMBER'S COPY                                  EXHIBIT

                                                                                                                               10
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                             FOLLOW-UP INVESTIGATION INSTRUCT.ONS
      On minor complaints requiring only a resolution or corrective action. the investigating supervisor will list
     what resolution was made. If counseling or reprimand is involved, complete the below Counseling Record
     Section. A detailed narrative report of the supervisor's Investigation must accompany this report. This
     report must be forwarded to the Internal Affairs Division within 5 days of receipt by a supervisor for
     follow-u . A sustained com laint fe uires a deseri tion of what action. was taken b the su ervisor.
                                          RESOt.UTION REPORT/CORRECTiVE ACTION
     I2J MATTER RESOLVED BY: SGT D. R.ODRIGUEZ
     o REMEDIAL TRAINING ORDERED
     o MEDICAL REEVALUATI.ON ORDERED
     o SUBSTANCE ABUSE SCREENING ORDERED
                                     DISCIPLINARY ACTION
     o FINE _ _
     o SUSPENSION_DAYS
     o OTHER:
     o SUBMIT FOR REVIEW (SIGNATURE OF MEMBER NOT REQUIRED)
                                          COUNSELINGIREPRJMANO RECORD

    On this date, 02-02~15 was 0 Counseled 0            Reprimanded for:
                  (MEMSERl


      {gI Violations of Regulations DR 6~2 ART 33 CRITICISM
                                   (CITE RULE REGULATION, ORDER)
      [g/ Unsatisfactory Performance

    Concerning:

      o Reporting Procedures                   o Neatness of Reports           0 Uniform Compliance
     cgj Accepting Direction/Attitude                  o Care/Use of Equipment     0 Dealing with Public
     o Knowledge of Police Procedure/Regulations       o Knowledge of Law
     o Handling Complaint/Investigation       o Handling Property/Evidence
     D Radio Procedure                  o Vehicle Maintenance
     D Other: _ _
    Comments:



                              ru:;J<~r;;w-T OF ADMINISTRATIVE ACTION                         REFUSED TO SIGN


                                                                                   DATE                       TIME
                                                                            RANK                       DATE

                                                                                                      I   2-~2.-J5




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                                          INSTRUCTIONS

  "
  ) This form is to be completed by ranking officers of the grade of Sergeant, Supervisor, or
    higher, including Civilian Supervisors, immediately upon receipt of a citizen's complaint
    (including prisoners), information of alleged personnel misconduct, or upon observing;
    personnel misconduct.

     When a complaint is taken Of reported by a supervisor, he shall complete the information on
    the front of the form. The supervisor will always attach a detailed narrative report concerning
    the complaint on a supplement sheet. He will detail his investigation and his findings. He will
    mark his findings on the front of the form upon completion of his Investigation. If he
    determines the matter is non-serious and can be resolved on his level of command; he shall
    indicate what action he has taken on the rear of the form. He will list Resolution/Corrective
    Action taken; Discipjinary Action taken; or Counseling/Reprimand given. Copies marked '(IAO
    ORIGINAL", "FOlLOW.UP", "REVIEW BOARD/CHIEF" I and "MEMBER" will always be
   submitted through the chain of command to the Internal Affairs Division. Supervisors will
   complete investigations as soon as possible, and will report progress in all investigations no
   later than five (5) d?lYs past the filing of the initial report. FOLLOW-UP REPORTS will include
   a detailed narrative of the investigation, persons interviewed and a final determination and
   findings of the Investigating supervisor.
   The copy marked "COMMANDER" will be submitted to Commander of Operations.

       Ranking supervisors may be required to initiate the follow-upinvestigatron of complaints
       received by another or through the Internal Affairs Division. They shall complete the copy
.. '\) marked "FOLLOW-UP" and return it along with their narrative report of their investigation no
     / later than five (5) days after receipt, through the chain af command to lAD.




                                  FINDINGS CLASSiFICATIONS
  UNFOUNDED - There is evidence that the mattef complained oflincident complained of DID
              NOT OCCUR.

  EXONERATED - There is evidence that the matter/incident did take place, but the officers
                     actions were proper and within regulation.

  NON-SUSTA1NED - There is not enough evidence to support whether the matterfincident
                       complained of did or did not occur.

  SUSTAIN,ED - There is evidence that the accused is in violation of regulation/policy/orders.

  VIOLATION OTHER THAN COMPLAINED OF - There is evidence that the accused is in
                                                     violation of a regulationlpolicy/order not
                                                     originally cited as violated.
    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 182 of 297



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                                   RIGHT$.RELATIVETO APMINISTRATIVE,PROCEEDlNGS
                                      . .. . ... (STNrurORY)    . .... ........ .... . .

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                                                   NQT1FICATIONOECHARGE~ANPIPR A:LLEGAT10NS

                       .ACCUSED:                                    .·RANK:                           aADGlti,l;                ASSIGNMENT:
                        .FTODANLEL.SWEAR                             ETC)                             ii7                       13~TEA:MiBATROL

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    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 184 of 297




               To:     Sergeant Christopher Tapie
               Fram:   FTO Daniel SWear
               CC:     Sergeant Philip Saladino; Captain Scott Vinson
               Date:   2 February 2015


      1 am respectfully submitting this letter of resignation. Personal circumstances have lead
      me to this decision in separating from full tiIDe employment with the Gretna Police
      Department. I am willing to work two additional weeks in order to provide the
      opportunity to make the necessary moves to prevent a personnel shortage; therefore, I
      will end my employment at the end of this pay period on Thursday, February 12, 2015.

      In closing, I respectfully request to retain my commission in a reserve capacity. Thank
      you in advance for your consideration.




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, i       UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

          ******************************************************************************
          DANIEL SWEAR                              *
                                                    *     SUIT NUMBER: 15-6591
                                                    *
                                                    *     A CIVIL ACTION
                                                    *
                                                    *     SECTION: "G"
          VERSUS                                    *
                                                    *     MAGISTRATE "1"
                                                    *     NANETTE JOLIVETTE BROWN
          ARTHUR LAWSON, et at.                     *
                                                    *     THE HONORABLE JANIS VAN
                                                    *     MEERVELD PRESIDING

          ******************************************************************************

                              RESPONSES TO REQUESTS FOR PRODUCTION

          TO:    Arthur Lawson, et aI.
                 Through their attorney of record:
                 Steven M. Mauterer
                 Beevers & Beevers, LLP
                 210 Huey P. Long Ave.
                 Gretna, LA 70053-5816

                 NOW INTO COURT, through undersigned counsels, comes Daniel Swear who,

          reserving his right to amend and/or supplement his responses as necessary, answers the requests

          for production propounded by defendants, Arthur Lawson, et ai, as follows:

          REQUEST FOR PRODUCTION NO.1:

                  Produce copies of the quota policy you were informed that the Gretna Police

          Department instituted during the December 17,2014 and/or December 19,2014 mandatory

          meeting.




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                                                                                       EXHIBIT
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    RESPONSE:

            Mr. Swear objects to the request for production as written. The request for production

    inappropriately states' that the illegal quota policy was implemented by the Gretna Police

    Department on December 17 and/or 19,2014. The Gretna Police Department's quota policy was

    in place prior to the dates identified by defendants in their request for production of documents.

    Mr. Swear further objects as this request is premature as discovery has only just commenced.

           Subject to and not waiving those objections, Mr. Swear states that he was not provided

    with a written copy of the policy in question, however, that the following documents and/or

    things in possession are evidence of the Gretna Police Depaliment's illegal quota policy:

               1. Audio of Recordings, 12/20114 - Danielle Rodriguez and Daniel Swear

               2. Audio of Recordings, 02/03115 - Philip Salvino

               3. Audio of Recordings, 01/07114 - Paul Pichoff, Philip Salvino and J R Rogers

               4. Documented Oral Reprimand, 01113115

               5. Individual Stat Sheet Team C, 12115114

               6. Individual Stat Sheet Team C, 01/2015

               7. Photograph of Scott Vinson's Board in his Office

    REQUEST FOR PRODUCTION NO.2:

            Produce copies of the mandatory disciplinary action for non-compliance with the

    quota policy.

    RESPONSE:

           Mr. Swear objects as this request is premature as discovery has only just commenced.


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     Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 187 of 297




            Subject to and not waiving that objection, that the following documents and/or things in

    his possession evidence mandatory disciplinary action for non-compliance with the Greta Police

    Departments' illegal quota policy.

                1. Audio of Recordings, 12/20/14 - Danielle Rodriguez and Daniel Swear

               2. Audio of Recordings, 01107114 - Paul Pichoff, Philip Salvino and J R Rogers

               3. Documented Oral Reprimand, 0111 3/15 .

    REQUEST FOR PRODUCTION NO.3:

             Produce copies of all affidavits, depositions, statements, emails, texts, and audio or

    video recordings (whether recorded surreptitiously or otherwise), of, from, or to, any individual

    who may have any information relating to any allegations set forth in the Complaint, who may

    have had some knowledge pertaining to any of the issues set forth in the Complaint, or pertain in

    any way to the allegations set forth in the Complaint.
)
    RESPONSE:

           Mr. Swear objects to the extent that' interrogatory seeks information subject to

    attorney/client privilege and/or attorney work or opinion product. Mr. Swear further objects to

    the extent that interrogatory requests information that is not discoverable in accordance with

    Federal Rule of Civil Procedure 26.

           Subject to and not waiving those objections, please see the following:

               ]. Audio of Recordings, 12/20/14 - Danielle Rodriguez and Daniel Swear

               2. Audio of Recordings, 02/0311 5 - Philip Salvino

               3. Audio of Recordings, 01/07/14 - Paul Pichoff, Philip Salvino and J R Rogers

               4. Text Messages with Danielle Rodriguez.


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)   REQUEST FOR PRODUCTION NO.4:

             Produce copies of any and all documents or reports produced by investigators of any

    type, including, but not limited to, any private investigators in any way concerning this litigation.

    RESPONSE:

            Mr. Swear objects to the extent that interrogatory seeks information subject to

    attorney/client privilege and/or attorney work or opinion product. Mr. Swear further objects to

    the extent that interrogatory requests information that is not discoverable in accordance with

    Federal Rule of Civil Procedure 26.

           Subject to and not waiving those objections, Mr. Swear is not in possession of responsive

    documents at this time.

    REQUEST FOR PRODUCTION NO.5:

             Produce copies of any and all video surveillance tapes and/or audio tapes produced by

    investigators of any type, including, but not limited to, any private investigators in any way

    concerning this litigation.

    RESPONSE:

           Mr. Swear objects to the extent that interrogatory seeks information subject to

    attorney/client privilege and/or attorney work or opinion product. Mr. Swear further objects to

    the extent that interrogatory requests information that is not discoverable in accordance with

    Federal Rule of Civil Procedure 26.

           Subject to and not waiving those objections, Mr. Swear is not in possession of responsive

    documents at this time.




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 )   REQUEST FOR PRODUCTION NO.6:

              Produce copies of all photographs that in any way pertain to the allegations set forth

     in the Complaint.

     RESPONSE:

            Mr. Swear objects to the extent that interrogatory seeks information subject to

     attorney/client privilege and/or attorney work or opinion product. Mr. Swear further objects to

     the extent that interrogatory requests information that is not discoverable in accordance with

     Federal Rule of Civil Procedure 26.

            Subject to and not waiving those objections, please see the following:

                  1. Individual Stat Sheet Team C, 12/15/14

                  2. Individual Stat Sheet Team C, 011215

                  3. Photograph of Scott Vinson's Board in his office.
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 )
     REQUEST FOR PRODUCTION NO.7:

            Produce copies of all medical records documenting the diagnosis and treatment of

     humiliation, embarrassment, and mental pain and anguish as alleged in Paragraph 44 of your

     Complaint.

     RESPONSE:

            Mr. Swear is not in possession of responsive documents at this time.

     REQUEST FOR PRODUCTION NO.8:

             Produce copies of all documents establishing your claim for lost wages and earnings

     as alleged in Paragraph 44 of your Complaint.




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  ':   RESPONSE:

              Mr. Swear's income was based exclusively upon his salary and duty work as a

       commissioned officer. Any documents evidencing loss of wages would be in the care, custody

       and control of his former employer the Gretna Police Department. Further, his forced resignation

       terminated all income until his subsequent employment.

       REQUEST FOR PRODUCTION NO.9:

               If not produced in response to Request for Production 1-9, produce copies of the

       audio recordings identified in Section III A of your Rule 26 Disclosures.

       RESPONSE:

              Please see responses to defendants' request for production numbers 1-8.

       REQUEST FOR PRODUCTION NO. 10:

               If not produced in response to Request for Production 1-10, produce copies of the
  "\
  )
       Documents identified in Section III B of your Rule 26 Disclosures.

       RESPONSE:

              Please see responses to defendants' request for production numbers 1-9.

       REQUEST FOR PRODUCTION NO. 11:

              Produce copies of any and all documents physical or documentary evidence whose

       production has not been requested pursuant to any other item of this request which you

       may offer into evidence at the trial of this matter.




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    RESPONSE:

           Mr. Swear objects as defendants' request is premature. Subject to and not waiving

    that objections please see responses to defendants' request for production numbers 1-9.

                                         Respectfully submitted,

                                        MOORE & HEBERT, APLC




                                        s/Corey 1. Hebert
                                        Charles R. Moore, La. Bar Roll No. 9604
                                        Corey 1. Hebert, La. Bar Roll No. 31773
                                        6513 Perkins Road
                                        Baton Rouge, Louisiana 70808
                                        Telephone: (225) 766 1100
                                        Fax: (225) 767-4486
                                        Attorneys for the Plaintiff

                                        AND

                                        Seth M. Dornier (La. Bar. #32804)
                                        DORNIER LAW FIRM, LLC
                                        16851 leffersonHighway; Suit B-6
                                        Baton Rouge, Louisiana 70817
                                        Telephone: (225) 389-6664
                                        Facsimile: (225) 372-2430
                                        Email: Seth@DornierLaw.com
                                        Attorney for the Plaintiff




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                                         CERTIFICATE OF SERVICE

           I hereby certify that a copy of the above and foregoing Responses to Requests for

    Production has been served via electronic mail and US mail to the following counsel of record:

           Steven M. Mauterer
           Beevers & Beevers, LLP
          ·210 Huey P. Long Ave.
           Gretna, LA 70053-5816

           smautererr'Ci)beevers [a w. CO 111

               Done and signed in Baton Rouge, Louisiana, on this 6th day of June, 2017.




                                          s/Corey 1. Hebert
                                                 Corey J. Hebert




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             City of Gretna Police
                  Department
      Arthur S. Lawson, Jr., Chief of Police

 To       Captain Scott Vinson
 From     Sgt Danielle Rodriguez
 Date     01-13-15
ORe     : FTO Daniel Swear - Oral Reprimand for DR 6-4 (Unsatisfactory Performance By
        Members)

 In the month of December with a total of 11 days worked, all of which were in Beat 21
 (Timberlane) which is heavily associated with traffic enforcement and patrol, FTO Swear
 delivered an unsatisfactory perfonnance.

With approximately 132 hours of patrol time, 3 ARMMS reports were written, 2 ARMMS
supplements, 1 crash report, 2 JAR misdemeanor arrests, 1 attachment/warrant, 23 MIC's, and
15 citations were written, 7 of which were on the last day after the deficiency was more
aggressively addressed. Standard business and residence checks were completed as well as
patrols of his beat, but do not sustain a justifiable excuse for lack of daily traffic enforcement.
                                                th
I spoke with FTO Swear on December 30 in regards to the deficiency and he felt he
successfully argued his viewpoint on not issuing citations during the holidays which is the
reason 8 out of 11 days did not include any type of traffic enforcement. It was explained to
PTO Swear that although his viewpoint is appreciated, his duties still include daily and regular
traffic enforcement despite the holiday season. After this conversation with FTO Swear, he
assured me that in January he would return to nonnal enforcement activities and attempted to
close the gap acquiring 7 citations during that tour of duty.

I waited to submit this counseling session to provide a report of his current activities and can
confirm that he is indeed back to normal duties. I feel that this verbal counseling will suffice to
prevent this from occurring again.



                                                                      Respectfully Submitted,




                                                                 ~~=----
         200 Fifth street, Gretna, Louisiana                                           70053
           (5C}4) 363-17ClO               4f.
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                                                        DEPARTMENT 'i'EAM STATISTICS
                                                                DECf-iiVIIlER
                                                                    -
                                                                   1111-1

                                  "A" TEAM   "S" TEAM     "e" TEAM -            "O"TEAM     TOTALS
 1. TOTf.\L COMPLAINTS               931        786          597                   507        2821
 2. NON-RTF'S                        687        501          382                   309        1879
 3. OLD COMPLAINTS                    49         56           50                    25         180
 4. ASSISTS                          376        428          360                   380    .___"!i'1L_
 5. ARMMS                            95         96           57                   60          30B
 6. SUPPLEMENT                       12         14            B                    9           43
 7. VEH. STOLEN
                                                1                                               1
 8. VEH. RECOVERED                   2                                              1          3
 9. ACCIDENT                         26        16             7                     4          53
10. SUMMONS                          4          4             2                     2         12
'11. WARRANT/ATIACHMENT             119        157           143                  123         542
12. FELONY ARREST                    10         4             6                    10          30
13. MISDEMEANOR ARREST               64         46            44                   37         191
14. OWl ARREST
15. JAR FELONY                       2                                             2           4
                                                                                                        --
'16. JAR MISDEMEANOR
17. CITATlm!S
18. RADAR CITATIONS
                                     4
                                    409
                                                6
                                               276
                                                              2
                                                             247
                                                                            .      4
                                                                                  255
                                                                                               16 . - - c - -
                                                                                              1183
                                    38          74            12                  24          148
19. PARKING CITATIONS                5           1                                             10
                                                              'J                   3                  -..,--
20. WARNING CITATIONS
21. LICENSE PLATES                                                                                     --
                                    22          10            18                  13            63
22. BUSINESS CHECKS          .-                                                                        ".-
                                    603        533           590                  247         1973
23. RESIDENCE CHECKS                 51        307                                             516
24. VEHICLE CHECKS                  40
                                                             142                   16                  .-
                                               49            75                   43           207
25. VEHICLE TAGGED                    3         1                                                4
26. VEHICLE TOWED                    7           5                      f                                -
                                                             15                   12            39
27. PEDESTRIAN CHECKS                24        21             25                  16            86
28. FIC/MIC                                                                                            -:--
                                    280        103           124                  97          604
29. lITIERING
                                                                                                        -."-
30. REFERRALS
                                                                        .
         DAYS WORKED                16         15             16                               31
                                                                                  15
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DECEMBER 2014
                                                             MONTHLY TEAM STATISTICS                                                       "A" TEAM




                                          ALFARO   BRYSON   lULLER   BARTLETT,   MATTE   DOUGHERTY   BOUDREAUX   COMlIf   OTHER   TOTAL
                 1. TOTAL ITEMS            132      159      119       117        80        125         146       38       15      931
                 2. NON-RTF'S              105      125      65         89        56        124         109        0       14      687
                 J. OLD COMPLAINTS          2        11       8          4         0         0           2        22        0       49
                 4. ASSISTS                39        17      56         56        41        22          40         0       105     376
                 5. ARMMS                  14        15      18         13        13         1          20         0        1       95
                 6. SUPPLEMENT              1         4       6          0         0         0           1         0       0        12
                 7. VEH. STOLEN             0         0       0          0         0         0           0         0        0        0
                 8. VEH. RECOVERED          1         0       0          0         0         0           1         0       0         2
                9. ACCIDENT                 4        11       3          3         4         0           1         0        0       26
                10. SUMMONS                 0         0       0          2         1         0           1          0       0        4
                 11. WARRANT/ATTACHMENT    11        12      27          9         6         0          16         38       0      119
                 12. FELONY ARREST          0        0        0          4         4         0          2           0       0       10
                 13. MISDEMEANOR ARREST     9        6       20 .        7
                                                                             ,     7         0          15          0       0       64
                 14. OWl ARREST             0        0        0          0         0         0           0          0       0        0
                15. JAR FELONY              0         0       0          0         0         0           2          0       0        2
                 16. JAR MISDEMEANOR        0         1       0          1         1         0           1          0       0        4
                17. CITATIONS              26        39       62        13        22        146         90          0      11       409
                18. RADAR CITATIONS        11        3        7          6         2         6           3          0       0        38
                19. PARKING CITATIONS       0        3         0         2         0          0          0          0       0         5
                20. WARNING CITATIONS       0        0         0         0         0          0          0          0        0        0
                21. LICENSE PLATES          0        0         B         2         4          0          B          0        0       22
                22. BUSINESS CHECKS        36       104       23        15        17         86         26          0      296      603
                23. RESIDENCE CHECKS        1        5         2         0         2         34          6          0       1        51
                24. VEHICLE CHECKS          2        6         2         5         3          5          17          0      0        40
                25. VEHICLE TAGGED          1         1        0         1         0          0          0           0      0         3
                26. VEHICLE TOWED           0         0       1          1         4          0          1           0      0         7
                27. PEDESTRIAN CHECKS       3         0       4         4           6         0          7           0      0         24
                28. FIC/MIC                40        45       29        32         28        56          44          0      6        280
                29. LITTERING                                                :                                       0      0          0
                                            0         0        0         0          0         0          0
                30. REFERRALS               0         0        0         0          0         0          0           0      0          0
                      DAYS WORKED          12.5     13.5     14.5       13        13.5       15         13.5        16      16        16
             Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 196 of 297




                                          '~~ MONTHLY TEAM STATISTICS                                                             "'\" TEA[\l

                                       ~.


                         Al.r,~RO   BRYSON    MILLER   IIARTLETI   ~IATTE   DOt!GIIF.RTY   HOlllJREAUX   CO~I~f   OTHER   TOTAL
1. TOTAL ITEMS             87        71         61        53                    69             82                         .423
2. NON-RTF'S               72        56         40        37                    67             48                          320
3. OLD COMPLAINTS           0         1          3         2                     1              0                            7
4. ASSISTS                 21        11         29        17                    16             22                           116
5. ARMMS                   '10        9         16        11                     1             17                            64
6. SUPPLEMENT               0         0         2          2                     0              0                            4
7. VEH. STOLEN              0         0          0                               0              0                           0
8. VEH. RECOVERED           0         0         1                                0              1                           2
9. ACCIDENT                 1         0         0          1                     0              1                           3
10. SUMMONS                 0         0         0                                0              0                           0
11. WARRANTIATTACHMENT      3         6         1          3                     0             17                           30
12. FELONY ARREST           0         0         1                                0              2                            3
13. MISDEMEANOR ARREST      5         1         7          8                     0             11                           32
14. DWI ARREST              0         0         0                                0              0                           0
'15. JAR FELONY             0         0         0                                0              0                           0
16. JAR MISDEMEANOR         0          0        0         1                      0              0                           1
17. CITATIONS               18        20        43        26                    109            37                          253
 18. RADAR CITATIONS        10        0          7         6                     5              5                           33
19. PARKING CITATIONS        0        0          0                               0              0                            0
20. WARNING CITATIONS        0        0         o.                               0              0                            0
21. LICENSE PLATES          1         1          5         2                     0              2                           11
22. BUSINESS CHECI(S        16        19        6                                38             8                           B7
23. RESIDENCE CHECI<S        0        0          8                               18             6                           32
24. VEHICLE CHECKS          2         3          2         2                     1              7                           17
25. VEHICLE TAGGED          0         0          2                               1              0                            3
26. VEHICLE TOWED           0         0          2                               0              2                            4
27. PEDESTRIAN CHECKS       1         0          0         1                     0              2                            4
2B. FIC/MIC                 36        22        25        22                    43             20                          '168
29. LITTERING                0        0          0                               0              0                            0
30. REFERRALS                0        0         0                                0              0                            0
      DAYS WORI(ED          B.5       8         9          5                    8.5            7.5                         46.5
                            Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 197 of 297



AUGUST 2014
                                                                     MONTHLY TEAM STATISTICS                                                       nAn TEAM




                                       MEKDESSIE   ALFARO   BRYSON      MILLER   BARTLETT   MATTE   DOUGHERTY   BOUDREAUX   COMM   OTHER   TOTAL
              1. TOTAL ITEMS              65         94      15B         1B2        I        141       11B         187       80     12     1037
              2. NON-RTF's                60         71      122         104        0        101       111          89        0     10      668
              3. OLD COMPLAINTS            0          0       5           11        D         9          2          12       43      1      83
              4. ASSISTS                  19        33        29          90                 58         21          55        0     143     446
               5. ARMMS                    0         7        15          25                  16         2          21        0      1       87
               6. SUPPLEMENT               1          0        1           6                   0         0           2        0      1       11
               7. VEH. STOLEN              0          0        0           0                   0         0           0        0      0        0
               8. VEH. RECOVERED           0          0        0           0                   0         0           0        0      0        0
               9. ACCIDENT                 1          3        8           4                   5        1            2        0      0       24
              10. SUMMONS                  0          0        4           4                   1        0            4        0      0       13
              11. WARRANT/ATTACHMENT       3         12        9          36                  18        3          72        80      1      236
              12. FELONY ARREST            0          1        0           2                   0         0         2         0       0        5
              13. MISDEMEANOR ARREST       0          1        6          12                  10         0         13        0       2       44
              14. DWI ARREST               0          0        0          0                  .0          0          0        0       0        0
              15. JAR FELONY               0         0        0           0                    0         0          0        0       0        0
              16. JAR MISDEMEANOR          0          0        0           0                   1         0          0        0       0        1
              17. CITATIONS               79         27       65          59                  53       117         105       0       0      505
              18. RADAR CITATIONS         21         11        2          19                  10        21          1        0       0       65
              19. PARKING CITATIONS        0          0        1           0                   0         0          0        0       0        1
              20. WARNING CITATIONS        0          0        0           0                   0         0           0       0       0        0
              21. LICENSE PLATES           6          0        0           5                   3         0          12       0       0       26
              22. BUSINESS CHECKS         67          1       43          13                   0        60           2       0      107      293
              23. RESIDENCE CHECKS         0          6        4          20                  0         51          5        0       0       86
              24. VEHICLE CHECKS          11          5        6          6                  10          0          18       0       0      56
              25. VEHICLE TAGGED           0          1       1           1                   0          0           0       0       0        3
              26. VEHICLE TOWED            0          0       1           4                   1          0          4        0       0       10
              27. PEDESTRIAN CHECKS        0          0        1          3                   8          0           6       0       0       16
              28. FICIMIC                 47         40       89          56                 59         52          55        0      4      402
              29. LITTERING                0          0        2          0                   0          0           0       0       0       2
              30. REFERRALS                0          0        0          0                   0          0           0        0      0        0
                      DAYS WORKED         11          9       17          17                 13         17          14       17      17      17
                         Case 2:15-cv-06591-NJB-JVM Document, 31-2 Filed 09/25/17 Page 198 of 297
                             MONTHLY TEAM STATISTICS       ~/                                       r .-ON




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        From:          Daniel Swear
        To:            Corey Hebert;
        Subject:       Gretna Picture Att. 2
        Date:          Tuesday, March 24, 2015 6:53:33 PM
        Attachments:   Danielle Text l.PNG
                       Danieile Text 2.PNG
                       Danielle Text 3.PNG




              The following 3 texts correspond to the information under 12-30-14
                •• oc,,~) Verizon        LTE                    21 :43             @   *77%_}

                 <     t\~essages :Daniene Rodriguez'                                  D. . . ta;H~·s
                                                                                        . t;;',it. . iii G: ...




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    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 201 of 297




     < ilAessages OanielleRodriguez   Dt"ta~ls




       You have to hover
       around somewhere
       you are suppose to
       be




       Don 1l worry about
       that exact number
       just do traffic with
       him toniaht_ I will do



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        Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 202 of 297


         ••.. ,~ ... Verjzon LTE          21.:4~


                                   Danielle :Rodriguez   Details




              Donlt worry about
             that exact number
             just do'trafiic,with
             ,bimtortlght.:I Wmdo .
             what) cando.
              It~s thelastni"ght~ "1
             should .have had this .




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      Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 203 of 297


     From:        Daniel Swear
     To:          Corey Hebert:
\!   Subject:     Gretna Picture Att. 1
     Date:        Tuesday, March 24, 2015 6:53:15 PM




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    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 204 of 297




        Policy to go with 12-19-14 Info (3 images)



                                                       §..r,et:tta PQ]~p"!pmm..!!:p.!
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            ''rLe    ":!<i.     f'         .      _.'"                                                               .
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            lo.r tbet. PU'l1".tO!;),C ,tJ[ S'tEI!TCpti:ticmsily ll1:t:iNdi:n,g;ll:.ny .r;;0111ll1::,:s~p(IiO relating in :am(j'
            v>'?r. dtR'.:::tl,y at lndur!!t;'tly. t:v the DtlJ);£trtmertl, or lbusiriC$$ I3!f the .D-opan:ment,
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            CQlJil1'CT:>l.1tiOt" is ll¢ing n:~ordcd wiiloch wOlUldi p~:eltet.It, O~' luhlit:!tt, the hon:t!;!>t ,and
             S]X.I!llt~it1~:lm~, diaJggqe,r,. ""hem :f~1.r(!g,()I.i.~li!: ,1iITC disc;l.rJssed:"

             'Th'f. PG'licy ahWl eq!;l~a~S apply whell~;l~h¢r pOil.rt)' ·(if ilic conVCt$ill,tiM j;tj; ~ .
              l'tM=miOOraif ,;Jl(!: j)r:;partme:rn wh~, is; "'o!Ji" Of UCliff' chJity..nf n,.¢ ctl'.ll....ef'Bation relates
              diiTedJJI', '~r .ndi:n::ct"~' T;(I' the 'b:ust;m:::ss ;lJ.! the: D:cpa.Ttment.

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                        ~, ,n ~lIi mtc~C1<)itl l,:'1lt!!l!ltlg{tllDil :sr,.jl,~et:!t 'j:Ci ith>e l!tpflXo ..       .'
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        Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 205 of 297




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    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 206 of 297




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        Daniel W. Swear

        Cell   (504) 319-2718




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       Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 207 of 297




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                              RlGHTS RELATIVE TO ADMINISTRATIVE PROCEEDINGS
                                                       (STATUTORY)

        NAME:                                            BADGE#:          ASSIGNMENT:
        BRYSON,TIIOMAS "BO"                              116              PATROL "A" TEAM

        DATE:                      TIME:

        The law provides that you are to be advised of the following:

     /1. Any admission made in the course of this hearing, interrogation, or examination may be used as the
            basis for charges seeking your suspension in excess of thirty (30) days, or removal and / or discharge
            from this agency.

            You have the right to counsel of your own choosing to be present with you at this hearing,
            interrogation, or examination.

            You have the right to be given a reasonable amount oftime to obtain counsel of your own choosing.

            You have no right to remain silent. You have an obligation to truthfully answer questions put to you.
)           You are also advised that your statements or responses constitute an official police report.

            If you refuse to answer questions put to you, you will be ordered by a superior officer to answer those
            questions.

           If you persist in YOlE refusal to answer questions, after the order has been given to you, you are hereby
           advised that such refusal constitutes a violation of rules and regulations of the Gretna Police
           Department, which will serve as a basis for which YOlE discharge will be sought.

           You are further advised that by law, any admission made by you during the course of this hearing,
           interrogation, or examination cannot be used against you in a subsequent criminal proceeding.




       Witness:                                          Signature: -+A~--=-~----~'C:"""=--


       Witness}?
               (7
                    ~/
                     ~
                       Complainant#:_ _ _ _ _ _ _ _ __


       Form: JAD6-3.1 (revised 10/01100)


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                            NOTIFICATION OF CHARGES AND J OR ALLEGATIONS

     ACCUSED:                                   RANK:          BADGE#:          ASSIGNMENT:
     BRYSON, THOMAS "BO"                          PO            116             PATROL "A" TEAM


              The law provides that if you are to be charged with a criminal offense or if your separation from
     the Department will be sought, you are to be advised in writing of the specific illegal or improper actions
     alleged against or attributed to you.

             Furthermore, Departmental Policy provides that you have a right to be advised in writing of the
    allegation against you, prior to any questioning of you concerning the allegation, regardless of the nature of
    the allegation and even if the allegation is such that it will not result in the filing of Criminal Charges or
    Separation Charges against you.

            Accordingly, you are hereby advised that the following illegal or improper acts and I or allegations
    have been attributed to you:


    Officer Bryson has been empolyed by the City of Gretna Police Deparlment since June 20, 2014. Since
    this time Officer Bryson has not met the department standard. He has been counseled by both of his
    immediate supervisors (Lieutenant J R Rogers, Sergeant Brian Rico) numerous times and was instructed
    to improve and meet such standard. Officer Bryson advised said supervisors that he would improve and
    meet the standard. As of this date no improvements have been made.




    The undersigned hereby acknowledges receipt in writing of the charges and J~>UA''''''


    Witnesses:f-:-_-F.,i7--r_ _ _ _ __                  Signature:

             !-~~~=- Complaint #:
    Form: lAD6-3.2



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                       Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 209 of 297
                                                                                                          lAD #
                          ADMINISTRATIVE & PERSONNEL
.
                                  MANAGEMENT REPORT                                                      GPD ITEM # (RELATED TO COMPLAINT)
                           GRETNA POLICE DEPARTMENT
                                                                                             GPDFORM
"         '~MBER(S) INVOLVED
                                                                                                                  o UNIDENTIFIED
           Json, Thomas "Bo"                                                                                   x UNIT# 116
      ALLEGED VIOLATION (Cite Article, Regulations, Order Violated. or General Description of Complaint.)
      DR 6-4 "Unsatisfactory Performance"

     INCIDENT DATE                                 INCIDENT TIME                               INCIDENT LOCATION
     October 1, 2014                              0930    Hours                                200 5th street Gretna, La
     COMPLAINT DATE                               COMPLAINT TIME                               METHOD             o PHONE                     o LETTER
     October 1, 2014                     0930 Hours                                                               X IN-PERSON                 o INTERNAL
                            ORIGIN OF COMPLAINT                                                         COMPLINT CLASSIFICATION
                                       (Check One)                                                           . (Indicate PrimalV ComDlalnll
                                                                                                     o EXCESSIVE FORCE AlLEGED
                          o CITIZEN COMPlAINT
                                                                                                     o UNAUTHORgEDENTRYffiEARCWARREST
                          o INFORMATION RECEIVED
                          o VIOLATION OBSERVED                                                       X UNSATISFACTORY PERFORMANCE

                         X INITIATED BY SUPERVISOR
                                                                                                     o HARASSMENTRNTIMIDATION
                                                                                                     o COURTESYIPERSONAl CONDUCT
                         o COMPLAINT BY CO-MEMBER
                                                                                                     o POLICYIREGULATION VIOLATION
                         o RESULT OF INSPECTION/AUOIT
                                                                                                    [] OFF·OlITY MISCONDUCT ALLEGED
                         [] TRAFFIC CITATION INVOl.VED
                                                                                                    [] ILLEGAL ACTIVITY ALLEGEO
    COMPLAINANT           D ANONYMOUS            x MEMBER            RACE/SEX         DOB              ADDRESS                                    PHONE

    NAME
    PERSON INTERVIEWED
    NAME
     . '~SON INTERVIEWED
          J~E
    MEMBER INTERVIEWED                                               DATE             TIME                                                        RIGHTS GIVEN

    NAME                                                                                                                                          YESDNOD
             SYNOPSIS lProlJi.de.d Brief Descrlplion Of r~ of Camg.lalnt. Inr;/ude Details Of Camplaint, And Any Inqu/ryllnvestigatJon On A SUpplemental Report)
    Officer Bryson has been empolyed by the City of Gretna Police Department since June 20, 2014. Since this time Officer
    Bryson has not met the department standard. He has been counseled by both of his immediate supervisors (Lieutenant J R
    Rogers, Sergeant Brian Rico) numerous times and was instructed to improve and meet such standard. Officer Bryson advised
    said supervisors that he would improve and meet the standard. As of this date no improvements have been made.



                                    SUPERVISOR'S ACTIONS AND FINDINGS (Check At Least One Block In Each Column)
     o INVESTIGATION COMPLETED BY SUPERVISOR                                          o NON-SUSTAINED (PROVIDE INVESTIGATIVE REPORT)
     o INVESTIGATION ON-GOING (SUPPLEMENT TO FOLLOW)                                  o UNFOUNDED (PROVIDE INVESTIGATIVE REPORT)
     X COUNSELING RECORD (COMPLETE REAR)                                              o EXONERATED (PROVIDE INVESTIGATIVE REPORT)
     o FORMAL REPRIMAND (COMPLETE REAR)                                               o SUSTAINED (PROVIDE INVESTIGATIVE REPORT & FILL IN REAR)
     o IMMEDIATE SUSPENSION REQUIRED                                                  X RESOLVED (EXPLAIN IN DETAIL ON REAR)
                                                                                      o VIOLATION OTHER THAN COMPLAINED OF (CITE)
     o REQUIRES lAD INVESTIGATION
                                               INTERNAL AFFAIRS DISPOSITION J FINAL DISPOSITION
    g lAD INVESTIGATION INITIATED                               o DISCIPLINARY ACTION                                             g SUSTAINED
     o VIOLATION OTHER THAN COMPLAINED OF                       o FINE                                                            o UNFOUNDED
     o COUNSELINGIREPRIMAND                                     o SUSPENSION - - DAYS                                             o NON-SUSTAINED
     o REVIEW BOARD                                                                                                               o EXONERATED
    o SUBMfTTO SUPERVISOR NAME::                                                                                                  o RESOLVED
                                        DATE:                                                                                     o NO ACTION TAKEN
                     IWf:STIGATING SUPERVISOR                               D9.TI:/                 lAD REVIEWING OFFICER                             DATE


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            Output for: G0731

            ClicK on heading to change sort order.
             Event
             IncName
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                               iEJIDAREA "Area Wnit IEJEJILocation                                            ,
            1!l§143350068         1~~~11l:57 1112:05 1120 COLONY RD. GR
                             1[]11018                                                                         I
            1!l§143350069 1011018 1~~~112:05 1112:14 11448 FAIRFIELD AVE. GR ':;'.                            I
            1tffi143350097 10121  1~~~115:03 11 15 :12 1110 FERNWOOD ST. GR                                   I-
            itt§1433501l2 IEI~~~~]17:20 1117:31 114 WILDWOOD RD. GR                                       :1
            11t§143350130 IDEI~~~122:00 1122:03 111000 LAPALCD BLVD. GR                                       1
            1[12102114]      1
            1tt§143360001    ID~~~~100:12, 1100:13 1111 COLONY RD, GR                                         I
            \1t§143360004    IEJ~~~~100:35 1100:39 11153 MEADOWBROOK DR, GR                                   I
            itt§143360007    ID~~~~106:141106:20 IITIMBERLANE DR/BELLE CHASSE HWY. GR                         1
            1!t§143360091    IDEI~~~119:28                    1119:32 111000 LAPALeo BLVD. GR                 1
            1!t§143360093    IDEI~~~119:39                    1120:08 111000 LAPALCD BLVD. GR                 I
            ~143360097       1E]~~~~120:41 1120:49 11305 HAWTHORNE ST. GR                                     I
            1#G143360101     ID~~1521 1~121:26 1121:35 111000 LAPALCD BLVD. GR                                I
        )   1#G143360102     IDl!CJlLl~~121:31                1121:35 111000 LAPALeD BLVD. GR                 I
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            1[12/03/14]      I                                                                           _.

            ji143370002      IEJEI~~~lo1:42 1101:47 IITIMBERlANE DR/BELLE CHASSE HWY. GR                      I'
            /!L§143370019    IEJ~~~~lo9:00 1109:07 1800 LAPALCD BLVD. GR --
                             ID~~~~109:26 1110:09 114 FERNWOOD ST, GR
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            l1t§143370021                                                                                     \-
            1#G143370036     ID~~~~11l:35 1111:45 Ilaoo LAPALCO BLVD, GR                                      I
            1!t§143370062    ID~~~1§[]116:41 1116:47 IITIMBERLANE DR/BELLE CHASSE HWY. GR                     1
            1[12/04/14]
            1!t§1433BOOO8
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                             IEI~~~~103:49 1103:54 11424 FAIRFIELD AVE, GR
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            !tl§1433BOO17    1E1E1~~~,oa:16 lIoa:25                   lIaoo LAPALCO BLVD. GR                  1
            1it§1433B0027    ID~~~~loa:57                     1109:02 Ilaoo LAPALCO BLVD. GR                  1
            1it§1433BOO32    ID~~~~109:22           Ilaoo     1109:33       LAPALCO BLVD, GR                  1
            \!l§143380042    ID~~~~110:22 1110:29 IITIMBERlANE DR/BELLE CHASSE HWY, GR                    I
            1#6143380048     IElEI~~~110:42 1110:54 IIENTERPRISE DR/BELLE CHASSE HWY. GR                  I
            \1t§143380070    IOITS IIGl 1~~113:09 1/13:21 lIaoo LAPALCO BLVD. GR                          I
            /tt§143380074    IEJITs IISI 1~~113:45 1114:02 Ilaoo LAPALCO BLVD. GR                         I
            1!t§1433800B7    IEl~!§CI~~115:21 11 15 : 34 Ilaoo LAPALCD BLVD. GR                               I
            j1l§1433BOO92    ID~!§CI~~116:08 11 16 : 29 IlTIMBERLANE DR/BELLE CHASSE HWY. GR             'I
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         itl§143390004  I                           ~102:43 /102:59 11118 CIENA DR. GR                                                       I
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         \1t§143390005  I                           IG2103:33 1103:48 11480 TIMBERLANE DR. GR
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         \1t§143390033 I                            ~]10:28 11 11 : 19 /1413 FAIRFIELD AVE, GR                                           I
         ftl.§143390099 !                           1G21   11 16 : 19 11 16 : 39    112 WILDWOOD RD. GR                       .      .:,/ .
         1!l§143390127 I                            ~j21:01 11 21 : 15 1/800 LAPALCO BLVD. GR                              '.;.:i:
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         1tt§143390129 I                            ~121:33 11 21:52 IITIMBERlANE DR/BELLE CHASSE HWY, GR                                I
         1!t§143390140 I                            ~123:29            11 00:00 Ilaoo LAPALCD BLVD, GR                                   I
         1[12106/14]     1
         1!l§143400027 !                            ~108:39 11 09 : 13 IIFAIRFIELD AVE/LAPALCD BLVD, GR                                  I
         1Dg143400053 I                             ~114:53 11 15 : 09 1133 COLONY RD. GR                                                I
         /tt§143400060 I                            ~115:57 11 16 : 30 IILAPALCD BLVD/FAIRFIELD AVE. GR                                  I
         ~143400078      I                          ~120:21 11 20 : 34 11800 LAPALeD BLVD. GR                                            1
         /!l§143400084   I                          ~121:32 11 21 : 54 Ilaoo LAPALCD BLVD, GR                                            I
         1[12/07/14]     I
     1tl§143410010       1                          ~102:29 11 02 :42 IITIMBERlANE DR/LAPALCD BLVD, GR                                   I
     \tffi143410033      I                          ~11S:02 111s:04 11305 HAWTHORNE ST, GR                                               I
         1[12/08/14]     I                                                                                                           -
     1!l§1434200 13      I                         ~108:14 11 09 : 04 11480 TIMBERLANE DR. GR                                            I
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         1!l§143420041                             ~112:09 11 12:15 Ilaoo LAPALCO BLVD. GR                                           I
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         /H§143420043                              ~112:36 11 12 :48 11700 LAPALCO BLVD, GR ~:.~~:                                   I
     /H§143420051 I                                ~113:03 1113:1111800 LAPALCD BLVD. GR                                             I-
     1!l§143420068 I                               ~115:00 11 15 : 06 Ilaoo LAPALCD BLVD, GR                                         I
     1!i§143420074 I                               ~11S:40 11 15 :46 Ilaoo LAPALCD BLVD, GR                                          I
     1ti§143420078 I                               ~116:57 1117:17 lIaoo LAPALCD BLVD, GR                                            I
     1tt§143420093 I                               ~120:35 11 21 : 11 111000 LAPALCD BLVD, GR                                        I
     1[12/09/14]         I
     /H§143430026        I                         ~108:27           11 08 : 38 Ilaoo LAPALCO BLVD. GR                               I
     1ft§143430034  I                              ~109:29           11 09 : 42 IIBOO LAPALCO BLVD, GR                               I
     \il§143430051 I                               ~111:17           11 11 : 23    11800 LAPALCO BLVD, GR                            I
     11i§14343 0059 I                              ~112:14           11 12 : 21 IITIMBERLANE DR/BELLE CHASSE HWY, GR                 I
     \1l§143430101 I                               ~115:40           11 15 : 47 IIBOO LAPALCD BLVD, GR                               I
     1tl§14343 0110 I                              ~116:32           11 16 : 38 lIaoo LAPALCD BLVD, GR
     1ti§143430111       1                         ~116:53           11 17:02 11349 FAIRFIELD AVE. GR
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         11t§143430127                             ~120:32           11 20 : 40 IIs05 FAIRFIELD AVE, GR
     11i§143430129  I                               IG211120: 51 1121:11 11504 FAIRFIELD AVE. GR
     11t§14343 0144 I                               ~123:14 11 23 : 26 111000 LAPALeD BLVD. GR ;~;~                                      -
     \tf§143430145 I                                ~123:23 11 23 :26 IIBELLE CHASSE HWY IENTERPRISE DR. GR                          I
     1[12/10114]
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     1\#G143440030       116   IITS   jjG1   Ij521 IIG21   1110:25 1110:44 "LAPALeD I3LVUlrA1KrlELO AVE. GR
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        1                   IUlrs     I~~ ~114:41 11 14 : 56 /lBELLE CHASSE HWY /FAIRFIELD AVE, GR                                          I
        1tf§143440065       1[J121    I~~ IG21 1116:04 1116:16 1141 COLONY RD. GR                                                          l
        1tl§143440089       D~~~ ~120:29 11 20 :35 11180 COMMERCE sr. GR
                            1                                                                                                              I
        ~143440098    I      I~~ IG21 1123:56 1100:14 "ENTERPRISE DR/BELLE CHASSE HWY. GR
                            01107                                                                                                           I
        1[12/11/14]   I
        1tf§143450004 IDEJ~~ IG21 /101:33 1101:51 /1356 TIMBERLANE DR, GR                                                                   I
        1[12/12114]   I
        1/t§143460031 IEJt!CJ~~ ~110:44 1110:50 IIBOO LAPALCD BLVD. GR
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        1!t§143460036 IEJt!CJ~~ ~lll:46 1111:53 1/800 LAPALCD BLVD. GR
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        /1t§143460054 I1Ogc]~1521 I~115:29 1116:38 11480 TIMBERLANE DR. GR
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        1tt§143460092 I/ofrs I~~ ~122:08 1/22:25 IIENTERPRISE DR/BELLE CHASSE HWY, GR                                                      I
    1[12/13/14]         I
    1#6143470042  IEJt!CJ~~ ~lll:11 11 : 17 IIBOO LAPALCD BLVD. GR  11                                                                     I
    /1i§143470052 1Dt!CJ~ls21 I~113:19 1113:28 IlTIMBERLANE DR/BELLE CHASSE HWY. GR
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    1!t§143470054 1IDfrS I~~ ~113:40 13 : 46 1/800 LAPALCD BLVD. GR 11                                                                 "I
    /!ffi143470062      IEJt!CJ~~ ~114:48 /114:59 Ilaoo LAPALCD BLVD, GR f. ;~.                                                        I
    11t§143470070       IDt!CJ~~ ~115:33 11 15 : 40 11800 LAPALCD BLVD. GR                                                              ,-
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    11t§143470074       IDt!CJ~~ ~116:05 1116:12 lIaoo LAPALCD BLVD. GR
    /!t§143470081       IDt!CJ~~ ~117:17 1117:27 IIsoo LAPALCD BLVD. GR                                                                I
    1[12114/14]         I
    /tt§143480034       IElITS        I~~1621
                                          1109:47 11 09 : 58 11800 LAPALCD BLVD, GR                                                    1
    1f§143480036        1Dt!CJ~~ ~llO:19 11 10 : 31 11800 LAPALCD BLVD. GR                                                             I
    1tl§143480037       1E]162A I~~, 1621 11 10 : 32 11 10:43 11349 FAIRFIELD AVE. GR                                                  I
    11t§143480046       DI!.CJf§CJls21 I
                        1            ~112:41 1112:50                        Ilaoo
                                                                    LAPALCD BLVD. GR                                                    I
    11t§143480 049      1DI!.CJf§CJ~ ~113:19 1113 :29 lIaoo LAPALCO BLVD, GR                                                            I
    11i§143480063       1DI!.CJ~~    ~116:20 11 16 : 30 IIS00 LAPALCO BLVD. GR                                                          I
    1tl§143480068       1DI!.CJ~~ ~117:44 1117:50 11800 LAPALCD BLVD. GR                                                              .,I
    1tl§143480081       1DI!.CJ~~ ~121:03 11 21 : 14 111000 LAPALCQ BLVD. GR
    1!1§143480093       IDI!.CJ~~ ~123: 15 1123:24 111000 LAPALCD BLVD. GR                                                             I
    1[12/15/14]         I
    1#G143490006        Il[]SUBJ I~~ ~102:59 11°3:12 11480 TIMBERLANE DR. 6R                                                           I
    1!1§143490023       1DI!.CJf§CJ~ ~109:03 11°9:41 IILAPALCO BLVD/FAIRFIELD ':AVE, GR                                                I-
    11t§143490038       IDI!.CJf§CJ~ ~II0:56 1111:18 IITIMBERLANE DR/BELLE CHASSE HWY. GR                                              I
    \tt§143490047       ElI!.CJ~~
                        1            ~111:30 11 11 : 49 IILAPALCD BLVD/FAIRFIELD AVE. GR                                               I
    1tt§143490082       ID~IGl               I~ IG21       1116: 58 1117: 11 11123 ENTERPRISE DR. GR                                   I
    1[12/16/14]   I
    \1l§143500069 IDfrS 1f§CJ~[§C]113:30 1113:56 IIFAIRFIELD AVE/BELLE CHASSE HWY. GR                                                  I
)   1it§143500078 IDI!.CJf§CJ~ ~114:15 14 : 40 IILAPALCO BLVD/FAIRFIELD AVE, GR
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    \\#G143500086       113    jj21   jiGl   ii52l ilG21   1115:001116:33 IIBELLE CHASSE HWY/t-AlRt-ll::'LO AVc..               Gi{    ij
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        I                I                           115:29 1116:09 IlBELLE CHASSE HWY/FAIRFIELD AVE. GR                          I
        1[12117/14]      1
        1!f§143510027    I                          1°9:17 11 09 : 28 11800 LAPALCD BLVD. GR                                  I
        11f§143510029    I                          109 : 40 1/10:02 jlFAIRFIELD AVE/BELLE CHASSE HWY. GR                     I
        1!t§143510041.I                             111 : 51 11 12 : 01 1/800 LAPALCD BLVD, GR                                I
        1#G143510046 I                              112 : 37 1/12:47 1/800 LAPALCO BLVD. GR                                   1
        1!f§143510065 I                             114 : 55 11 15 : 03 11700 LAPALCD BLVD. GR                                1
        1tt§143510069 I                             115 : 19 11 15 : 41 IIFAIRFIELD AVE/LAPALCD ~~,YD. GR                   ::1
        1!t§143510072 I                             116 : 13 11 16 : 25 11800 LAPALCD BLVD. GR
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        1!f§143510073 I                             116 : 31 11 17 : 37 IITIMBERLANE DR/BELLE CHASSE HWY. GR                ·,1
        1it§143510081 I                             120 :48 1120:58 111000 LAPALeD BLVD. GR                                  I
        ~143510094       1                          123 : 40   11 23 : 46 111000 LAPALeD BLVD. GR                            I
        1[12/18/14]      I
        11t§143520043    I                          110 : 37 11 10 : 53 11800 LAPALCD BLVD. GR                               I
        1!f§143520060    I                          112 : 03 1112:09 IITIMBERLANE RD/BELLE CHASSE HWY. GR                    1
        1!f§143520063    I                          112 : 19 11 12 : 25 I~IMBERLANE RD/BELLE CHASSE HWY. GR                  I
    1!t§143520066        I                          112:42 1/12:51 IITIMBERLANE RD/BELLE CHASSE HWY. GR                      I
        /tt§143520076    I                          113 : 40 11 13 : 47 11800 LAPALCO BLVD. GR                               I
    /tt§143520079        I                          114 :05 1114:09 11800 LAPALeO BLVD. GR                                   1
    1!f§143520089        1                          115 : 59 11 16 : 16     11469 FAIRFIELD AVE. GR                           I
    \tl§143520093        1                          117 : 02 1/17:09        lIaoo LAPALeD BLVD. GR                          ··1
    1[12119/14]   I
    itl§143530056 I                                 111 : 37   /112:00 IlTIMBERLANE DR/COLONY RD. GR                    ,I
    /tt§143530093 I                                 117 : 57 1118:18 IIBELLE CHASSE HWY IFAIRFrP,,1.D AVE. GR                1
    itl§143530109                                   120 : 56   11 20 : 58 IICOMMERCE STIFAIRFIELD AVE. GR                    1-
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    1[121201 14J         I
    \1ffi143540057I                                 111 : 25 11 11 : 37 1110 FERNWOOD ST. GH                                I
    itl§143540068 I                                 114 : 27 11 14 : 38 11424 TIMBERLANE DR, GR
    1ft§143540071        I                          115 : 29 1/15:55 IlLAPALCO BLVD/FAIRFIELD AVE. GR
    1#6143540091         1                          119 : 27 11 19 : 54 IlTIMBERLANE DR/BELLE CHASSE HWY. GR
        /!l§143540106    1                          122 : 30 11 22 : 38 111000 LAPALCO BLVD. GR
        /!l§143540108    1                          122 : 48   11 22 : 55   IITIMBERLANE DR/BELLE CHASSE HWY. GR
        11t§143540111    1                          123 : 39 1100:04 IIFAIRFIELD AVE/BELLE CHASSE HWY. GR
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        1!t§14355 0028   1                          106 : 15 11 06 : 30 11152 COMMERCE ST. GR
        ®143550042       I                          110 : 13 11 10 : 15 11114 ENTERPRISE DR. GR
        11t§143550063    I                          115 : 09   11 15 : 32IILAPALCD BLVD/FAIRFIELD AVE. GR
)       ~J143550420      1,                          116 : 21 11 16 : 38 IIBELLE CHASSE HWY ITIMBERLANE DR. GR
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        tl¥§143560001        I                          1°0:17 11 00 : 19 113 FERNWOOD ST. GR
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        1if§143560004        I                          100 : 34 11 00 : 38 11300 FAIRFIELD AVE. GR                                          I
        !It§143560011     I                             103 : 18 11 03 : 20 113 FERNWOOD ST. GR                                              I
        1tl§143560038        1                          110 : 57 11 11 : 13 11800 LAPALCO BLVD. GR                                               I
        1tl§143560043    I                              111 : 27 11 11 : 39 lIaoo LAPALCO BLVD. GR                                           I
        1tt§143560054    I                              112 : 05    11 12 : 22    1140 COLONY RD. GR                                         I
        1ti§143560061 I                                 113 : 17
                                                             11 13 :32 11800 LAPALCO BLVD. GR
        /1t§1435600BO ,
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                                                    115 : 49 11 15 : 59 11800 LAPALCO BLVD. GR                                               I
        1:f§1435600B7    1                          117:11 11 17 : 26 11800 WALeD BLVD. GR                       ,: h
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        1[12/23/14J      I
        1ti§143570019    I                          103 : 37       11   03 : 41 IITIMBERLANE DR/LAPALCD BLVD. GR                             I
        1ft§143570033 I                             1°8:28 11 08 : 36 11aoo LAPALCO BLVD. .GR                                                I
        1:f§143570054 I                             110 : 21 11 10 : 36 11800 LAPALeD BLVD. GR                                               I
        1#G143570059 I                              110 : 51       11 10 : 56    11700 LAPALeD BLVD. GR                                     :1
        11i§143570068 I                             111 : 46 11 11 :55 111620 BELLE CHASSE HWY. GR                                           1
        1ftg143570071    I                          112 : 00 11 12 : 13 IITIMBERLANE DR/BELLE CHASSE HWY. GR                                 I
        1!t§143570084    I                          113 : 56       11 14 : 11 Ilaoo LAPALCO BLVD. GR                                        I
        1:f§143570090    I                          115 : 08       11 15 : 14 Ilaoo LAPALCD BLVD. GR                                        I
        1#G143570101     1                          /17:27 1/17:37 11231 TIMBERLANE RD, GR                                                  I
        1[12/24/14]I
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        1fffi143580036                              111 : 40       11 14 : 03    112 COLONY RD. GR                                          1
        ~143580050 I                                115 : 38       11 16 : 42 111 FERNWOOD ST. GR                                           1
        1[12/26/14]      1
        11f§143600028    ]                          111 : 42 11 11 : 48 IIBOO LAPALeO BLVD. GR
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        11!§143600031    I                          112 : 05 11 12 : 11 11800 LAPALCD BLVD. GR
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        1:f§143600038    I                          112 : 56 11 13 : 03 IIBOO LAPALCD BLVD. GR                                              I
        11i§143600040    1                          113 : 57 11 14 : 02 11800 LAPALCO BLVD. GR                                             'I
        tl¥§143600043    I                          114:24 .11 14 : 28           Ilaoo
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        11!§143600052    I                          116 : 36 11 16 : 42 11700 LAPALeD BLVD. GR
        1/i§143600053    1                          116 : 49 11 17 : 01 11700 LAPALCO BLVD. GR
        \1t§143600054    1                                 11 18 : 36 11316 HAWTHORNE ST. GR
                                                    118 : 15
        \1t§143600066I                              121:27 11 21 : 39 111000 LAPALCO BLVD. GR
        1if§143600071I                              121:44 11 21 : 53 111000 LAPALCO BLVD. GR                                              I
        1#G1436000BO I                              122 : 34       11 22 : 48 111000 LAPALCO BLVD. GR                                      I
        1!l§143600081                               123:31         11 23 : 54    111000 Il'tPALCO BLVD. GR                                  1
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        j[12l27/14J      I
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         I                 I                             112:26 11 12 : 31          Ilaoo LAPALCO BLVD. GR                     'f
     )   11l§143610032     1                             113:03 1113:14             /laoo LAPALCO BLVD. GR                      I
         1tffi143610034    I                             113 : 27 11 13 : 47        IITIMBERLANE DR/BELLE CHASSE HWY. GR        I
         1#G143610041      1                             115 : 14 11 15 : 30    11700 LAPALCO BLVD. GR                             I
         ~143610048    I                                 115 : 43 1/16:12 11245 FAIRFIELD AVE. GR                                  I
         1!t§143610053 I                                 116 : 53 1/17:01 lIaoo LAPALCO BLVD. GR                                   I
         1t§143610054     I                              117:15 11 17 : 32 11800 LAPALCO BLVD. GR .'~; ;.~                         I.
         ~143610056       1                              117 : 55 1I1a:05 Ilaoo LAPALCD BLVD. GR                                   I"
         ~143610074       1                              122 : 01 11 22 : 11 IIWILDWOOD RD/FAIRFIELD AVE, GR                       I
         1[12/28/14]      I
         /1i§143620001    I                          100 : 10 1100:25 111000 LAPALCD BLVD. GR                                      1
         /tt§143620011    I                          104 : 19 11 04 : 22 11312 HAWTHORNE ST. GR                               "I
         /!l§143620018    I                          1°8:00 11°8:22 11489 FAIRFIELD AVE. GR                                    I
         /!l§143620027    I                          111 : 02 11 11 : 16 11800 LAPALCD BLVD. GR                               -I
         1!l§143620028    I                          111:19 1111:25 11119 ENTERPRISE DR. GR                                        I
         1t§143620036     1                          114 : 42 11 14 : 49 11800 LAPALCO BLVD. GR                                1
         ~J143620356      I                          115 : 09     11 15 : 19 Ilaoo LAPALCO BLVD. GR                            I
         1tt§143620042    1                          115 : 45 11 15 : 51 lIaoo LAPALCO BLVD. GR                                1
         /!l§143620064    I                          123:16 11 23 : 31 112 WILDWOOD RD. GR                                     I
")       1[12/29/14]      1
         1ti§143630035    I                          1°8:24 11°8:48 11141 COMMERCE ST. GR
         It§143630066     I                          112:22 11 12 : 26 1112 COLONY RD. GR         ".,
         1ti§143630092    I                           16
                                                     1 :   47 11 7:56 IITIMBERLANE DR/LAPALCO BLVD. GR
                                                                 1                                                                 .
         1ti§143630098    I                          118 : 20 11 18 : 34 IILAPALCO BLVD/FAIRFIELD AVE. GR
         1ti§143630109    1
                                                     121:23 1122:12 IIFAIRFIELD AVE/LAPALCO BLVD. GR                         ';1
         1I!?/30/14]      I
         1#G143640036     I                          108 : 38     11 09 : 07   11436 TIMBERLANE DR. GR                        I
         1ti§143640041    I                          1°9:18       11 10 : 17 IILAPALCD BLVDITIMBERLANE DR. GR                 1
         \fl§143640044    1                          109 : 53     11 10 : 17 IlLAPALCO BLVD/FAIRFIELD AVE. GR                 ]
         ~143640056    I                             110 : 44     11 10 : 50   11141 COMMERCE ST. GR
         \1l§1436400a9 I                             115 : 58 11 16 : 20       IILAPALCO BLVD/FAIRFIELD AVE. GR
         \1l§143640100 I                             119 : 51 11 20 : 17       IIFAIRFIELD AVE/LAPALCD BLVD. GR
         \1l§143640113 I                             \22:20 11 22 : 30         IITIMBERLANE DR/BELLE CHASSE HWY. GR
         \tl§143640116 I                             122 : 50 11 22 : 54       111800 BLK BELLE CHASSE HWY. GR
         /!l§143640118 I                             123 : 16 1123:19 IITIMBERLANE DR/BELLE CHASSE HWY. GR                    1
         1[12131/14]      1
         \tl§143650023    I                          109 : 43 11°9:48 11800 LAPALeD BLVD. GR
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         \tl§143650027    1..                        110 : 06 11 10 : 17 lIaoo LAPALCD BLVD. GR              ::;.:~          "I,.
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            Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 216 of 297
          Call summary for: 12/01/2014 - 0110112015                                       Page 7 of7



          I               IU~S 1~~IG21 1113: 19 1113: 26 Ilaoo LAPALCO BLVD. GR                       I
    \,I   1ti§143650047   IDITS 1§C]~]G21 1115:32 1115:41 IITIMBERLANE DR/BELLE CHASSE HWY. GR        I
          1!f§143650056   ID~§C]~~I17:37 1117:45 Ilaoo LAPALCO BLVD. GR                               I
          1[1/01115]      I
          1tt§150010033   IEJ~§C]~IG21 1109:50 11 09 :55 lIaoo LAPALCO BLVD. GR                    1
          11t§150010042   IEJfrs 1§C]~IG21 1111:38 11 11 :41 lIaoo LAPALCO BLVD. GR               ·1
          11t§150010045   IEJ~@CJ1521 1~111:53 1111:59 lIaoo LAPALCO BLVD. GR                     I
          1!t§150010052 IOITS 1§O~~113:26 1113:31 lIaoo LAPALCO BLVD. GR                          I
          11t§150010053 ID~§O~~113:48 11 14 :03 I/aoo LAPALCO BLVD. GR                            I
          11t§150010061 IEJ~§01521 1~116:03 11 16 :14 I/aoo LAPALCO BLVD. GR                      I




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     Date:         December 17, 2014

     To:           All Commanders

     From:         Anthony H. Christiana Jr. .~} ~
                   Deputy Chief of Pobce   ~

     Re:           Departmental Regulation 6-2 Article 82.1

     All Commanders please ensure that all personnel obtain a copy of DR 6-2
     Rules for Administration for Departmental of Police Article 82.1 Recording
     Devices.

     This Departmental Regulation is effective as of December 15, 2014 and should
     be considered a permanent part of the Operations Manual. This page should
     be inserted into the hard copy manual behveen pages 20 and 21.
'\
)    In an electronic format DR 6-2 Article 82.1 should be copied and pasted
     beneath Article 82 Section of Operations and Article 83 Section of Records.

     All Commanders are to obtain a copy of the attached written receipt of
     deliverance of 6-2 Article 82.1 from each member under their command.

     These receipts shall be collected and returned to the AdminIstration office for
     placement in personnel jackets.

     Any questions, please contact my office.



     Attachments
     AHC/th
         Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 218 of 297
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                                                         Gretna Police Department
                                                         Departmental Regulations
                                                                                    Issued 12/15/2014

         DR 6-2 ARTICLE 82.1

         Recording Devices:

        The use of any recording device by any employee or member of the Department
        for the purpose of surreptitiously recording any conversation relating in any
        way, directly or indirectly, to the Department, or business of the Department,
        with a tape recorder, whether digital or otherwise, or other recording device
        (including cell phone or any electronic device) except with the prior approval of
        the Chief, or Deputy Chief of Police shall be deemed a violation of the Code of
        Conduct.

        The purpose of this policy is to ensure effective, open, and honest
        communication and discord among members of the Department, regarding the
        Department and its operations, investigations, policies, actions, and/ or
        personnel, and to eliminate a chilling or detrimental effect on any of the
        foregoing which may exist when any person is concerned that his, or her,
        conversation is being recorded which would prevent, or inhibit, the honest and
        spontaneous dialogues when foregoing are discussed.

        The policy shall equally apply when either party of the conversation is a
        member of the Department who is "on" or "off' duty, if the conversation relates
        directly, or indirectly, to the business of the Department.

        Violation of this policy will result in corrective or disciplinary action as may be
        appropriate, including suspension and/ or termination of employment.

        ARTICLE 82.1
        Recording Devices:

        The use of any recording device by any member of the department for the
        purpose of surreptitiously recording any conversation relating to any business
        between members of the department while on or off duty shall be deemed a
        violation of the Code of Conduct except as follows:

                   1. In a criminal investigation subject to the approval of the Bureau
                      Commander having responsibility of the investigation.

                   2. In an internal investigation subject to 'Lhe approval of the Chief of
                      Police of his designee.

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                                    -- -rr--------           -_ .... _.
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            CITY OF GRETNA POLICE DEPARTMENT
                     ARTHUR s. LAWSON, JR., CHIEF
                                         200 FIFfH STREET
                                      GRETNA, LOUISIANA 70053


                                GRETNA POLICE DEPARTMENT
                                 PERFORMANCE APPRAISAL
                                 SEMI - ANNUAL EVALUATION
                                            SECTION I




         NAME: OFC Daniel Swear                         DATE: December 30,2014



         RATING PERIOD: July 1,2014 TO December 31, 2014           RANK:OFC


")
    /    DIVISION: PATROL DIVISION



         ASSIGNMENT: C - Team



          DATE OF EMPLOYMENT: December 6, 2010



          EVALUATION CONSISTS OF SECTIONS: I & II



          RATERS: Sgt David Heintz

                   Sgt Danielle Rodriguez




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    I
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                                  GRETNA POLICE DEPARTMENT
                                    PERFO~CEAPPRAJSAL
                                  . SEMI - ANNUAL EVALUATION
                                    SECTION I ALL EMPLOYEES


         l.    Appearance :

               [gJ a. Exceeds Standards
               Db. Meets Standards
               Dc. Fails to meet Standards

               COMMENTS:

         2.   Attendance :

              A.     Tardiness:

              [gJa   Always on time, never tardy
              Db.    Occasionally tardy
              Dc.    Tardy more than desirable
              Dd.    Consistently tardy

              COMMENTS: Arrives early

              B.     Sick Leave :
    \
    )
              Da Never sick

              o!21
               b. Occasionally sick
               c. Sick more than desirable
              Dd. Consistently sick

              COMMENTS: August 11 th & 12th

         3.   Attitude:

              A.     Attitude Towards Agency

              Da Exceeds Standards
              rg] b. Meets Standards
              Dc. Fails to meet Standards

               COMMENTS:




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               B.    Acc-eptrulce uf Cb.;:w,ge
                                                                             2
    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 221 of 297



            o a. Exceeds Standards
            [gJ b. Meets Standards
            o c. Fails to meet Standards
           COMMENTS:

           C.      Acceptance of Feedback

           o a. Exceeds Standards
           D b. Meets Standards
           r8J c. Fails to meet Standards
           COMMENTS: Has difficulty following supervisors orders when he has a different
           viewpoint or opinion. Received disciplinary action during this period.

     4.    Interpersonal Skills

           A.      Communications, General

           o a Exceeds Standards
           ~ b.    Meets Standards
           Dc.     Fails to meet Standards

           COMMENTS: Communications with supervisors needs improvement.

           B.      Oral Communications

           rg] a. Exceeds Standards
           o b. Meets Standards
           o c. Fails to meet Standards
           COMMENTS:

           C.      Teamwork / Relationship with Fellow Workers

           IZI a Exceeds Standards
           D b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS;

     5.    Initiative

           A.      Work Initiative

           D a. Exceeds Standards
           ~ b.    Meets Standards
           o c. Fails to meet Standards
)


                                                                                           3
Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 222 of 297


       COMMENTS: Officer has fell to average workload during this period after
       receiving disciplinary action. Fully capable of exceeding standards easily.

       B.     Personal Development

       o a. Exceeds Standards
       cg] h. Meets Standards
       Dc.    Fails to meet Standards

       COMMENTS:

  6.   Use and Care cifEquipment

       A.     Care of Vehicle and Related Equipment

       o a. Exceeds Standards
       l8J b. Meets Standards
       Dc. Fails to meet Standards

       COMMENTS:

       B.    Care of Other Equipment ( Job Related)

       o a. Exceeds Standards
       [gI b. Meets Standards
       Dc. Fails to meet Standards

       COMMENTS:

 7.    Professional Conduct

       A.    Integrity

       [gJ a. Exceeds Standards
       Db. Meets Standards
       Dc. Fails to meet Standar!is

       COMMENTS:

       B.     Compliance With Department Required Conduct

       o a. Exceeds Standards
       [gJ b. Meets Standards
       Dc. Fails to meet Standards
       COMMENTS:




                                                                                     4
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,           C.     Impartiality / Lack of Bias
!
           [8J a. Exceeds Standards
           o b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:

     8.    Responsibility

           A.     Accepts Responsibility For Own Actions

           D a. Exceeds Standards
           [g] b. Meets Standards
           06. Fails to meet Standards
           COMMENTS:

           B.     Supervision Required

           o a Exceeds Standards
           [;gj b. Meets Standards
           o c. Fails to meet Standards
           COMMENTS:

           C.     Confidentiality

           o a Exceeds Standards
           l?:?J b. Meets Standards
           Dc. Fails to meet Standards
          . COMMENTS:




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                               PERFO~CEAPPRAJSAL
                               SEMI-ANNUAL EVALUATION
                                 FINAL REVIEW SHEET
                                      SECTION I

         OVERALL EVALUATION:

         01.     Excellent
         [2]2.   Above Standard
         03.     Meets Standard
         04.     Needs Improvement
         05.     Unacceptable

         JOB STRENGTHS: Intelligent, investigatory capabilities, desire to follow through
  with investigations.

        AREAS NEEDING IMPROVEMENT: Communication with supervisors and
 following orders.

         GOALS FOR NEXT EVALUATION:
                                                --------------------------------
        RATERS:
        1. Sgt David Heintz

        2. Sgt Danielle Rodriguez

         RATERS COMMENTS: Received disciplinary action for DR 6-2 (Instructions
 from authority source) and DR 6-4 (Unsatisfactory performance) on 07-24-14 for actions
 on 07-22-14 to which (3) days suspension were given. Viewpoints and thoughts are
 always welcomed and appreciated, but problems arise when he disagrees with supervisors.
 On occasion has had difficulty submitting to supervisory authority when it doesn't match
 his thoughts or personal beliefs of how things should be done. Disciplinary action given for
 violations triggered a shut down in officer's performance preventing progression of
 learning. Officer has unlimited potential that is only inhibited by his own actions or, in the
 case of pro activity, the lack thereof. He has the qualities ofan above standard officer, to
 which I feel the overall evaluations should and does reflect, even though the officer is
 working at a meets standard level for this period. Expressing your thoughts is perfectly
 acceptable and understandable, but not when done with arrogance or refusal to do what
 you are told to do by your supervisors.

        This Performance Appraisal is based on my/our observations and knowledge of the
        employee's Performance.                    , ~
                                                  ~-l. ~                        -
                                               Signature




                                                                                             6
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    \


          This Performance Appraisal has been discussed with me. ~
                                                                                ----         ~;»-- .
         . I,. J:£-/S                                          --l,Lno~~~~--
          Date                                                 Signature

          Note: The employee's signature indicates that he/she has been read and Wlderstands the contents of this
          evaluation. It does not indicate their agreement or disagreement with its contents




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                      GRETNA POLICE DEPARTMENT
                       PERFORMANCE APPRAISAL
                            COVER SHEET




 NAME: Daniel Swear   DATE :12-30-14

 SECTION: IT PATROL DIVISION




                                                                      1
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                           GRETNA POLICE DEPARTMENT'
                            PERFORMANCE APPRAISAL
                           SEMI - ANNUAL EVALUATION
                                   SECTION II

 1.    Job Knowledge

       A.     Knowledge of Department Policies, Procedures and Regulations

       o a. Exceeds Standards
       r:gj b. Meets Standards
       D c. Fails to meet Standards
       COMMENTS:

       B.     Knowledge of Criminal Laws, Traffic Laws, and City Ordinances

       o a. Exceeds Standards
       r8J b. Meets Standards
       Dc. Fails to meet Standards

       COMMENTS:

       C.    KnOWledge of Community Events and Crime Patterns

       D a. Exceeds Standards
       [8] b. Meets Standards
       Dc. Fails to meet Standards

       COMMENTS:

       D.    Knowledge of Department / Criminal Justice System

       D a. Exceeds Standards'
       r8J b. Meets Standards
       D c. Fails to meet Standards

       COMMENTS:       .

       E.    Knowledge of City Geography

       r:gj a. Exceeds Standards
       D b. Meets Standards
       D c. Fails to meet Standards
       COMMENTS:




                                                                              2
    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 228 of 297



      2.    Job Skills

            A. Driving Skills - Normal Conditions

            Da    Exceeds Standards
           [2J b. Meets Standards
           D c. Fails to meet Standards
           COMMENTS:

           B. Driving Skills - Stressful/Emergency Conditions

           o   a    Exceeds Standards
           Ig] b.   Meets Standards
           Dc.      Fails to meet Standards

           COMMENTS:

           C. Report Writing - Organization / Details

           cgj a Exceeds Standards
           D b. Meets Standards
           Dc.      Fails to meet" Standards

           COMMENTS:

           D. Report writing - Grammar I Spelling I Neatness

           ~ a.Exceeds Standards
           Db. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS: Very few mistakes

           E. Report Writing Appropriate Time Used

           ~ a.     Exceeds Standards
           o b. Meets Standards
           Dc.      Fails to meet Standards

           COMMENTS:

           F. Use of Radio

           [2J a. Exceeds Standards
           Db. Meets Standards
           Dc.      Fails to meet Standards

)          COlv.1MENTS:

                                                                         3
    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 229 of 297

            G. Interview / Interrogation Skills

            D a. Exceeds Standards
            [gJ b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:

           H. Investigation Skills I Protecting Crime Scene

           Da     Exceeds Standards
           [gJ b. Meets Standards
           o c. Fails to meet Standards
           COMMENTS: Active interest in investigatory process

     3.    Quantity of Work

           A.     Timeliness of Work

           o a. Exceeds Standards
           C8J b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:

)          B.     Self - Initiated Activity

           o a. Exceeds Standards
           [gj b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS: Disciplinary action triggered less pro-active work than usual for
           officer. Difference of opinion slowed pro-active work to a near halt in December
           which was addressed and received assurance from officer that this would change.

           C.     Planning And Organizing Work

           D a. Exceeds Standards
           [gj h. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:

           D.     Amount of Work Performed

           D a. Exceeds Standards
           [gI b. Meets Standards
           Dc. Fails to meet Standards

           COM..J0"RNTS;
                                                                                              4
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      4.   ' Quality of Work
\


            A.      Accuracy of Work

            [8J a. Exceeds Standards
            Db. Meets Standards
            D c. Fails to meet Standards

            COMMENTS:

      5.    Self Control

            A. Control of Conflict

            [g] a. Exceeds Standards
            Db. Meets Standards
            Dc. Fails to meet Standards

            COMMENTS:

           B. Perfonnance Under Pressure

            Da. Exceeds Standards
            ~b. Meets Standards
            Dc. Fails to meet Standards

           COMMENTS:

     6.    Safety

           A.       Officer Safety .

           Da. Exceeds Standards
           [gl b. Meets Standards
            D c. Fails to meet Standards
            COMMENTS:

     7.     Control of Conflict

            A.      Voice Command

            ~a.  Exceeds Standards
            Db. Meets Standards
            D c. Fails to meet Standards
            COMMENTS:


                                                                          5
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\,          B.     Physical skill

            rg] a. Exceeds Standards
            o b. Meets Standards
            Dc. Fails to meet Standards
            COMMENTS: Stays active and physically fit

       8.   Judgement / Decision Making

            o a. Exceeds Standards
            rg] b. Meets Standards
            Dc. Fails to meet Standards
            COMMENTS:




                                                                           6
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                                               PERFORMANCE APPRAISAL
    \
        I                                      SEMI-ANNUAL EVALUATION
                                                 FINAL REVIEW SHEET
                                                      SECTION II

                     OVERALL EVALUATION:

                     01.     Excellent
                     [gj2.   Above Standard
                     03.     Meets Standard
                     04.     Needs Improvement
                     05.     Unacceptable

                     JOB STRENGTHS: Intelligent, fast learner, accurate and well written reports,
             investigative skills.

                     AREAS NEEDING IMPROVEMENT: Increase pro-activity

                     GOALS FOR NEXT EVALUATION: _ _ _ _-;-_ _ _ _ _ _ __


                     RATERS:
                     1. Sgt David Heintz

                     2. Sgt Danielle Rodriguez

                      RATERS COMMENTS: I feel that an above average rating is correct despite the
             fall in pro-active work. A drop in self initiated activity occurred after receiving disciplinary
             action on 07-24-14 and again in December due to a difference of opinion in activity level
             which was addressed. Officer assured me that as of January he would return to being pro-
             active.

                    This Performance Appraisal is based on my/our observations and knowledge of the
                    employee's Performance.




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             Date
                                                                                                           7
           Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 233 of 297


            Note: The employee's signature indicates that helshe has been read and Wlderstands the contents of this
            evaluation. It does not indicate their agreement or disagreement with its contents




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                      GRETNA POLICE DEPARTMENT
                       PERFORMANCE APPRAISAL
                            COVER SHEET




 NAME: Daniel Swear   DATE :12-30-14

 SECTION: n PATROLDIVISION
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                             GRETNA POLICE DEPARTMENT
                                PERFO~CEAPPRAJSAL
                              SEMI - ANNUAL EVALUATION
                                       SECTION II

      1.    Job Knowledge

           A.     Knowledge of Department Policies, Procedures and Regulations

           D a. Exceeds Standards
           ~ b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS;

           B.     Knowledge of Criminal Laws, Traffic Laws, and City Ordinances

           o a. Exceeds Standards
           ~ b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:

           C.     Knowledge of Community Events and Crime Patterns

           D a. Exceeds Standards
           C8J b. Meets Standards
           D c.   Fails to meet Standards

           COMMENTS:

           D.     Knowledge of Department / Criminal Justice System

           Da     Exceeds Standards
           C8J b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS: .

           E.     Knowledge of City Geography

           [8] a Exceeds Standards
           o h. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:



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                                                                                  2
    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 236 of 297



      2.    Job Skills

           A. Driving Skills - Normal Conditions

           D a      Exceeds Standards
           [g] b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:

           B. Driving Skills - Stressful/Emergency Conditions

           o   aExceeds Standards
           ~ b. Meets Standards
           D c. Fails to meet Standards

           COMMENTS:

           C. Report Writing - Organization / Details

           C8J a    Exceeds Standards
           D b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:

           D. Report writing - Grammar / Spelling / Neatness

           [2J a Exceeds Standards
           o b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS: Very few mistakes

           E. Report Writing Appropri~te Time Used

           C8J a.
                Exceeds Standards
           o b. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:

           F. Use of Radio

           [gJ a Exceeds Standards
           D b. Meets Standards
           o c. Fails to meet Standards
)          COMMENTS:

                                                                         3
Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 237 of 297


        G. Interview / Interrogation Skills

        o a. Exceeds Standards
        [gJ b. Meets Standards
        Dc. Fails to meet Standards
        COMMENTS:

       H. Investigation Skills / Protecting Crime Scene

       D a. Exceeds Standards
       [gJ b. Meets Standards
       D c. Fails to meet Standards
       COMMENTS: Active interest in investigatory process

 3.    Quantity of Work

       A.     Timeliness of Work

       o a. Exceeds Standards
       ~ b. Meets Standards
       Dc. Fails to meet Standards

       COMMENTS:

       B.     Self - Initiated Activity

       o a. Exceeds Standards
       fZl b. Meets Standards
       Dc. Fails to meet Standards

       COMMENTS: Disciplinary action triggered less pro-active work than usual for
       officer. Difference of opinion slowed pro-active work to a near halt in December
       which was addressed and received assurance from officer that this would change.

       C.     Planning And Organizing Work

       o a. Exceeds Standards
       IZI b. Meets Standards
       Dc. Fails to meet Standards

       COMMENTS:

       D.     Amount of Work Performed

       o a Exceeds Standards
       [g] b. Meets Standards
       Dc. Fails to meet Standards


                                                                                          4
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      4.    Quality of Work

           A.       Accuracy of Work

           1ZI a. Exceeds Standards
           Db. Meets Standards
           D c. Fails to meet Standards

           COMMENTS:

      5.   Self Control

           A. Control of Conflict

           rgJa Exceeds Standards
           Db. Meets Standards
           Dc. Fails to meet Standards

           COMMENTS:

           B. Performance Under Pressure

           Da Exceeds Standards
           [8J b.
               Meets Standards
           Dc. Fails to meet Standards
           COMMENTS:

     6.    Safety

           A.       Officer Safety .

           Da. Exceeds Standards
           ~b. Meets Standards
           D c. Fails to meet Standards
           COMMENTS:

     7.    Control of Conflict

           A.       Voice Command

           [3] a. Exceeds Standards
           Db. Meets Standards
           D c. Fails to meet Standards
           COMMENTS:
)

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,/ \:          B.     Physical skill

               ~ a.   Exceeds Standards
               o b. Meets Standards
               Dc. Fails to meet Standards
               COMMENTS: Stays active and physically fit

          8.   Judgement / Decision Making

               o a. Exceeds Standards
               [gJ b. Meets Standards
               Dc. Fails to meet Standards
               COMMENTS:




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                                                                              6
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                                        PERFORMANCE APPRAISAL
                                        SEMI-ANNUAL EVALUATION
                                          FINAL REVIEW SHEET
                                               SECTION II

                OVERALL EVALUATION:

                01.     Excellent
                [812.   Above Standard
                03.     Meets Standard
                04.     Needs Improvement
                05.     Unacceptable

             JOB STRENGTHS: Intelligent, fast leapJer, accurate and well written reports,
     investigative skills.

                AREAS NEEDING IMPROVEMENT: Increase pro-activity

                GOALS FOR NEXT EVALUATION: _ _ _ _ _ _ _ _ _ _ _ __


                RATERS:
                1. Sgt David Heintz

                2. Sgt Danielle Rodriguez

              RATERS COMMENTS: I feel that an above average rating is correct despite the
     fall in pro-active work A drop in self initiated activity occurred after receiving disciplinary
     action on 07-24-14 and again in December due to a difference of opinion in activity level
     which was addressed. Officer assured me that as of January he would return to being pro-
     active.

                This Performance Appraisal is based on my/our observations and knowledge of the
                employee's Performance.




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     .!..Jere
                                                                                                  7
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     Note: The employee's signature mdicates that be/she bas been read and understands the contents of this
     evaluatioD. It does not mdicate their agreement or disagreement with its contents




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                                 MEMO

                  To:     Sergeant Brian Rico
                  From:   Officer Thomas Bryson
                  CC:     Captain Scott Vinson, Lieutenant JR


                  Date:   01/07/2015

                  Re:     Request of disciplinary write up



      Dear Sir,

      In October, 2014, I was given a disciplinary write up which I signed. On that day I was
      never given a copy of the paper I signed

      I have requested in numerous occasions the copy of the disciplinary write up. This is a
      written request for the, disciplinary write up in which I signed.




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                       City of Gretna Police
                            Department
              Arthur S. Lawson, Jr., Chief of Police

           To     : Captain Scott Vinson
           From   : Sgt Danielle Rodriguez
           Date   : 01-13-15
         . Re     : FTO Daniel Swear - Oral Reprimand for DR 6-4 (Unsatisfactory Performance By
                  Members)

          In the month of December with a total of 11 days worked, all of which were in Beat 21
          (Timberlane) which is heavily associated with traffic enforcement and patrol, FTO Swear
          delivered an unsatisfactory performance.

          With approximately 132 hours of patrol time, 3 ARMMS reports were written, 2 ARMMS
          supplements, 1 crash report, 2 JAR misdemeanor arrests, 1 attachment/warrant, 23 MIC's, and
          15 citations were written, 7 of which were on the last day after the deficiency was more
          aggressively addressed. Standard business and residence checks were completed as well as
          patrols of his beat, but do not sustain ajustifiable excuse for lack of daily traffic enforcement.

          I spoke with FTO Swear on December 30th in regards to the deficiency and he felt he
          successfully argued his viewpoint on not issuing citations during the holidays which is the
          reason 8 out of 11 days did not include any type of traffic enforcement. It was explained to
    )     FTO Swear that although his viewpoint is appreciated, his duties still include daily and regular
          traffic enforcement despite the holiday season. After this conversation with FrO Swear, he
          assured me that in January he would return to normal enforcement activities and attempted to
          close the gap acquiring 7 citations during that tour of duty.

          I waited to submit this counseling session to provide a report of his current activities and can
          confirm that he is indeed back to normal duties. I feel that this verbal counseling will suffice to
          prevent this from occurring again.



                                                                                Respectfully Submitted,




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                   200 Fifth street, Gretna, Louisiana                                          70053
                    (504)363-1700 ~   Fax(504)363-1725
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                                MEMO

                 To:     Captain Burmaster
                 From:   Reserve Officer Daniel Swear
                 cc:     Chief Arthur Lawson
                 Date:   20 April 2015




        Effective on today's date, 20 April 2015, I hereby resign -[TOm reserve status at the Gretna
        Police Department.




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                                                           Received By: _ _ _ _ _ _ _ _ __
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                                                          DEPARTMENT TEAi'll STATISTrCS
                                                                  DECFiilmeR
                                                                       .'
                                                                       ")'it4

                                 "A" TEAM   "S"TEAM         "C" TEAM            "O"TEAM   TOTALS
1. TOTP..L COMPLAINTS              931        786               597               507      2821
2. NON-RTF'S                       687        501               382               309      1879
3. OLD COMPLAINTS                   49         56                50                25       180
                                                                                           1544
4. ASSISTS                         376        428               360               380
                                                                                            308
                                                                                                     --
5. ARMMS                            95        96                 57               60
6. SUPPLEMENT                       12        14                 8                 9        43
7. VEH. STOLEN                                                                               1
                                               1
8. VEH. RECOVERED                                                                  1         3
                                    2
9. ACCIDENT                         26        16                 7                 4        53
10. SUMMONS                         4          4                 2                 2        12
11. WARRANT/ATTACHMENT             1'19       157               143               123       542
12. FELONY ARREST                                                                  10        30
13. MISDEMEANOR ARREST
                             -      10
                                    64
                                              4
                                              46
                                                                  6
                                                                 44                37       191
14. OWl ARREST
                                                                                             4
15. JAR FELONY                      2                 I                            2
16. JAR MISDEMEANOR                 4          6                 2                 4         16 ..
                                                                                            1139
                                                                                                     _-
17. CITATIONS                      409        278               247               255
18. RADAR CITATIONS                                                                24        148
                                    38         74                12
19. PARKING CITATIONS                                                               3         10
                                    5           1                 1                                  -0',--
20. WARNING CITATIONS
21. LICENSE PLATES                   22       10                 18               13         63       ..-
22. BUSINESS CHECKS                 603       533                590              247       1973
23. RESIDENCE CHECKS                51        307                142               16        516
                                                                                                     ..-
24. VEHICLE CHECKS                  40         49                75                43        207
                                                                                              4
                                                                                                     --
25. VEHICLE TAGGED                   3         1
                                                                            i                39
                                                                                                       -
26. VEHICLE TOWED                    7         5                 15                12
                                                                 25                16        86
27. PEDESTRIAN CHECKS               24         21                                                      .--
28. FIC/MIC                                                      124               97        604
                                    280       103
29. liTTERING                                                                                         ....: . -
30. REFERRALS

                                                                 16                15         31
           DAYS WDRI(ED             16         15
           Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 246 of 297



           From:              Daniel SWear
           TQ:                Corey Hebert:
    '\ '
           Subject:           Gretna Picture Att. 1
           Date:              Tuesday, March 24, 20156:53:15 PM
                                                                   ~'_U__
           - - - - - - - - - - - - - - - - - - - - - - - - - - - -__           U_"_________________~______________
                                                                       II.I. ___




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    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 247 of 297




        Policy to go with 12-19-14 Info (3 images)




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            to,r lh~, IjJUr.:P'J~ 'Cif slUarroptidolt1:&ly irtCO.rd:hlg, ;;m}"~(}lw-e.r.l!~ti;!}n relating    BrJ[J'      sr,
            w~y, dtre-ct!y or ind~ro:;:q)', to tht1'~Jl-artm~ti.t, or [bulii:tn)$S o..fthe .Depa,ri::ma:~nt"
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               ;deluwrr,·~~t:a:" ott~·~lfj:r1;kk: B',iLl fro,r,n ell,ch me.mibea- undli;f th~j;r COffimlIDd..

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        Daniel W. Swear

        Cell   (504) 319-2.718




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                                                                       Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 250 of 297




C·TEMI                                                                                                                                                                       Page 1




                                                              Vcrroll               Swear               Chiasson                   Par..           Frisch      Brouillette        Vacanl   Other   EIJ1!>   Corn'"   Rank                    TOTAL
'1. TOTAL COMPLAINTS                                            40                    97                     77                   103               117           72                                                                          506
 2. NON·RTF'S                                                   29                    58                     49                   71                 58           53                                                                          318
 3. OLD COMPLAINTS                                               1                     6                     3                     2                 10            5                                                                           27
 ,I. ASSISTS                                                    14                    42                     29                   37                 22           75                                                                          219
5. ARI,IMS                                                       1                    16                      9                     7               10             6                                                                           49
G. SUFPLEMENT                                                    0                    1                       1                     2               2              1                                                                            7
7. VEHICLE STOLEN                                                0                     0                      0                     0               0              0                                                                            0
Q.·VEHICLE RECOVERY                                              0                    0                       0                     0                              0                                                                           0
 9. ACCIDENT                                                     0                     0                      0                                                    0                                                                           4
 10. SUMMONS                                                     0                     0                      0           ----:;-1i;--t-___j°;;::;--:::::i:-=-:i'o°-~----_t_---__t----_j_--·-_t----'I_---j_---l-___:c;\_;1::---1-----1
 :~;·~~~:~;~~i;~"CHMENT I 10...., . "20··"1 ,.                                                                           I'' ' ):.:;,"""''1' ".".",.,,46'" ." "t'~" .~·;,:';7::l:5~iF;~f:f:;?1~EjAf,i;f.~''-----T----j-----j-----t----+----+--_+_1-:21~5_+__
                                                                                                                                                                                                                                                           -I
 '1<1. DWIIIRREST
 '15. JAI< FELONY
                                                                  0
                                                                  0
                                                                                       0
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 ·IO.JAI' MiSDEMEANOR.....·, .. ··                       :-•••;;.·0                    0                      0                     0                0             0                                                                           0


 19. PARKII'JG CITATIONS                                           0                      0                    0                       0 .           0              0                                                                          0
2U. Wt,RNING CITATIONS                                             0                      0                    0                       0             0              0                                                                          0
21. PU\TES                                                         0                      6                    0                       3             2              4                                                                          15
22. BU31!~ESS CHECKS                                              40                      9                  105                      23            44            11B                                                                         339
23. RE31DENCE CHECKS                                              24                      0                   26                      11             0             31                                                                          92
2.1. VEHICLE CHECKS                                                8                     11                  10                       16            15              1                                                                          61
25. VEHICLE TAG                                                    0                      2                    0                       0             0               0                                                                          2
26. VEHICLE TOW                                                    0                      1                    0                       5             6               1                                                                         13
~PESTRIA.~CI:E?I(~:.                                           ... 2                      1                    4                      11                          .. 3                                                                         24
28. MIL . ".':--: ··:-.·.• ·..,··".•.t.,.;;i.·. ".(', ."; ..'.·;;.10) ,',;t.;·,: ,. "'i.·d5.jeD.;; ":'",;:'/,12'::1';,';;" :::,1, :i:i20·/fj;"j;            '.C3;·Jl20.;;X/" if                                                                92
29. LITTERING                                                      0                      0                    0                       0                             0                                                                         0
~.(j~ REFERRALS                                                    0                      0                    0                       0             0               0                                                                         0
                                                                   o                      0                    0                       0             0               0                                                                         0
_~,YS WORKED                                                     6                    11                     10                    12                9             11




                                                                                                                                                                             C-Team                                                                      Jan 2015
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D.ECEMBER 2014
                                                             MONTHLY TEAM STATISTICS                                                     "A" TEAM




                                          ALFARO   BRYSON   MILLER   BARTLETr    ~1ATTE   DOUGHERTY   BOUDREAUX   COMM   OTHER   TOTAL
                  1. TOTALITEMS            132      159      119       117        80         125         146       38     15      931
                  2. NON-RTF'S             105      125       65       89         56         124         109        0     14      687
                  3. OLD COMPLAINTS          2       11        8        4          0           0           2       22      0       49
                  4. ASSISTS                39       17       56       56         41          22         40         0     105     376
                  5. ARMMS                  14       15       18       13         13           1          20        0      1       95
                  6. SUPPLEMENT              1       4        6         0          0           0           1        0      0       12
                  7. VEH. STOLEN             0       0         0        0          0           0          0         0      0        0
                  B. VEH. RECOVERED          1       0         0        0          0           0         1          0      0        2
                  9. ACCIDENT                4      11        3         3          4           0          1         0      0       26
                 10. SUMMONS                 0       0         0        2          1           0         1          0      0        4
                 11. WARRANT/ATTACHMENT     11      12       27         9          6           0         16        38      0      119
                 12. FELONY ARREST           0       0        0         4          4           0          2         0      0       10
                                                                             I
                 13. MISDEMEANOR ARREST      9       6       20         7          7           0         15         0       0       64
                 14. DWI ARREST              0      0         0         0          0           0          0         0      0        0
                 15. JAR FELONY              0       0         0        0           0         0           2         0       0        2
                 16. JAR MISDEMEANOR         0       1         0        1          1          0           1         0       0        4
                 17. CITATIONS              26      39        62        13         22        146         90         0      11      409
                 18. RADAR CITATIONS        11       3        7          6         2          6           3         0       0       38
                 19. PARKING CITATIONS       0       3         0        2           0         0           0         0       0      5
                 20. WARNING CITATIONS       0       0         0         0          0         0           0         0       0      0
                 21. LICENSE PLATES          0       0         8         2          4         0           8         0       0     22
                 22. BUSINESS CHECKS        36      104       23        15         17         86         26         0     296     603
                 23. RESIDENCE CHECKS        1       5         2         0          2         34          6          0      1      51
                 24. VEHICLE CHECKS          2       6         2         5          3          5         17          0      0      40
                 25. VEHICLE TAGGED          1       1        0          1         0          0           0          0      0       3
                 26. VEHICLE TOWED           0        0       1          1         4          0           1          0      0       7
                 27. PEDESTRIAN CHECKS       3        0       4          4         6          0           7          0      0      24
                 28. FIC/MIC                40       45       29        32         28         56          44        0       6     280
                 29. LITTERING               0        0        0         0
                                                                             :
                                                                                    0          0          0         0       0       0
                 30. REFERRALS               0        0        0         0          0          0          0         0       0       0
                         DAYS WORKED       12.5     13.5     14.5       13        13.5        15         13.5       16     16      16
               ;                     Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 252 of 297
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:':::s.l)(;J,IWi::2UJ:i-
                                                                   1~\:dJ MONTHLY TEAM STATISTICS                                                             "AU TEAl"!
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                                                                  ~.



                                                    ALt-'ARO   BR\'SON   i\tILLER   IIARTLETf   MATTE   DOUGIlEItH'   BounREAlIX   COt\li\1   OTHER   TOTAL
                           1. TOTAL ITEMS             87         71        61          53                   69           82                            423
                           2. NON-RTF'S               72         56        40          ,37                  67           48                            320
                           3. OLD COMPLAINTS           0          1         3           2                    1            0                             7
                           4. ASSISTS                 21         11        29          17                   16           22                            116
                           5, ARMMS                   10          9        16          11                    1           17                             64
                           6, SUPPLEMENT               0          0         2           2.                   0            0                             4
                           7. VEH. STOLEN              0          0         0                                0            0                             0
                           8, VEH. RECOVERED           0          0         1                                0            1                             2
                           9. ACciDENT                 1          0         0           1                    0            1                              3
                           10. SUMMONS                 0          0         0                                0            0                              0
                           11. WARRANT/ATTACHMENT      3          6         1           3                    0           17                             30
                           12. FELONY ARREST           0          0         1                                0            2                              3
                           13. MISDEMEANOR ARREST      5          1         7           8                    0           11                             32
                           14. DWI ARREST              0          0         0                                0            0                              0
                           15. JAR FELONY              0          0          0                               0            0                              0
                           16. JAR MISDEMEANOR         0          0          0          1                    0            0                              1
                           17. CITATIONS               18         20        43         26                   109          37                            253
                           18. RADAR CITATIONS         10          0         7          6                    5            5                             33
                           19. PARKING CITATIONS        0          0         0                               0            0                              0
                           20. WARNING CITATIONS        0          0         0                               0            0                             0
                           21. LICENSE PLATES           1          1         5          2                    0            2                            11
                           22. BUSINESS CHECKS         16         19         6                              3B            8                            B7
                           23. RESIDENCE CHECI<S        0          0         8                              18            6                            32
                            24. VEHICLE CHECKS         2           3         2          2.                   1            7                            17
                            25. VEHICLE TAGGED         0           0         2                               1            0                             3
                            26. VEHICLE TOWED          0           0         2                               0             2                            4
                            27. PEDESTRIAN cHECKS      1           0         0          1                    0             2                            4
                            2B. FIC/MIC                36         22       '25          22                  43            20                           168
                            29. LITTERING               0         0          0                               0             0                            0
                            30. REFERRALS               0         0          0                               0             0                            0
                                    DAYS WORI<ED       B.5        8          9          5                   8.5           7.5                          46.5
                            Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 253 of 297




AUGU1H2014
                                                                    MONTHLY TEAM STATISTICS                                                       "A" TEAM




                                      MEKDESSIE   ALFARO   BRYSON      MILLER   BARTLEIT   MATIE   DOUGHERTY   BOUDREAUX   COMM   OTHER   TOTAL
             1. TOTAL ITEMS              85        94       158         182        I        141       118         187       80     12     1037
             2. NON-RTF'S                80        71       122         104        0        101       111          89        0     10      88B
             3. OLD COMPLAINTS            0         0        5          11         0         9          2         12        43      1       83
             4. ASSISTS                  19        33       29          90                  58         21          55        0     143     44B
             5. ARMMS                     0         7        15         25                  18          2          21        0      1       87
             8. SUPPLEMENT               1          0        1           6                   0         0            2       0       1       11
             7. VEH. STOLEN               0         0        0           0                   0         0            0       0       0        0
             B. VEH. RECOVERED            0         0        0           0                   0         0            0       0       0        0
             9. ACCIDENT                  1         3        B           4                   5         1            2       0       0       24
             10. SUMMONS                  0         0        4           4                   1         0            4       0       0       13
             11. WARRANT/ATTACHMENT      3         12        9          38                  18         3           72       80      1      238
             12. FELONY ARREST            0        1         0           2                   0         0            2        0      0        5
             13. MISDEMEANOR ARREST       0        1         6          12                  10          0          13        0      2       44
             14. OWl ARREST               0         0        0           0                   0          0           0        0      0       0
             15. JAR FELONY               0         0        0           0                   0          0           0       0       0       0
             18. JAR MISDEMEANOR          0         0        0           0                   1          0           0       0       0       1
             17. CITATIONS               79         27      85           59                 53        117         105       0       0      505
             18. RADAR CITATIONS         21         11       2           19                 10         21           1       0       0       85
             19. PARKING CITATIONS        0          0       1           0                   0          0           0       0       0        1
             20. WARNING CITATIONS        0         0        0           0                   0          0           0       0       0        0
             21, LICENSE PLATES           6          0       0           5                   3          0          12       0       0       26
             22. BUSINESS CHECKS         67          1      43           13                  0         60           2       0      107     293
             23. RESIDENCE CHECKS         0          6       4           20                  0         51           5       0       0       86
             24. VEHICLE CHECKS          11          5       6            6                 10          0          18       0       0       56
             25. VEHICLE TAGGED           0          1       1            1                  0         0           0        0       0        3
             26. VEHICLE TOWED            0          0       1            4                  1         0           4        0       0       10
             21. PEDESTRIAN CHECKS        0          0       1            3                  B         0           6        0       0       18
             2B. FIG/MIC                 47         40       89          56                 59        52          55        0       4      402
             29. LlITERING                0         0        2            0                 0          0          0         0       0       2
             30. REFERRALS                0         0        0            0                  0         0          0         0       0       0
                   DAYS WORKED           11         9        17          17                 13        17          14        17     11      17
Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 254 of 297
   MONTHLY TEAM STATISTICS                                                p   )N
                 (                        Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 255 of 297
                 ',,--

                                                       CITY OF GRETNA POLICE DEPARTMENT
                                                                  OFFICERS DAILY ACTIVITY REPORT


      OFFICER (1)          frO DANIEL SWEAR #127 (G5293)                                   OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                         I. Platoon:     C-Team         1   Beat:            I Date:      12/1/14                       1   Hours:     1900 to 0700

!i·i.J;"~'i·tNo .-          16                      1. Total Items   6 ._ _ _ g. Accident         _____ 17. Citations                       25. Veil Tag
                         -=-=----                                  -.:6=--____ 10. Summs          _____ 18. Radar Cts                       26. Veil Tow
il Equip [\10.              303                     2. Non RTF's
                         -----                                                   11. Warr/Att
II:Ivlile In                    81
                         --=2=5..::c=3:.:..:.9'---_ 3. Old Camp    -    ----                      - - - - 19. Park Cts
                                                                   --.:2=--_ _ _ 12. Felony Arrst _ _ _ _ 20. Warn Cts
                                                                                                                                            27. Ped Cks
                                                                                                                                            28. Fie Cards            5
 . I"lile Out               35745.0
                         ~~-'-=----
                                                    4. Assists
                            69.9                                   _ _ _ _ 13. fvlisd Arrst               21. Plate(s)                      29. Littering
Ii Total IVlile          -     - - - - 5. ARMMS                                  14. DWI Arrst            22. Bus Cks           6           30. Referrals
                                                    6. Supplmnt    ----                                                       ~----
                                                    7. Veil Stln   _ _ _ _ 15. JAR Fel                    23. Resd Cks        --.:2=--_ _
                                                    8. Veil Recv                 16. JAR f"1isd           24. Veil Cks          2

                          illQillON                    ACTIVITY              riB~              RECEIVED             COl'-1PLETED                 . UI::>PU::>l nON
      200 5TH                                            10-8                   -                 1900                               BTOD
      3200 I3LK WHITNEY                                   21                 60090                1902                 1910          NAT



        .l1 COLONY                                        21                 60106                0012
      · 9Z5 CHRISTIANA                                    21                 60108                0025

      'lOS 20TH                                         10-42 -                                     -
      200 5TH                                           10-10-
      · 2300 BLI< BELLE CHASSE                            18                   A                  0159

      1B20 BELLEGlASSE                                   1ll-10                 -                   -
      ·5"i~1 FAmFIELD                                    lll-10
                                                                                -



      ,···-·------------~-------I--~-------+----------l---------I--------------------


       SlGN/HUI<.E OF OFFICER (1) ___________________~_ _ SIGNATURE OF OFFICER (2)
                                                                                                                          -------------------
                                                   SIGNATURE OF SUPERVISOR
                            Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 256 of 297

                                         CITY OF GRETNA POLICE DEPARTMENT
                                                   OFFICERS DAILY ACTIVITY REPORT


 OFFICER (1)   FTO DANIEL SWEAR 1/:127 (G5293)                           OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                            I Platoon:    C-Team        I Beat:            I Date:    12{2(14                  I Hours:   1900 to 0700

Ii Li;:;i'C'N;~,"m. 16          1. Total Items 6       g. Accident   ~ ..,., _M'___  17. Citations   3    _ _ 25. Veil Tag
 ! Equip No. -'_3::..::0'-3---- 2. Non RTF's -5=----- 10. Summs                      is. Radar Cts       _ _ _ 26. Veh Tow
 . [\1ile In        35870.4     3. Old Camp           11. Warr/Att     ".,;1=--_ _ _ 19. Park cts    _ _ _ _ 2.7. Ped Cks
 , Hile Out         35813.9     4. Assists            12. Felony Arrst               20. Warn Cts    _ _ _ _ 28. Fic Cards       2
   Total Mile       56.4        5, ARMMS              13. Misd Arrst                 21. Plate(s)    1 _ _ 29. Uttering
                                6.Suppltllllt         14. DWI Arrst                  22. Bus Cks     3 _ _ 30. Referrals
                                7. Veh Stln           15. JAR Fel                    23. Resd Cks
                                8. Veh Recv           16. JAR rv1isd                 24. Veil Cks    3




 SICNATURE OF OFFICER (1) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                    SIGNATURE OF SUPERVISOR
                                                                            Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 257 of 297

                                                                                               CITY OF GRETNA POLICE DEPARTMENT
                                                                                                          OFFICERS DAILY ACTIVITY REPORT


      OFFICER (1)                                     FrO DANIEL SWEAR #127 {G5293}                                                                      OFFICER (2)

I.PlvlsiOll:                                       Patrol                 I Platoon:            C-Team         I Beat:                                        I Date:        12./10/14                                        I Hours:        1900 to 0700
     ";"';t I::m":."""'''''~''   ...........~. ~                                                               -     .:=~   •••.••• -


• Unit No.                                          21                    1. Total Items            5               9. Accident                                              17. Citations          _ _ _ _ 25. Veh Tag
  Equip No ..                                       303                   2. Non RTFis              4              10. SUlllms                                               18. Radar Cts          _ _ _ _ 26. Veil Tow
  1'Ilile In                                        36012.4               3. Old Comp               1              11. Wan/Att                                               19. Park Cts           _ _ _ _ 27. Ped Cks
! f"1ile Out                                        35949.4               4. Assists                2              12. Felony Arrst                                          20. Warn cts           _ _ _ _ 28. Fic Cards                               2
                                                                                                                                                                                                                                                    -=----11
  Total Ivlile                                      63                    5. ARMMS                                 13. Misd Arrst                                            21. Plate(s)           _ _ _ _ 29. Uttering
r                                                                         6. Suppltllflt            1              14. DWI Arrst                                             22. Bus Cks            -=-_
                                                                                                                                                                                                     5   _ _ 30. Referrals
I:                                                                        7. Veil Stln                             i5. JAR Fe!                                               23. Resd Cks              1
I. . ._-. . . . .
     .....
                                                                          8. Veh Recv                         =~
                                                                                                                   16. JAR
                                                                                                                       .... Misd h ..... _ . . . . . .
                                                                                                                                                          1                  24. Veh Cks               1

                                                     LOcATION                                  ACTIVln'               ITElvJ                                   Rf-:::nvr-n           COfvlPLETED                                      Ul::'PU::'lllON
     . 2.00 5TH                                                                                  10-8                         -                                   1900                       -                          BTOO
      'IBOTlr-ljBEI~LANE                                                                        10-10                          -                                  1920                   2000                           BUS-CHI(
      i62UBELLE CHASSE                                                                          10-10                          -                                  2005                   2025                           GUS CHI<
                                                                                                  24
                                                                                                             ~
     j:OOcmiMERCE                                                                                                                                                 2030                   2035                           NAT
      r"iARlEN i                               ,            'i~;9!0f;jf"l~: ." ' !/.,~;i;l~j                                                             k'··. '                                                   I; 3/\1J:;L;Gti iii.',;;
                                                                                                                                                                                                 ~ ~"F"'''.':'!,)HFi]
                                                                  ",.",                                                                                                                                       ....
      PAti~bl                                                                                   lCi-l0                                                              -                        -                       pAtROL
      ,:j'!9 FAII~FIELD                                                                         10-10                   -                                                                                               RESCH!(
     , j(j20 BELLECHASSE                                                                        10-10                   A                                          2300                  2302                           A-17
      033ADE:E                                                                                    :21                 61043                                        2325                  2327                           flUC
      9tH GRETNABLvb                                                                            1018               L-61010-14                                      2356                  "'6013                         RTF (SUPPLElvltfll\ ), I-A JAR
     ·';1052011-1                                                                               10-42                                                               -                        -                          RESTROOM IJSE
     . 356 TIrvJBERLANE                                                                          24                  61049                                         0133                  0151                           NAT
     -iJA1'r~ol                                                                                 10-10                          -                                    -                        -                          PATROl
     'zoo 5TH                                                                                   10-10                                                                                                                   ~I<
     , 1614 BELLE CHASSE                                                                        10-10                                                               -                                                   BUscH!(
       PATROL                                                                                   10-10                          -                                                             -                          -PATROl
     ·1:"620 BELLEcHASSE                                                                         107                          A                                    0437                  0440                            A-17
      i820BE~                                                                                   10-10                                                                                                                   2BDS CHK
       Z06s'rH                                                                                  10-10                                                               -                                                    PAPERWORK
       200 5TH                                                                                   10-7                          -                                    -                    0700                            ETOO




       SlC';NATURE OF OFFICER(l) _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2) --'-_ _ _ _ _ _ _ _ _ _ _ __

                                                                                        SIGNATURE OF SUPERVISOR
                                                     Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 258 of 297

                                                                        CITY OF GRETNA POLICE DEPARTMENT
                                                                                           OFFICERS DAILY ACTIVITY REPORT


                                                                                                                                                           OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     OFHCER (1)       FTO DANIEL SWEAR #127 (GS293)

                                                  1 Platoon:                 C-Team                          I Beat:                                           I Date:   12/11/14                    I Hours:   1900 to 0700

rG;~iC~N;~==--,=2=1==::====="i=~"=T=ot="a=1"r=-te=m=s="=4=='=====9.A'Ccident~'=·_-=_=_=~=_=_=_=_=='1':::7=.C:::i":""ta-:-:ti=on=s~-:_=_-::_~::=i=s":=V=e=h=T-ag=-=-=-=="~
[I Equip 1\10.     . . .:.3:. . . 0-'-3_ _ _ _ 2. Non RTF's                        3                           10. SUn1Il1S                                              18. Radar Cts   _ _ _ _ 26. Veh Tow
i ["Iile in        _3:....;6-'-0_81::..:..-'-'t-- 3. Old Camp                      1                           11. Warr/Att                                              19. Park Cts    _ _ _ _ 27. Ped Cks .
\1[11i1e Out       . .,:3::..::6:..::0.::.:11::...:.::..9_ _ 4. Assists                                        12. Felony Arrst                                          20. Warn Cts    _ _ _ _ 28. Fie Cards         2
~ Total rVlile            69 ..?:____ 5. ARMMS                                                                 13. Misd Arrst                                            21. Plate(s)    _ _ _ _ 29. Littering
]                                                            6. Suppllllnt         1                           14. OWl Arrst                                             22. Bus Cks     _7=----_ _ _ 30. Referrals
1                                                            7. Veh Stln                                       15. JAR Fel                                               23, Resd Cl<s     2
:\                                                           8. Veh Reev                                       16. JAR Misd                                1             2.4. Veil Cks     2
11"~~""':!"""::"":1''''''''''':''''''~~_-*''~'                     ."                              ._-*",.....·M ...... ••
                                                                             ~l~'''''''''='=''''''_'                         ..   _ .... M····._..... __




      Sr(~"JATURE OF OFFICER (1) _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2)

                                                                    SIGNATURE OF SUPERVISOR
                                               Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 259 of 297

                                                         CITY OF GRETNA POLICE DEPARTMENT
                                                                     OFFICERS DAILY ACnVITY REPORT


                                                                                              OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 OFFICER (1)                       FTO DANIEL SWEAR #127 (G5293)

I ...
           ~~~~---~~~~-~~~---II~B~e=at~:---.--~ID=a~re=:-~1=2~/1=G~/1~4~
f"j5iVislofl: Patrol     I Platoon: C-Team                               _ _ _ _ _ _LI~Ha~u~rs~:_~19~O~0~ro~0~1~0~0_~1
.. , ..-;::-""'="'..,~.="'''~ .........
 Unit No.                        22
                                                -
                                           1. Total Items    1                                  17. Citations
                                                                                                                 ....
                                                        -----------------===--~~==-====-.~ '~.=-.--~======-==--===========~

                                                                     9. Accident                                                                                        25. Veil Tag            --I
 Equip No.                       303       2. Non RTF's      ~
                                                             1 _ _ _ 10. sWumm/As               18. Radkar Cts                                     26. Veh Tow                              ~~.'
 ~!li1e In                      36179.'1   3. Old Camp       _ _ _ _ 11. arr tt                 19. Par Cts                                        27. Ped Cks
                                                             7  _ _  12.. Felony  Arrst _ _ _ _ 20. Warn Cts                                       28. Fie Cards
 r/li1e Out                    --------_.. 4. Assists
                                36147.1
                                                             _ _ _ _ 13. Misd Arrst             21. Plate(s)                                       29. Littering
 Total ~'Iile                   32.3       5. ARM~1S
                                           6.Supplil1nt      _ _ _ _ 14. OWl Arrst              22. Bus Cks                              -'3=--_ _ 30. Referrals                                  I
                                           7. Veh Stln               15. JAR Fel                2.3. Resd Cks                                                                                     I
 ..•.,........"."'.=,=
                    ..... =~-~===.=
                                           8. Veh Recv
                                  ........,;;:;
                                                             - - - - 16. JAR Misd               24. Veil Cks                                1
                                                        .....~,;;;;;;;;;~=======";;;,;;.;",;;";,,.;;~;,;,;;,,,======~=~~;;,,;...;;;;,;;;;,.,--.-,;;~~==~~======-
                                          ..... ,;... .,;,,;;
                                                                                                                                                                                                  !~
                                  LOCATION                ACTIVITY              ITEM              RECEIVED               COMPLETED                                               lJ1SPOSlTION
 '20051:11                                                   10-8                -                  1900                           -                           BTOO
  ;1 flO TlIl'lBERLANE                                      10-10                -                     -                          -                            BUS CHK
  800 BU< rVlAALENE                                           18                 A                   2009                       2017                           i-\=93
  1620 BELLE rI-lL'lC;C;F                                   10-10                                      -                                                       BUS CHI<
                                                             10:3                A                   2050                       2102                           A-22
  1.7 WBX                                                                                                                                                      p;g-j.
                                                             107                 A                   2102                       2107
   .LHOl LAFI\YEITE
   (~i\rvESTBANI(                                           10-10                 -                                                -                           BUS CHI<
   J.7 WBX                                                   1018                A                     -                           -                           A-20
                                                             107                 A                   2140                       2145                           A~17
   CHILO@WSX
                                                                                                     2152                       2008              ...•...•.•   AEZ.
   i400BLKsr_                                                                                                   ' . ·.;':'·!:~~y;(;;J:j;i:;:j;~', \';:.>:: .. "j :§~MIPi,\WbH:€HkiS:'!'!;
   5tlir~IPFmi'i".'.Il\m'
  'Sl:\jr'1Pf @ WBX                                                                                  '2237                      2335                           7\-9
    20D 5TH                                                  10-7                 -                    -                                                        ETOD


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                .... ,.




   ......._---_.-


     StC.~i'lATURE OF OFFrCER (1)               _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                       SIGNATURE OF SUPERVISOR
                                            Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 260 of 297

                                                           CITY OF GRETNA POLICE DEPARTMENT
                                                                         OFFICERS DAILY ACTIVITY REPORT


                                                                                                                OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  OFFICER (1)                   FlO DANIEL SWEAR #127 (G5293)
     . . .--..-.-.. . . .-.---.------.      ! Platoon:         C-Team                  -Or Beat:                   ! Date:          12/19/14                                I Hours:         1900 to 0700
I.. .Pivisiol1: Patrol
[i"·ljl·lit--i~c;.          .....::2::,:1"--_ _ _ i Total Item~" ~2=--___ g, Accident                                                 ......:1=---_ _ _ 17. Citations                  ......:1=---___ 25. Veh Tag
    Equip ~Io.                 303                 2. Non RTF's         1                        10. Summs                                                               18. Radar cts                       26. Veh Tow
    ["1ile In                   36290.0           3. Old Camp                                     11. Warr/Att                                                           19. Park Cts  _        _        _ _ 27. Ped Cks
    ["1ile Out                  36215.4            4. Assists           1                         12. Felony Arrst                                                       20. Warn cts  _        _        _ _ 28. Fic Cards
     rotal ~'Iile               74.6               5. ARMMS                                       13, Misd Arrst                                                         21. Plate(s)   _       _        _ _ 29. Liltering
                                                   6.Supplmnt                                     14. OWl Arrst                                                          22. Bus Cks   _1;..:...1::.....-_ _ 30. Referrals
                                                   7. Veh Stln                                    15. JAR Fel                                                            23. Resd Cks       2.
  .......... ,_~~~~'m~"-••_=.=._ ...=
                                                   8, Veil Recv .....=.--.-.=
                                    .. ==~~~~-~---..=.-                  . =-= -=....-..=.....".; 16. JAR IVlisd
                                                                                              ........~.~.,:.,,;
                                                                                                               . .:;,;;;-.-...~-.--=-
                                                                                                                                   . =-._=-= ......=-......=..........~-
                                                                                                                                                                         24. Veil Cks
                                                                                                                                                                       ... ~~~========~~~

              -                                              ACTIVITY                       ITEM                      RECEIVED                 COMPLETED                          DISPOSITION
                               LOCAT[ON
   200 5Til                                                    10-8                           -                         1900                        -                  BTOD
                                                                20                          62044                       1841                      1915                 RTF 1 aT (256286C)
   WHIT Nl~Y @ BELLE CHASSE
    .1614 BELLE CHASSE                                        10-10                            -                            -                          -               BUS CHK
                                                                 18                           A                           2036                      2050               A-13
    BELLE CHASSE @ GRETNA
                                                                107                         62058                         :2056                     2057               NAT
    FAIR FIELD @ Cm1fvlERCE
    18BB BEUE CHASSE                                           10-10                           -                            -                          -               BUS CHK
    100 B . LK ENTERPRISE DRIVE                                10-10                           -                            -                          -               2 BUS CHK
    '180 'l'If'lIBERLANE                                       10-10                           -                            -                          -               BUS CHK
    '1052 0'111                                                10-42                           -                            -                          -               RESTROOfvl USE
    PflTROl.                                                   10-10                           -                             -                        -                PATROL
                                                                103                            A                          0138                      0150               A-93
    326 I"IUI:Y P LONG
    200 5TI-I                                                  10-10                           -                            -                          -               PAPERWORK
    1620 BELLE CHASSE                                          10-10                           -                            -                          -               2 BUS CHI<
                                                                   -                           -                             ..                        -               PATROL
    PATPDL.                                                                        -
    52'1 F-AIRFIELD                                             10-10                          -                             -                         -               RES CHK
    '1'19 F'AIRFIELD                                            10-10                          -                             -                         -               RES CHK
    1.820 BELLE CHASSE                                          10-10                          ..                            -                         -               4 BUS CHK
    2005 TI-I                                                    10-7                          -                             -                         -               ETOD

             -
                  -



     SIG,NATURE OF OFFICER (1) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2)

                                                         SIGNATURE OF SUPERVISOR
                                  Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 261 of 297
                                                                                     I
                                                                                '-/


                                                CITY OF GRETNA POLICE DEPARTMENT
                                                            OFFICERS DAILY ACTIVITY REPORT


      OFFICER (1) _FrO DANIEL SWEAR #127 (G5293)                                     OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

[l?~ivisioll:        Patrol       I Platoon:       C-Team        I Beat:                 I Date:   12/20/14                       I Hours:    1800 to 0600
                                                              -~.--~=================                        .....   -==============-==------===~-==

                                                                                     _ _ _ _ 17. Citations            _4--'--_ _ _ 25. Veil Tag
li··~~~~~i I~~I·O.
                       16         1. Total Items     7             9. Accident
                      303         2. Non RTFs        6            10. Summs          - - - - 18. Racial' Cts                       26. Veh Tow
Ii ~'1ile In          36358.0     3. Old Camp                     11. Warr/Att       - - - - 19. Park Cts                          27. Ped Cks
I  fvlile aLit        36297.2     4. Assists
                                  5. ARJvlMS
                                                     3
                                                     1
                                                                  12. Felony Arrst
                                                                  13. Misd Arrst
                                                                                                20. Warn Cts
                                                                                     --'1"--_ _ 21. Plate(s)
                                                                                                                                   28. Fic Cards
                                                                                                                                   29. Littering
                                                                                                                                                     3
      Tolal [Viile    60.8
                                  6. Supplll1nt                   14. OWl Arrst      _ _ _ _ 22. Bus Cks              _1_ _ _ 30. Referrals
I                                                                 15. JAR Fel        _ _ _ _ 23. Resd Cks
                                  7. Veil Stln
I,
                                  S. Veh Recv                     16. JAR I'1isd                24. Veh Cks            2   "================= .....-==:1
Ii.




       SIGNATURE OF OFFICER (1)                                                      SIGNATURE OF OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ __

                                               SIGNATURE OF SUPERVISOR
                                                                                    Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 262 of 297
                                                                                                                                                           ,J

                                                                                                  CITY OF GRETNA POLlCE DEPARTMENT
                                                                                                                       OFFICERS DAILY ACTIVITY REPORT


     OfFICER (1)                                    FrO DANIEL SWEAR 41:127 (GS293)
                                                                                                                                                                     OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


[T)·i~ision:                            Patrol                                      I Platoon:               C-Teatn                                                  I Date:      12/21/14                                                                              I Hours:                      1900 to 0700
                                                                                                                                                        ;;o;:ao:l;
                                                                                                                                                                                                     _ _ ••   ~n   •••••   _._.~_._   •• _ ••••• _ •• _ •• :::;•• _ _ ••••   ·__ ·_.,,·v··_·
                             ,......,-""~..,.~~                .. -..=---..,.....         II>.I~=-=O
                                                                                                                        )'* .... axo.Q=~~1:<
                                                                                                                                               "-

j!C;i;it'N~                                   16                                    1. Total Items             3          9. Accident                                            17. Citations                                                                                25. Veh Tag
                                              303                                   2.. Non RTF's              3         10; Summs                                               18. Radar Cts                                                                                2.6. veh Tow
II Equip 1\1 o.
                                                                                                                         11. Warr/Att                                            19. Park Cts                                                                                 2.7. Ped Cks
1    r"I~le In                                36407.3                               3. Old Camp
                                                                                                                                                                                 20. Warn Cts                                                                                 2.8. Fie Cards
                             t                36363.7                               4. Assists                           12. Felony Arrst                                                                                                                                                                             2.
\}': [vIlle au
                                              43.6                                  5. ARfVUIiJS                         13. Misd Arrst                                          2.1. Plate(s)                                                                                2.9. Littering
I: Total !VI ile
                                                                                                                                                                                 22.. Bus Cks                        5                                                        30. Referrals
Ii
j=                                                                                  6.Supplmnt                --_...---- 14.  OWl Arrst
Ii                                                                                  7. Veil SUn                          15. JAR Fel                                             23. Resd Cks                        1
                                                                                    8. Veh Recv                          16. JAR Misd                                            24. Veil Cl<s                       1                                                                                                     ___ .J
'L".,,,.,_,,,,,,,,,,
 I                   •.. _       ._--   ... -,,_.    _.. _-_......                                h •••••_
                                                                                                                                                '- -'

                                                LOCATION                                            ACTIVITY                        ITEH                                RECElVED          COl'-1PLETED                                                                                         Jl:::'P} I:::'J   IN
                                                                                                                                       -                                  1900
                                                                                                             10-10                                                                                                                                     PATROL
      F'ATROl.
     .'1610 BELl.E r.i-If-Ic;c;r.:                                                                           10-10                     -                                    -                    -                                                     BUS CHK
                                                                                                             10-10                                                          -                                                                          BUS CHI<
                                                                                                                                                                                                                                                       RES CHK
      356 Tll\'lBERLANE                                                                                       21                    62263                                 2206                2209                                                     t-l1C
     -I520 BELl.E CHA~E                                                                                      10-10                      -                                                                                                              2. BUS CHi<
      PATROl                                                                                                   -                        -                                   -                    -                                                     PATROl
      1888 BELLE rHAC;C;F                                                                                    10-10                      -                                                                                                              BUS CHK


                                                                                                                                        -
      . 200 STI-I                                                                                            10-10
                                                                                                             10-40
       200 5TH                                                                                                10-7                      -                                                                                                               ErOD




         SIGNATURE OF OFFICER (1) _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2) ---------------------

                                                                                                 SIGNATURE OF SUPERVISOR
                                                                                                                                                                                                            -----~~~-




                                                                                 Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 263 of 297

                                                                                             CITY OF GRETNA POLlCE DEPARTMENT
                                                                                                          OFFICERS DAILY ACTIVITY REPORT


                                                                                                                                    OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   OFFICER (1)                                                   FTO DANIEL SWEAR #127 (G5293)


 ..._..._--i:
r-6lviSiol                                                     Patrol           I Platoon:       C-Team           I Beat:              I Dale:       12/2.4/14                        I Hours:   1700 to 0700
                                                                                                                                                                 .-
                                                                                                                                    ~--- 17. Citations
          ...--.....- ...
                                                                                                                                                               - - - - 25. Veh Ta g
 .~,...                              =~



   Unit No.                                                    16               1. Total Items      1               9. Accident                                                                   -'         . =='1:,
   I:quip 1'110.                                               303             2.  Non      RTF's          1         10. Summs               18. Radar  Cts    _____          26. Veil Tow
                                                                                                           .~----                    -----
   ['.1ile In                                                  36516.2         3. Old Camp                _ _ _ _ _ 11. Warr/Att     _ _ _ _ 19. Park Cts      _ _ _ _ 2.7. Ped Cks
ii i"Iile Out                                                  36471.1         4. Assists                 _ _ _ _ _ 12. Felony Arrst _ _ _ _ 20. Warn Cts      _ _ _~_ 28. Fie Cards                l
 ! 'fotal rvli1e                                               45.1            5.   ARMMS                 _  _ _ _ _ 13. Misd  Arrst         21. Plate(s)      _   _  _   _   29. Littering      ~',
                                                               - ----                                     _ _ _ _ _ 14. OWl Al-rst           22. Bus Cks       _7'--_ _ _ 30. Referrals
                                                                               6. Supplmnt
                                                                               7; Veh Stlh                           15. JAR  Fel            23. Resd  Cks       4
                                                                                                  --~--

                                                                                                                     16; JAR  ~1isd          24. Veh  Cks
                                                                               8. Veh Recv _ _ _=~.--;;;...;;.;.,,;;,;..;;;..;.,.;...;=-==~==;;;;,,,;.;,..;,.,,;;;;;.;,,.;;;,;,,;,;;,.=======A"I:~.=.~~~-======d!
                                                                    _ _~~-:...::;;";"..;..;";:;;;;,:....-
 ......,.,.,.. ... ...............,. .
                 -".    ",~




 _._-_.                                                                                                                                                                        -
                                                                 LOCATION               ACTIVIH                       ITErvl             RECEIVED            COfvlPLETED                      DISPOSITION
 M •••




     200 5TH                                                                     ----     10-8
                                                                                      ----.----            ---~.-------.
                                                                                                                           -               1700                        -           BTOD
         ••   _ . . . . . . . . .H ..._ _ "   .. _ · · · · _



                                                                                         10-10                             -                  -                        -           PAPERWORK
 . .?QQ._~Itl.                                                                                                                                -                        -           PATROL
         PATROL                                                                       I 10-10                              -

  _..'1'19 FAIRFIELD
                                                                                         10-10                             -                  -                        -           RES CHK
         FAIRFIELD                                                                               10-10                     -                  -                        -   .       RES CHI<
    __._--
 --.52"1
    9'11 fvlAI1.LEN E
 .._.-
                                                                                                 10-10                     -                  -                        -           RES CHK
    712 {vi ARLENE                                                                                21                  62850                 2332                      2333         MIC
         1.180 TI~mERLANE                                                                        10-.10                 -                     -                        -           BUS CHK
      335 FAIRFIELD                                                                              10-10                     -                  -                        -           RES CHK
      3600 CLAIRE                                                                                10-40                     -                0000                      0100         LUNCH
      1620 BELLE CHASSE                                                                          10-10                     -                  -                        -           BUS CHI(
   ...-..                                                                                                                                     -
                -~-.-.



          Pf\TI~Ol.                                                                              10-10                     -                                           -           PATROL
   ~'Ei~U=l0IIAN @ LAPALCO                                                                       10-10                     -                  -                        -           JPSO
          (·10520TH                                                                              10-'12                    -                  -                        -           RESTROOrvl USE               _._-
   ... ----.
          PATROl.                                                                                10-10                     -                  .                        -           PATROL
    .J.9..!.1_.g~bLE CHASSE                                                                      10-10                     -                  -                        -           BUS CHK
          1.820 BELLE CHASSE                                                                     10-10                     -                  -                        -           3 BUS CHI(
                                                                                                                                                                       -
     ,.   __ ._-_._.-
          1888   BELLE CHASSE                                                                    10-10
                                                                                                  10-7
                                                                                                                           -
                                                                                                                           -
                                                                                                                                                 -
                                                                                                                                                 -                     -
                                                                                                                                                                                   BUS CHK
                                                                                                                                                                                   ETOD
    .......200
            _... 5TH   _-----
    ..•.. __..._---
              --.------.--
     ........._...         _-
              SIGNATURE OF OFFICER (1) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2)                                                                              ------------~~--------~----


                                                                                          SIGNATURE OF SUPERVISOR
                                                      Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 264 of 297

                                                                  CITY OF GRETNA POLICE DEPARTMENT
                                                                                  OFFICERS DAILY AGIVITY REPORT


     OFFICER (1)                        frO DANIEL SWEAR tt127 (G5293)                                                        OFFICER (2) _ _ __

"i2E'.iSiQ!l.:..__ P,...':a~tr~o~l_ _ _--11_~Pl.:::.:at='o.::::on:.:.::_~C-_'_T_.::::ea:::.n:.:..l_ _ _ l _=B:..::e:.=.at.::.':______'IL:D::c.:a::..:t.::::::e:~----",,12::L/.=.25=.!./-=1~4_ _ _ _ _ _ _ll-,-H~o~u~rs~:_-=-19~0~0~t~o~0!..},70~0~_.-I
                                                                                 ----                                                                                         .   --
                               --                 -
  Unit NcI.                         16                1. Total Items                                9. Accident                                    17. Citations                                    25. Veh Tag
  Equip PJo.                        303               2. Non RTF's                                 10. SUlllms                                     i8. Radar Cts                                    26. Veil Tow
  iVHle In                          36573.1           3. Old Camp                                  11. Wan/Att                                     19. Park cts                                     27. Ped Cks
i 1"li1e Ot It                      36529.7           4. Assists                                   12. Felony Arrst                                20. Warn Cts                                     28. Fic Cards
                                    43.4              5. ARMMS                                     13. Misd Arrst                                  21. Plate(s)                                     29. Littering
~ Tolal '"Hie
                                                      6. Supplmnt                                  14. OWI Arrst                                   22. Bus Cks                         5            30. Referrals
'I
~                                                     7. Veil Stin                                 15. JAR Fel                                     23. Resd Cks                        2
"
!i                                                                                                                                                 24. Veh Cks
il!;_.,:=="=:::rI                   ,   ,-   ..
                                                            --
                                                      8. Veil Recv                                 16. JAR 1'1isd
                                                                                                                                                                                                                       --""" ..........   -   -'"   .-



1'-                                 LOCATION                        ACfIVITY                           ITEM                          RECEIVED                     COMPLETED                                    DISPOSITION
                                                                                                          -                            1900                               -                 BTOD
 [f~;gl~6l
                    I                                                 10-8
                                                                     10-10                                -                                                               -                 PATROL
 L_~~,:tllA] RFIELD                                                  10-10                                -                                 -                             -                 RES CHK
      1.149 FAIHFIELD                                                10-10                                -                                 -                             -                 RES CHI<
      'ISUnl'1BERLANE                                                10-10                                -                                 -                             -                 BUS CHK
     _,EATI,m l.                                                     10-10                                -                                 -                             -                 PATROL
     ,,:1§_~8 BELLE CHASSE
                                                                     10-10                                -                                 -                             -                 BUS CHK
       1620 BELLE CHASSE                                              10-10                               -                                 -                             -                 BUS CHK
     _!820 BELLE CHASSE                                               10-10                               -                                 -                             -                 BUS CHK
       161'1 13 ELLE CHASSE                                           10-10
                                                                                                  '.
                                                                                                          -                                 -                             -                 BUS CHI<
      2005T II                                                         10-7                               -                                 -                             -                 ErOD

                -




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      SIGNATURE OF OFFICER (1) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2.)
                                                                                                                                                                              --------------------------
                                                               SIGNATURE OF SUPERVISOR
                                                                                                                                                                                                     -    .. - .   ---~-----




                                                                           Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 265 of 297


                                                                                                CITY OF GRETNA POLICE DEPARTMENT
                                                                                                                   OFFICERS DAILY ACfIVITY REPORT


     OFFICER (1)             frO DANIEL SWEAR #12.7 (G52.93)                                                                                OFFICER (2)    PO KOLBY ARABIE #119

                                                                           I Platoon:                 (-Team            I Beat:               I Date:      12/29/14                      I Hours:    1800 to 0600

                                                                                                                                                                             _ _ _ _ 2.5. Veh Tag
l·l.J;~~"r*;.              19                                              1. Total Items                     2.          9. Accident       _ _ _ _ 17. Citations
                           303                                             2. Non RTF's                                  10.Summs           _ _ _ _ 18. Radar cts            _ _ _ _ 2.6. Veh Tow
1\ I:quip No.
                           36637.4                                         3. Old Comp                                   11. Warr/Att       _ _ _ _ 19. Park Cts             _ _ _ _ 27. Ped Cks
'\ [vlile 111
II Hile Ollt               36586.1                                         4. Assists                                    12. Felony Arrst   --=--_
                                                                                                                                              1    _ _ 2.0. Warn Cts         _ _ _ _ 28. Fie Cards
i Total [vlile             51.3                                            5. ARMMS                           2.         13. Misd Arrst     _ _ _ _ 2.1. Plate(s)            _ _ _ _ 29. littering
i                                                                          6. Supplmnt                                   14. DWI Arrst      _ _ _ _ 22.. Bus Cks             -'1=---_ _ _ 30. Referrals
I
                                                                           7. Veh Stln                                   15. JAR Fel        _ _ _ _ 2.3. Resd Cks
'j
i "...   "-.~~~='='=~,.=.,="",.,:""   ......._.._....._-_......   •   R_
                                                                           8. Veh Reev
                                                                           •••• __ •• _;:'.:l~=.=-~~~m"'.e:
                                                                                                                         16. JAR Misd       -~= ,====~2~4~:.~!,,~.~~k~s==~==========================~

                            LOCATION                                                              ACflVITY                 ITEtvl               RECEIVED          COIVlPLETED                    DISPOSITION
                                                                                                    10-8                      -                   1900                 -             BTOO
      :~Q9.5TI 1
      28 ASH TON COX APTft:2                                                                        A29S                   62986                  1759                1845           RTF
               ,                                                                                      93                   62988                  1845                0030           RTF 1-A
      70 VvBX
     -zoo 5 iST
            11                                                                                     10-10                     -                      -                  -             PAPERWORK
     .... ..,--,--
      "~


                                                                                                   10-10                      -                     -                  -             BUS CHK
      J§I~!f.IFAYffiE
       '10520 11iST                                                                                10-42                      -                     -                 -              RESTROor"l USE
     'ZOO 5'1 1ST                                                                                  10-10                      -                     -         ----- . -              REPORT WRITING/CORRECfrONS
       '105201I1ST                                                                                  10-40                     -                   0500                0600           LUNCH
       :;~9..Q_51(1ST                                                                                10-7                     -                     -                 0600           ETOO




                            -




           SlGNATURE OF OFFICER (1) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2)

                                                                                            SIGNATURE OF SUPERVISOR
                            Case 2:15-cv-06591-NJB-JVM Document
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                                      CITY OF GRETNA POLlCE DEPARTMENT
                                                 OFFICERS DAILY ACfIVITY REPORT


OFr-ICER (1)   FTO DANIEL SWEAR ·ffiL7 (G5293)                   OFFICER (2)   PO I<OLBY ARABIE t/119

                                                                                                        I Hours:   1900 to 0700

          ===-------===========-==========================-----------===============--=-====--~-======~
                                                                                             7 _ _ _ 25. Veh Tag
                                                                                             _ _ _ _ 26. Veh Tow
                                                                                             _ _ _ _ 27. Ped Cks
                                                                                             _ _ _ _ 28. Fie Cards       --=5=--_ _-1
                                                                                             _ _ _ _ 29. Uttering
                                                                                             9       30. Referrals


         ============~~~~~==========~~~~~==========~~~~~== 5========================~




 SIGNATURE OF OFFICER (1) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ SIGNATURE OF OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                    SIGNATURE OF SUPERVISOR
                               Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 267 of 297

     r
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                                            CITY OF GRETNA POLICE DEPARTMENT
                                                              OFFICERS DAILY AcrIVITY REPORT


 OFFICER (1)        FTO DANIEL SWEAR #127 (GS293)                                         OFACER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

I Division:    Patrol            Platoon:        C-Team                                       Date:       12 19 14                       Hours:     1900 to 0700

 Unit No.       21              1. Total Items        2 •           9. Accident.          1              17. Citations        1 .        25. Veh Tag
 Equip No.      303             2. Non RTF's          1 -          10. Summs                             18. Radar Cts                   26. Veh Tow
 Mile In        36290.0         3. Old Camp                        11. Warr/Att                          19. Park Cts                    27. Ped Cks
 Mile Out       36215.4         4. Assists            '1.~         12. Felony Arrst                      20. Warn Cts                    28. Fie Cards
 Total Mile     74.6            S.ARMMS                            13. Mlsd Arrst                        21. Plate(s)                    29. Littering
                ,               6. Supplmnt                        14. OWL Arrst                         22. Bus Cks          11-        30. Referrals
                                7. Veh Stln                        15. JAR Fel                           23. Resd Cks         2 ~




                                8. Veh Recv                        16. JAR Mlsd                          24. Veh Cks

                 LOCATION                   ACTIvnY                  ITEM                     RECEIVED             COMPLETED                     DlsPOSmON
                                                                      -                                                  -
                                                                                                               -
   200 5TH                                    10-8                                              1900                                BTOD
I-'WHITNEY @ BELLE CHASSE                      20                   62044 ~                     1841       ~           1915         RTF, 1 CIT (256286C) -
   1614 BELLE CHASSE                         10-10                    -                          -        II. 3)         -          BUS CHK
   BELLE CHASSE @ GRETNA                       18                     A                         2036      -~ / '      2050          A-13
   FAIRRELD @ COMMERCE                        107                   62058   I                   2056                  2057          NAT
   1888 BELLE CHASSE                         10-10                      -                         -                     -           BUS CHK •
   100 BtK ENTERPRISE DRIVE                  10-10                      -                         -                      -          2 BUS CHK·
   480 TIMBERLANE                            10-10                      -                         -                     -           BUS CHK.
  40520TH                                    10-42                      -                         -                     -           RESTROOM USE
  PATROL                                     10-10                      -                         -                     -           PATROL
  326 HUEY P LONG                             103                       A                       0138                  0150          A-93
  200 5TH                                    10-10                      -                         -                     -           PAPERWORK
   1620 BELLE CHASSE                         10-10                      -                         -                     -           2 BUS CHK'
  PATROL
  524 FAIRFIELD                              10-10
                                                  -                     -
                                                                        -
                                                                                                  -
                                                                                                  -
                                                                                                                         -
                                                                                                                       ....
                                                                                                                     (, )
                                                                                                                                    PATROL
                                                                                                                                    RES CHK
  449 FAIRFIELD                              10-10                      -                         -                  \,.!;/         RES CHK
  1820 BlUE CHASSE                           10-10                      -                        -                       -          4 BUS CHK .
200m,                                         10-7                      -                        -                       -          ETOD




                                                             ..#    ...-7



                                       ~~~~
SIGNATURE OF OFFICER (1)
                                  ".
                                         ~~
                                       SIGNMf'ORE OF SUPERVISOR
                                                                                  SIGNATURE OF O~ (2)

                                                                                ~'M                                                 •I i:J.
                                                                                                                                         EXHIBIT


                                                                                      .                  I •
                                                                                                                                    I                         Gretna:O257
                              Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 268 of 297


                                           CITY OF GRETNA POLICE DEPARTMENT
                                                           OFFICERS DAILY ACfIVITY REPORT


 OFFICER (1)      FrO DANIEL SWEAR #127 (G5293)                                    OFACER(2) ____________________________________

I Divis/on:    Patrol         I Platoon:       C~Team           I Beat:             I Date:         12/20/14                             I Hours:    1800 to 0600

 Unit 1\10.     16            1. Total Items        7""          9. Accident                        17. Citations         4/              25. Veh Tag
 Equip No.      303           2. Non RTF's          6/          10. Summs                           18. Radar Cts                         26. Veh Tow
 Mile In        36358.0       3. Old Camp                       11. Warr/Att                        19. Park Cts                          27. Ped Cks       1-
 Mile Out       36297.2       4. Assists            3 7l        12. Felony Arrst         /          20. Warn Cts                          28. Fie Cards     3./
 TotallVllle    60.8          S.ARMMS               1 :7        13. Mlsd Arrst     1 T              21. Plate(s)                          29. Uttering
                              6. Supplmnt                       14. OWl Arrst                       22. Bus Cks           1./             30. Referrals
                              7. Veh Stln                       15. JAR Fel                         23. Resd Cks
                              8. Veh Recv                       16. JAR Misd                        24. Veh Cks           2/

               LOCATION                    ACTIVITY                ITEM              RECEIVED                    COMPLETED                    DISPOSmON
200 5TH                                        1O~8                  ~
                                                                                       1900                          ~
                                                                                                                                  BTOD
1900 LAFAYETIE                                 67                 62153 I              1822                        1900           RlF l~A /
TIMBER LANE @ BELLE CHASSE                     18                 62158 (              1927                        1955          i.&C~VEH CHK /
PATROl                                      10~1O                    -                        -                      -            PATROL
2700 BLK GEHRING                               103                62170                      2152                  2158           UNF
1000 BlK LAPAlCO                                18                62173 ,;                   2230                  2238          \~W€;':VEH CHK /
TIMBERLANE @ BELLE CHASSE                       18                  A                        2248                  2255           A~17
FAIRFIELD @ BEllE CHASSE                        18                62178 I                    2339                  0001          /1 CIT (256287C)
2040 BELLE CHASSE                              107                62183;                     0041                  0055          "l'UC. PED CHK /
40520Tli                                    10~2                    -                         ~

                                                                                                                    -              RESTROOM USE
2040 BE1.LE CHASSE                             107                  A                        0132                  0150         , A-17
PATROL                                          -                   -                         -                     -              PATROL                                         .J
200 5TH                                     10-10                   -                         ~
                                                                                                                     -             PAPERWORK
GRETNA @ BEllE CHASSE                         18                  62196 1                    0317       ,.:.;\     0332         113 errs (256288C)
                                                                                                                    -
1888 BELLE CHASSE
5155TH
40520TH
                                            10-10
                                             62A
                                            10~O
                                                                    -
                                                                    A
                                                                     ~
                                                                                               -
                                                                                             0445
                                                                                               -
                                                                                                        -
                                                                                                        llllfJ
                                                                                                                   0455
                                                                                                                    ~
                                                                                                                                  BUS CHK
                                                                                                                                 A-97
                                                                                                                                 LUNCH
200 5TH                                     10-7                     ~
                                                                                               -                    -            trOD




SIGNATURE OF OFFICER (1)



                                                                                                                                                                    Gretna:0258
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                                           CITY OF GRETNA POLICE DEPARTMENT
                                                           OFFICERS DAILY ACTIVITY REPORT


 OFFICER (1)      frO DANIEL SWEAR #127 (G5293)                                    OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

I Division:    Patrol         I Platoon:       C-Team           I Beat:             I Date:     12/21/14                             I Hours:    1900 to 0700

 Unit No.       44            1. Total Items        3 -          9. Accident                    17. Citations                         25. Veh Tag
 Equip No.      303           2. Non RTF's          3     ..    1O.Summs                        18. Radar Cts                         26. Veh Tow
 Mile In        36407.3       3. Old Camp                       11. Warrl Att                   19. Park Cts                          27. Ped Cks      ~

 Mile Out
 Total Mile
                36363.7
                43.6
                              4. Assists
                              5. ARMMS
                                                                12. Felony Arrst
                                                                13. Misd Arrst
                                                                                                20. Warn Cts
                                                                                                21. Plate(s)
                                                                                                                                      28. Fie Cards
                                                                                                                                      29. Littering
                                                                                                                                                        2J
                                                                                                                                                      \../
                                                                                                                                                                          1
                              6. Supplmnt                       14. OWl Arrst                   22. Bus Cks         5 ....            30. Referrals
                              7. Veh Stln                       15. JAR Fel                     23. Resd Cks        1 ,
                              8. Veh Recv                       16. JAR Misd                    24. Veh Cks         1   ~




               LOCATION                    ACTIVITY                ITEM              RECEIVED              COMPLETED                        DIsposmON
200 5TH                                      10-8                   -                  1900                    -               BTOD
PATROL                                      10-10                   -                     -   /                -               PATROL
1610 BELLE CHASSE                           10-10                   -                     - v                  -              BUSCHK
480 TIfV!BERLANE                            10-10                   -                     -                    -              BUS CHK
524 FAIRFIELD                               10-10                   -                     -                    -             .,RS? CHK
356 TIMBERLANE                                21                  62263 -               2206                 2209             MIC)/-
1620 BELLE CHASSE                           10-10                   -                     -      ~             -             ~USCHK'
PATROL                                          -                   -                     - f&< )              -              PATROL
1888 BELLE CHASSE                           10-10                   -                     - \'    ......       -              !lOS\CHK •
3 FERNWOOD                                   21                   62272 ,.             0017                  0020            l~llc) •
300 BU< FAIRFIELD                            18                   62275 -              0034                  0038             wrr,  VEH CHK                                    )
40520TII                                    10-42                   -                    -                      -             RESTROOM USE
200 5TH                                     10-10                   -                    -                      ~
                                                                                                                              PAPERWORK
40520 TH                                    10-40                    ~
                                                                                         -                      -             LUNCH
200 5TH                                        10-7                 -                    -                      -             ETOD




SIGNATUftE OF OFFICER (1)     77<~~                                          - SIGNATURE OF OF.FI (2)
                                   V;~OF SUPERVISOR                           ~J0_                                                                              Gretlla:0259
                             Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 270 of 297


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                                          CITY OF GRETNA POliCE DEPARTMENT
                                                       OFFICERS DAILY AmVITY REPORT


 OFFICER (1)     FTO DANIEL SWEAR #127 (G5293)                                 OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

I Division:    Patrol        I Platoon:       C-Team       I Beat:              I Date:      12/24/14'                         I Hours:       1700 to 0700

 Unit No.       16           1. Total Items                  9. Accident                     17. Citations                         25. Veh Tag
 Equip No.
 Mile In
                303          2. Non RTF's       i4          10. Summs                        18. Radar Cts                         26. Veh Tow
                36516.2      3. Old Comp                    11. Warr/Att                     19. Park Cts                          27. Ped Cks
 Mile Out
 TotallVlile
                36471.1
                45.1
                             4. Assists
                             5. ARMMS
                                                            12. Felony Arrst
                                                            13. Misd Arrst
                                                                                             20. Warn Cts
                                                                                             21. Plate(s)
                                                                                                                                   28. Fic Cards      1/                 )
                                                                                                                         c.        29. Littering
                             6. Supplmnt                    14. OWl Arrst                    22. Bus Cks            ,/             30. Referrals
                                                                                                                7
                             7. Veh Stln                    15. JAR Fel                      23. Resd Cks       4   /
                             8. Veh Rec.v                   16. JAR Misd                     24. Veh Cks

                 LOCATION                 ACTIVITY            ITEM               RECEIVED            COMPLETED                            DIsPosmON
  200 5TH                                   10-8               -                    1700                   -                  STOD
  200 5TH                                  10-10               -                     -                     -                  PAPERWORK
  PATROL                                   10-10               -                     -                     -                  PATROL
  449 FAIRFIELD                            10-10               -                     -                     -             "'RES CHK
  524 FAIRFIELD                            10-10               -                     -                     -             -'RES CHK
  941 MARLENE                              10-10               -                     -                     -             .....RES CHK
  712 MARLENE                               21               62850 /               2332                  2333            'lMtC:.
480 TIMI3ERLAN~                            10-10               -                     -                     -               BUS CHK
  335 FAIRFIELD tlftlL                     10-10               -                     -                     -             i"aES CHK
 3600 CU\IRE
                  ~

                                           10-40               -                   0000                  0100              LUNCH
  1620 BEl.LE CHASSE                       10-10               -                     -                     -               BUS CHK
 PATROL                                    10-10               -                     -                     -               PATROL
 MANHATrAN @ LAPALCO                       10-10               -                    ~                      -               JPSO
 '10520TH                                  10-42               -                  1,"1J                    -               RESTROOM USE
 PATROL                                    10-10               -                  _\..! ./                 -               PATROL-
 1614 BELLE CHASSE                         10-10               -                     -                    -                BUSCHK
 1820 BELLE CHASSE                         10-10               -                     -                    -                3 BUS CHK
 1888 BELl.E CHASSE                        10-10               -                     -                    -                BUSCHK
 200 5TH                                   10-7                -                     -                    -                ETOD




SIGNATURE OF OFFICER (l)
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                                          {~/g~5f'
                                                        ~/
                                                            ~-
                                                                       -   SIGNATURE OF OFFICER (2)

                                    SIGNA~PERVISOR                                           ~S                                                              GI"etn a:0260
                                                                                ---~~-     -   --~-
                                                                                                       ----    -   ~--~



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                                                  CITY OF GRETNA POliCE DEPARTMENT
                                                               OFFICERS DAILY ACTIVITY REPORT


    OFFICER (1)          FTO DANIEL SWEAR #127 (G5293)                                  OFFICER (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

[6MSj{m:              Patrol         I Platoon:       C-Team         I Beat:              I Date:      12/25{14                       I Hours:    1900 to 0700

    Unit No.           16            1. Total Items                   9. Accident                      17. Citations                   25. Veh Tag
    Equip No.          303           2. Non RTF's                    10.Summs                          18. Radar Cts                   26. Veh Tow
    Mile In            36573.1       3. Old Camp                     11. Warr/Att                      19. Park Cts                    27. Ped Cks
    Mile Out           36529.7       4. Assists                      12. Felony Arrst                  20. Warn Cts                    28. Fic Cards
    Total Mile         43.4          5. ARMMS                        13. Mlsd Arrst                    21. Plate(s)                    29. Uttering
                                     6.Supplmnt                      14. OWL Arrst                     22. Bus Cks         5 ("        30. Referrals
                                     7.Veh St/n                      15. JAR Fel                       23. Resd Cks        2 -
                                     8. Veh Recv                     16. JAR Misd                      24. Veh Cks

                       LOCATION                   ACTIVITY              ITEM                RECEIVED               COMPLETED                  DISPOSmON
    200 5TH                                         10-8                    -                 1900                     -          STOD
    PATROL                                         10-10                    -                   -                      -          PATROL,
    524 FAIRFIELD                                  10-10                    -                   -                      -          RES CHK'
    449 FAIRFIELD                                  10-10                    -                   -                      -          RES CHK'
    480 l1MBERLANE                                 10-10                    -                   -                      -          BUS CHK'
    PATROL                                         10-10                    -                   -                      -          PATROL
    1888 BELLE CHASSE                              10-10                    -           ~ -                            -          BUS CHK.
    1620 BELLE CHASSE                              10-10                    -            ,t{{ \ -                      -          BUS CHK ~
    1820 BEI.LE CHASSE                             10-10                    -           \!/ -                          -          BUS CHK '
    1614 BEl.LE CHASSE                             10-10                    -                   -                      -          BUS CHK-,
    200 5TH                                         10-7                    -                   -                      -          ErOD
                                                                                                                                                                                _J
                                                                                                                                        -


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                                       ~h.~~
SIGNATURE OF OFFICER (1)
                                          ;
                                              ~//~/~                               ·SIG~R(2J
                                              SI~PERVISOR                         S'                       ~                                                     Gretna :0261
                              Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 272 of 297



                                            CITY OF GRETNA POLICE DEPARTMENT
                                                           OFFICERS DAILY ACTIVITY REPORT


 OFFICER (1)       FTO DANIEL SWEAR #127 (G5293)                                     OFFICER (2)      PO KOLBY ARABIE #119

I Division:     Patrol         I Platoon:       C-Team           I Beat:                 I Date:     12/29/14                          I Hours:    1800 to 0600

 Unit: No.       19            1. Total Items     2.   ~           9. Accident                       17. Citations                      25. Veh Tag
 Equip No.       303           2. Non RTF's                       10. Summs                          18. Radar Cts                      26. Veil Tow
 Mile In
 Mile Out
                 36637.4
                 36586.1
                               3. Old Comp
                               4. Assists
                                                                  11. Warr/Att
                                                                  12. Felony Arrst   1    .          19. Park cts
                                                                                                     20. Warn Cts
                                                                                                                                        27. Ped Cks
                                                                                                                                        28. Fic Cards
                                                                                                                                                                           )
 Total Mile      51.3          5. ARMMS           2. ,            13. Misd Arrst                     21. Plate(s)                       29. Uttering
                               6.Supplmnt                         14. OWl Arrst                      22. Bus Cks         1    -         30. Referrals
                               7. Veh Stln                        15. JAR Fel                        23. Resd Cks
                               8. Veh Recv                        16. JAR Misd                       24. Veh Cks

              LOCATION                      AcnYITY                   ITEM                RECEIVED           COMPLETED                      DlSPOSrnON
 200 S"n-t                                    10-8                      -                   1900                     -            BTOD
 28 ASHTON COX APT#2                         A29S                     62986                 1759                1845              RTF
 70WSX                                         93                     62988                 1845                0030              RTF l-A
 200 sTli ST                                 10-10                      -                      -                     -            PAPERWORK
                                                                                                                                             .
 1625 lAFAYElTE                              10-10                      -                       -                    -            BUS CHK
 405 20 m ST                                 10-42                      -                       -                    -            RESTROOM USE
 200 STII ST                                 10-10                      -                       -                    -            REPORT WRITING/CORRECTIONS
 405 20 TH ST                                10-40                      -                     0500              0600              LUNa;
 200 STII ST                                 10-7                       -                       -               0600              ErOO
                                                                                                                                                                               .)

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                                   ~/L                     /,V~
SIGNATURE OF OFFICER (1)          L£((/~~~                                       SIGNATURE OF OFFICER (2)                Va   "1 ~1l~
                                                                                                                                  V·
                                      SIGNA~~F SUPERVISOR                     ~~4                                                                                 Gretna :0262
        Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 273 of 297
                               57/18 60/14        131/21 131/25     37/14 38/10      3
                               60/23 65/6 67/13 13 [6]   3/8 3/20   38/12 39/12      -3---1--1--[-2-]---33-/-1-9-
         BY MR. HEBERT:        96/25 97/8         74/10 74/15       39/15 40/1 40/2    33/23
         [9]   121/8 121/21 110/18 116/15         89/13 128/2       40/10 71/14      31 [1]        95/6
           122/5 122/20        117/11 117/25    14 [13]   3/9 3/21 71/17 74/20 75/1 326 [1]         117/17
           128/22 133/17       118/18 118/25      79/7 79/9 79/11   76/5 77/14 89/1 35 [1]         3/10
           135/16 136/3        120/23 121/20      79/15 82/14 99/7 90/7 90/15 91/14 36 [2]         3/11 3/12
           136/9               122/4 122/19       111/21 117/1      91/21 92/4 99/7 37:2554 [1]
         BY MR. MAUTERER:      135/15 136/8       122/8 122/13      105/2 106/13       145/10
         [45]    5/5 15/22     137/9 137/19       128/24            111/22 111/23    38 [1]        3/13
           18/25 19/9 20/7     139/7 139/12     1434 [1]   145/24   111/23 113/5     39 [2]        3/14 3/15
           23/19 24/1 26/11 143/16 143/22       1443 [1]   4/14     115/17 124/6     3913 [2]         5/1 5/9
           26/19 31/7 57/20 ---------------- 14th [3]      79/14    125/25 128/19    3rd [3]        59/13
           59/17 60/15       $                    106/13 109/2      129/2              59/21 59/23
           61/16 62/18       $1 [3]   21/15     15 [3]   36/16     2015 [39]   13/14
           65/10 67/4 67/14 32/2 126/6            82/14 90/15       40/6 42/7 42/16 _4_______________
           95/24 97/16       $1 million [3]     15-6591 [1]    1/6  44/11 52/13      4.4 [1]        53/22
           100/1 103/13        21/15 32/2 126/6 150 [1]114/16       52/17 53/3 53/11 40 [1]        103/25
           106/5 110/11                         15th [3]   36/11    53/14 53/18 54/4 405 [1]        115/6
           110/19 116/23     I                    82/12 128/19      59/5 60/9 60/17 40:2401.1 [1]
           117/12 118/12     '14 [2]   28/20    1610 [1]   115/25   74/15 76/20        135/22
           118/19 119/11       82/12            1614 [2]   112/2    76/25 77/12      40 :2531 [1]
           120/12120/17      '80's [1]    118/3   117/14            80/1080/14         93/11
           120/25 136/21                        16851 [1]   2/8     80/14 80/15      41 [1]        3/16
           137/2 137/10      0                  17 [2]   24/22      80/17 80/19 85/2 42 [1]        3/17
           137/23 138/14     0073 [1]   35/6      99/7              85/20 89/11      43 [1]        3/18
           138/18 139/8      0077 [1]   35/6    17th [14]   15/12   89/11 89/13      480 [1]        116/8
           139/15 140/9      0079 [1]   39/25     15/19 16/10       89/18 89/21      ----------------
           140/25 143/17     0085 [3]   38/18     16/15 16/21 17/8 90/21 97/19       5
           143/23              38/22 38/25        18/23 20/5 27/23 129/12 129/12     52 [1]        3/19
         MR. DORNIER:        0086 [1]   39/2      28/13 34/6 36/6   129/17 131/22    5th [1]        115/13
         [19]    30/18 59/16 0096 [1]   52/12     79/14 106/13      131/25
           65/5 67/3 67/12 0257 [1]     112/2   18 [1]   44/15     2017 [3]   1/15   _6_____________
           97/1 103/12       0278 [1]   44/7    1888 [1]   112/11   5/2 15/6         6-2 [1]        37/4
           106/3 117/10      0279 [2]   42/14   19 [2]   111/22    2040 [1]   114/15 6513 [1]         2/5
)          118/17 118/24       42/16              127/4            20th [7]   37/14  6591 [1]         1/6
           120/11 120/15     0281 [1]   42/15   1955 [2]   1.13/13  89/18 89/24 90/1 6th [2]        39/12
           120/19 120/24     0282 [1]   36/25     113/19            105/2 113/5        39/25
           137/1 138/17                         19th [10]   15/13   115/6            ----------------
           140/22 143/15     1                    15/19 16/11      21 [4]   36/19    _7_______________
         MR. HEBERT:         10 [11]   3/17       16/15 16/22       86/2 86/3 127/25 70053 [1]          2/13
         [38]    15/21 18/23 20/18 21/1 21/4      18/23 24/22      210 [1]   2/13    70072 [2]          5/2
           19/7 20/6 23/17     34/1 42/14 78/11 27/24 28/14 34/6 2152 [1]     113/20    5/10
           23/2326/9126/17 78/12 79/4 79/9 1:00 p.m [1]            21st [2]   111/23 70087 [1]          1/15
           30/17 57/17         79/15              12/12             115/17           70808 [1]          2/5
           59/15 60/13       10 percent [4]     1st [4]   85/1     24 [2]   38/12    70817 [1]          2/9
           60/22 67/2 95/22 23/4 23/6 ~3/10       85/2 91/21 92/4   53/1             731 [3]        85/5
           96/22 97/3 99/24 33/24                                  24th [1]   111/23    85/6 85/9
           103/11 106/2      10-2-2 [9]    16/1 _2_______________ 25 [2]    53/2     74 [1]        3/20
           110/10 110/17       16/6 17/14 20/15 20 [6]   36/19      53/10
           116/14 117/24       26/25 27/6 33/8    79/4 79/7 79/9   2531 [1]   94/10  _8__________~---
           118/23 120/10       33/17 33/18        79/11 111/22     25th [2]   39/15  82.1 [1]         37/4
           128/15 128/19     100 percent [1]    200 [1]   115/13    111/23
           136/18 136/25       125/11           2010 [2]   7/19    27 [5]   42/16     9
           137/8 137/18      11 [2]   3/18        28/1              44/11 114/17     9th [2]        53/18 -
           138/12 139/6        43/25            2012 [4]   7/20     115/1 127/4        54/10
           139/11 140/7      110 [1]   1/14       7/21 8/1 17/8    2700 [1]   113/20
           143/13 143/21     111 [1]   3/21     2013 [2]   26/3    27th [1]   89/21  _A_______________
         MR. MAUTERER:       12 [8]   3/19        26/15            28 [2]   93/7     A-Team [2]          129/3
          [14]   18/24 96/24 52/11 52/17        2014 [57]   9/12    93/15              129/7
           97/5 120/20         53/15 82/14        15/12 15/13      29th [1]   111/23 abbreviation [1]
           121/6 121/19        110/8 110/9        15/19 16/11      2nd [11]   52/13    113/16
           122/3 122/18        123/11             16/15 16/22 17/8 53/14 53/20 54/4 abilities [1]
           128/14 128/16     12-hour [5]    23/9 18/23 19/22 20/5 59/5 80/17            60/2
    \      133/16 135/14       23/14 23/21        20/12 23/8 24/22 125/15 133/11     ability [3]
/
           136/7 144/16        23/22 30/16        27/23 27/24 28/2 141/12 141/19       124/1 136/16
         THE WITNESS:        121 [1]   3/5        28/6 28/14 28/18 141/24              145/15
          [31]   19/8 23/18 127 [1]    85/8       34/6 34/7 36/6                     able [5]         19/25
           23/24 26/10       12th [3]   79/14     36/11 36/16                          103/20 104/19
           26/18 30/19
        Case 2:15-cv-06591-NJB-JVM Document 31-2 Filed 09/25/17 Page 274 of 297
         A                     acknowledging [2] 141/24 142/21                 107/21 123/21        12/13 68/12 71/9
                                37/3 37/22                 143/11 143/20       125/8 134/10         71/11 74/16
         able...    [2]
           119/17 124/9        acknowledgment                  ' /
                                                          admin~stration's     134 17 134 / 22      83 / 11 91 / 4 91 / 5
         about [93]      5/15 [1]        61/11            [1]   143/9         agency [3]     43/12 although [1]
                               across [12]                administrative       70/18 118/10         27/22
           6/14 10/5 10/12      54/17 55/13               [12]   38/19 43/23 agent [22]      44/16 always [4]      21/9
           13/10 15/12
           15/12 17/3 17/6      56/11 60/10                44/1 59/2 63/5      44/20 44/23 45/2 118/11 118/11
                                60/19 61/8 61/21 83/14 83/21 84/3 45/3 45/10 45/14 123/3
           19/12 20/12 22/9 62/1 62/8 62/11                84/9 84/15 84/17 45/24 45/25 46/4 amending [1]
           25/7 27/6 34/2       97/12 130/15               94/17               46/6 47/6 47/9       24/25
           38/11 39/2 47/8 act [3]             42/10      admired [1]          47/15 47/19         Amendment [4]
           47/11 47/15          43/1 43/22                 125/9               47/20 132/10         93/6 100/10
           49/18 50/9 50/13 acted [1]             145/22 admission [1]         132/23 132/24        103/11 103/16
           50/15 50/19         action [24]           1/5   61/4                132/25 133/1        amount [4]      10/12
           50/21 51/12          20/25 34/12               adult [1]   22/13    141/9                11/15 56/19
           51/14 51/15
           51/18 52/10 53/2 34/13 34/15                   advantage [1]       agents [2]     45/20 134/4
                                34/18 34/21                106/23              46/5                analyze [1]
           54/22 55/3 55/11 34/24 38/7 39/21 advice [1]                 132/6 ago [4]    27/21      87/15
           55/14 56/13
           56/24 57/2 57/4      39/21 40/2 62/15 advise [6]             73/5   47/859/4 65/15 and/or [8]           4/11
           57/6 57/16 62/2      66/6 72/5 76/17            73/8 104/6         agree [20]     13/15 15/13 16/15
           63/24 66/8 68/13 77/22 87/9 93/4                104/12 104/15       38/16 49/25 72/9 30/24 34/17 70/6
           68/21 69/7 71/2      95/8 100/9                 104/18              82/6 88/5 109/24 70/14 131/9
           74/13 74/17 76/1 131/16 137/8                  advised [12]         110/1 110/2         anguish [1]
           83/4 83/14 87/11 14~/21                         17/9 18/22 19/13 110/15 110/19           106/21
           89/3 97/23 100/6 act~vely [1]                   19/17 19/23 20/4 110/21 110/23          annotated [7]
           101/1 101/7          45(1: ,                    27/23 34/9 40/23 111/17 113/11           28/17 29/6 33/15
           101/18 102/10       act~v~t~es [2]              60/18 97/10         113/17 114/5         33/22 75/18
           103/20 105/14        117/7 4 117/1              102/19              114/11 134/18        78/25 129/10
           105/16 105/20       act~v~ty [2]              advising [1]          136/23              annotations [4]
           107/3 109/5          91/20 117/5                40/14              agreed [3]     4/3    29/11 75/17 76/1
           109/16 116/4        acts [1]          98/20    advisory [1]         106/8 106/12         76/2
           121/13 121/23       actual [4]           66/14 145/25              Airport [1]     1/14 Annual [1]      86/12
           122/15 123/8         94/7 94/16 146/1 affect [1]             111/1 AL [1]    1/7        another [25]
           125/17 125/21       actually [13]              afford [2]    52/20 Alexandria [6]        6/23 8/4 18/19
           126/15 127/1         10/1 11/21 32/12 94/21                         8/23 8/24 9/14       23/6 45/25 46/3
           127/5 127/10         54/4 56/16 62/11 after [39]             5/2    9/20 10/1 10/2       48/11 55/3 55/20
           128/18 128/21        91/18 110/17               6/18 6/23 9/13     allegation [2]        55/25 65/9 70/8
           130/9 131/19         111/18 115/22              14/25 16/7 24/23 20/15 47/12             77/25 86/25
           132/1 132/4          118/5 130/20               37/21 45/16        allegations [2]       89/13 90/6 90/14
           132/16 133/3         132/21                     46/24 47/3 48/2     13/21 14/5           90/18 107/19
                     .         adam [1]          78/11     48/18 49/19        allege [4]     34/1   108/7 109/17
           133/5 133/20        add [1]         82/13       51/24 54/5 59/4     34/6 96/18 100/7 112/11 128/4
           134/23 140/2        addition [1]                59/13 59/21        alleged [29]          134/22 136/17
          b145/20[6]    42/25   123/22                     61/24 70/3 80/17 15/20 20/18 27/3 answer [18]             4/11
         a5~~~0 62/6 100/4 additionally [2]                80/19 87/8 89/4     28/2 28/9 28/12      5/17 6/1 6/10
           102/20 133/5         44/15 119/24               90/12 92/19         47/6 49/18 58/17 15/24 20/9 26/13
               d []      1 2/ address [6]            5/8   92/21 97/15         60/21 63/2 65/24 28/19 28/20
         absur      1      0 2 22/21 56/25 75/5 102/8 114/15                   66/17 67/19 70/6 28/22 94/24
         academy [9]       7/1  75/13 124/16               120/5 123/17        70/13 70/23          120/19 120/20
           7/3 7/6 22/16       addressed [9]               124/14 131/7        71/23 72/12          120/22 120/22
           24/16 68/23          23/1 23/2 23/3             134/12 136/14       73/13 94/6 101/1 137/4 138/18
           111/9 137/12         25/22 56/21 75/7 138/1 145/9                   101/10 104/24        139/24
           144/8                78/24 99/6 122/8 again [24]             26/11 109/8 109/22         answers [1]
         acceptance [1]        addressing [2]              33/1 34/4 41/8      144/2 144/5          14/22
           88/11                21/12 95/16                53/17 60/15         144/15              ANTHONY [6]       2/16
         accompanied
           145/4          [1]  adhere [4]           93/9   61/23 70/8 77/18 allegedly [2]           24/7 39/13.144/4
         accomplish [1]         93/19 94/3 94/25 86/25 95/7 97/4               26/8 26/17           144/10 144/14
           105/18              adhering [1]                98/16 98/22        alleging [2]         any [99]      6/8
                 '     [5]      28/9                       99/10 100/13        55/6 92/9            6/11 6/17 7/6
         accor d
           19/17 ~ng,
                   53/15 74/1 adJustments [1]              115/18 120 / 24    allowance [1]         8 / 16 8 / 17 10 / 18
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